Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 1 of 302 PageID #: 63




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


ACL1 INVESTMENTS LTD., ACL2
INVESTMENTS LTD., and LDO (CAYMAN)
XVIII LTD.,                                      C.A. No. 21-mc-46

              Plaintiffs,

       v.

BOLIVARIAN REPUBLIC OF VENEZUELA,

              Defendant.


    EXHIBITS 1-44 TO DECLARATION OF KEANE A. BARGER IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR AN ORDER CONDITIONALLY AUTHORIZING
    THE ISSUANCE AND SERVICE OF A WRIT OF ATTACHMENT FIERI FACIAS
                             (Volume I of IV)

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Dated: November 22, 2021
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 2 of 302 PageID #: 64




                       EXHIBIT 1
         Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 3 of 302 PageID #: 65
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                       EXHIBIT 2
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  Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 10 of 302 PageID #: 72
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  Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 12 of 302 PageID #: 74
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                        EXHIBIT 3
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p. 1

ABC INTERNATIONAL

Maduro increases price of gas and opens the door to sales in dollars

The country has been facing a severe fuel shortage for weeks that has led thousands of citizens to form
long lines at gas stations.

(IMAGE)

Ludmila Vinogradoff      FOLLOW

VENEZUELA Updated 05/31/2020 3:46 a.m.                                                      SAVE

After two decades without changes, Nicolás Maduro finally decided to increase the price of gasoline to
5,000 bolívares (0.019 Euros) per liter. The leader explained that the fuel will be sold at this new price in
1,500 service stations throughout the country starting next Monday.

The leader of the Chavista regime made the announcement today on Venezuelan State TV (VTV),
clarifying that the new fuel price, which will remain in effect for the next 90 days, will carry a 99%
subsidy for those carrying a Homeland card.

The approximately 10 million people who have the Homeland card will have the right to receive 120
liters of gasoline per month for cars. Motorcycle drivers can access 60 liters per month.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 16 of 302 PageID #: 78



Venezuelan citizens who exceed this amount will have to pay US $0.50 per liter at all 200 refueling
stations. This is the first time that Maduro has been open to accepting US currency, which is gaining
ground for daily transactions in Venezuela.

Maduro said that the 200 gas stations that will sell gas will be run by private business owners who have
received licenses to sell the product. “I hope Trump doesn’t stop private business owners from bringing
what you need,” the Chavista leader noted.

Maduro made the difficult decision to raise fuel prices. Over the past 21 years, the Chavista party has
never wanted to change the prices of its main export product, oil, because it is afraid of another
“Caracazo,” the 1998 uprising that followed former President Carlos Andrés Pérez’s decision to raise gas
prices by US $0.12.

Maduro also thanked Iran for the five ships that it sent with 1.5 million barrels of oil and criticized the
Trump administration for applying sanctions against the regime.

Meanwhile, after 76 days of lockdown, which began on March 13, he announced that measures will be
relaxed. Various economic and financial sectors will have a time slot during which they can resume
activities starting Monday.

“The lockdown will continue, but it will be flexible and gradual,” he said. Nine sectors including the
banks, finance, wholesale, textile, body shops, industries, pharmacies and retail stores will alternate,
opening from 9 a.m. to 1 p.m. Public transportation will be available from 7 a.m. to 5 p.m.”

Maduro announced that there were 1,459 cases of coronavirus and 12 deaths in Venezuela. The Las
Pulgas market in Maracaibo (Zulia state) was identified as a “danger zone” for contagion. “We hope to
produce 10 million tests for all Venezuelans,” he concluded.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 17 of 302 PageID #: 79




                        EXHIBIT 4
          Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 18 of 302 PageID #: 80
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                        EXHIBIT 5
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 22 of 302 PageID #: 84




Maduro sends four oil freighters to Cuba
amid a national gasoline shortage
According to the document issued by the public oil company, there are 380,000 barrels destined
for four ports on the island.



In the midst of Venezuela's terrible humanitarian crisis, the regime of Nicolás
Maduro yesterday sent four oil tankers to Cuba while fuel is rationed and
restricted for Venezuelans who must wait endlessly in line to refuel their
vehicles. The former president of the National Assembly, Julio Borges,
Commissioner for the Lima Group, appointed by the interim President Juan
Guaidó, denounced on his Twitter account that the 4 ships add up to a supply
of 380,000 barrels that were transported to the ports of Cuba.

"This is how the dictatorship acts, while in our country thousands of
Venezuelans suffer daily, and patients even die due to lack of fuel, Maduro
prefers today to send a shipment of diesel to Cuba. They are traitors to
Venezuela and servants of Cubans," Borges wrote.

The diplomatic representative of the interim Presidency showed the customs
document of the cargo manifest, issued from the Venezuelan plant of
Amuay in Paraguaná, in the northern part of the country, as proof of his
complaint, in addition to the images of the oil tankers. "These are the 4 ships
that left the docks of Amuay loaded with diesel heading for Cuba. The regime
does not care about the Venezuelan people, its only objective is to hand over
the country's resources to Castro," he stressed.

According to this PDVSA report, the fuel shipments given by Maduro to Cuba
amid the Venezuelan mega-crisis arrived at the following ports:
Cienfuegos, Havana, and Santiago de Cuba. "It's never happened before!
Unbelievable but true!," the high commissioner emphasized. The gifts to Cuba
already amount to more than 40,000 million dollars (the equivalent of $40
billion dollars) in 20 years. And this is just for oil; it doesn’t even count the
humanitarian aid that has been sent or the power plants that have been
financed. Meanwhile, Venezuelans continue to suffer from the serious
humanitarian crisis, Borges added.

The Amuay refinery barely produces 12% of its capacity because it is damaged,
along with the closed Palito plant in Paraguaná. That is the reason for the lack
of gasoline in Venezuela, oil expert José Toro Hardy tells ABC, noting that the
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 23 of 302 PageID #: 85




regime has no money to repair or maintain it, now "it is importing gasoline
when it has the largest plant in the region with a potential to process more than
900,000 barrels a day."
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 24 of 302 PageID #: 86




                        EXHIBIT 6
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                        EXHIBIT 7
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 29 of 302 PageID #: 91




What's behind the Venezuelan plane that landed
in Athens?
The landing of a PDVSA plane in Greece arouses suspicion. Its main
passenger, according to reports, is Maduro’s chancellor.

The regime's foreign minister, Jorge Arreaza, was on board the PDVSA-owned plane
that landed at Athens International Airport on Saturday, March 2, the Hellenic Civil
Aviation Authority (CAA) reported on Tuesday.

The statement came after Skai TV network reported that a Venezuelan plane had
landed at the airport in secret and remained in Athens, Greece, for four hours before
taking off. They also noted that other EU countries had refused to let the plane land.

CAA said it was an "ordinary flight" traveling through Greek airspace according to the
flight plan submitted.

The flight plan showed that it left Abu Dhabi in the United Arab Emirates at 7:30 a.m.
(Greek time) and landed in Athens at 1:59 p.m. (Greek time), after flying over Bahrain,
Saudi Arabia, and Egypt.

While waiting for the plane to refuel, Arreaza waited in the lounge, following a relevant
request from the Venezuelan embassy, CAA said. He didn't meet anyone while he was
there.


#Venezuela Foreign Minister Jorge #Arreaza was on board the #PDVSA plane
that landed in #Grecia on March 2. It is unknown who else was inside the
plane. Arreaza had a meeting at the VIP lounge of the Athens
airport. pic.twitter.com/P3Qo0gXeBP
— Iásonas Pipinis (@iasonaspipinis) March 5, 2019
The Venezuelan plane took off at 5:47pm local time, heading to Cape Verde, according
to the official flight plan.

Diplomatic sources from Greece's Foreign Ministry confirmed that the plane landed in
Athens to refuel and that no state official met with Arreaza.

(Image)
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 30 of 302 PageID #: 92




Earlier in the day, New Democracy spokeswoman Maria Spyraki demanded that the
government explain why the flight received permission to land in Athens when other
European Union countries had refused.

She also asked whether the government was aware that Venezuela's main opposition
party has accused Nicolas Maduro's regime of using the plane for private purposes to
illegally transport money, gold, and relatives of senior officials out of the country.

(Image)
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 31 of 302 PageID #: 93




                        EXHIBIT 8
       Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 32 of 302 PageID #: 94

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                       EXHIBIT 10
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                       EXHIBIT 11
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 47 of 302 PageID #: 109
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 48 of 302 PageID #: 110




                       EXHIBIT 12
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 49 of 302 PageID #: 111




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                       EXHIBIT 13
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 52 of 302 PageID #: 114



 p. 1

 Maduro ordered Pdvsa workers to attack Guaidó over Rosneft sanctions

 The President of the PSUV called on the working class to identify all opposition traitors using their full
 names and photographs so that they can be attacked, as occurred with Conviasa employees.

 By EL NACIONAL February 19, 2020

 VENEZUELA

 WORLD

 ECONOMICS

 (IMAGE)

 archive photo

 Nicolás Maduro came out against Venezuelan Interim President Juan Guaidó and called on Pdvsa
 workers to attack him and call him a traitor for the recent United States sanctions against Rosneft
 Trading.

 “That gutter rat Juan Guaidó is selling out our country. Pdvsa workers have to call him out as a traitor
 and a sell-out,” Maduro said in an appearance on national television.

 The President of the PSUV called on employees of the state-run oil company to lead the charge against
 Guaidó and all of the traitors who form part of what he called the creeping opposition.

 “You should identify them the way they identified Conviasa workers (...). With their full names and
 photographs,” he urged.

 Lima Group to meet this Thursday in Canada to increase pressure on the regime

 Maduro blamed Guaidó for the sanctions and said that their only purpose is to destroy Pdvsa. “He
 (Guaidó) asked for those sanctions against you (the workers). Yesterday’s sanctions are against you, and
 they are meant to break Pdvsa,” he said.

 The ruling party leader said that there is practically a national consensus against the sanctions that is
 equivalent to over 80% of the population. “How are they hurting me? They are doing it
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 53 of 302 PageID #: 115



 p. 2

 to the people,” he claimed.

 Maduro reiterated that the United States’ intention is to destroy the country and dominate Venezuela in
 order to colonize it. “No one destroys Venezuela! No one colonizes Venezuela!,” he said.

 The Treasury Department issued sanctions against Russian oil company Rosneft Trading on Tuesday for
 helping the regime to avoid penalties issued by the United States on the sale of Venezuelan oil.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 54 of 302 PageID #: 116




                       EXHIBIT 14
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 55 of 302 PageID #: 117


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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 57 of 302 PageID #: 119




                       EXHIBIT 15
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   Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 59 of 302 PageID #: 121
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 60 of 302 PageID #: 122




                       EXHIBIT 16
   Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 61 of 302 PageID #: 123


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   Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 62 of 302 PageID #: 124
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   Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 63 of 302 PageID #: 125
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42ÿ32ÿ9ÿ3792ÿ2ÿ42ÿ472ÿ979ÿ32ÿ3734ÿ4ÿ37ÿ312
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+1ÿ.442/ÿ0 9ÿ0 2ÿ09192ÿ012ÿ33792


1223 45637588593 1:;598<35=6<8>=?3 1:;598<3<@A=BC<:57<@53 DEEF<53 G59H3=EI=?35 J9<;KLM


        177=NCE853=:57KM5:=K=H<@<HCH=EI=OP=H<@C853Q=R55=>595=IE9=K=LEH27585=7<38=EI=5SL>K@A53=K@:=:57KM3Q
                                    T=UVUO=W5C8593Q=177=W<A>83=W5359;5:Q
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 64 of 302 PageID #: 126




                       EXHIBIT 17
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 65 of 302 PageID #: 127



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 Petróleos de Venezuela, S.A.

 @PDVSA

 This Constitutional Law will go into effect when it is published in the Official Gazette of the Bolivarian
 Republic of Venezuela, and it will remain in place until the effects of unilateral coercive measures,
 restrictions and other threats that affect the country cease.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 66 of 302 PageID #: 128




                       EXHIBIT 18
 Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 67 of 302 PageID #: 129
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 68 of 302 PageID #: 130




                       EXHIBIT 19
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 69 of 302 PageID #: 131



 Tweet

 Petróleos de Venezuela, S.A.

 @PDVSA

 “The goal that we set last year was to reactivate Petrocaribe in its highest expression. Expanding
 production is the goal we are setting for 2021.”

 President Maduro: We will promote the full recovery and expansion of Petrocaribe. bit.ly/3h16FY5

 (IMAGE)

 9:56 AM Dec. 15, 2020 Twitter Web App

 57 Retweets 34 Likes

 Nancy @NancyOlivar8 December 15, 2020

 Replying to @PDVSA

 Cursed masses... They destroyed what they left behind. Get out of here, you bastards.

 Dannys Vasquez @dannysvas December 17, 2020

 Replying to @PDVSA

 With all due respect... You cannot continue to use our petroleum to help countries that don’t support us
 when we need them. Those resources should be allocated to the people. That is who really needs them.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 70 of 302 PageID #: 132




                       EXHIBIT 20
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 71 of 302 PageID #: 133
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 72 of 302 PageID #: 134




                       EXHIBIT 21
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 73 of 302 PageID #: 135



 Tweet

 Petróleos de Venezuela S.A. Retweeted

 Min PP Petróleo

 @MinPetroleoVE

 The schedule for fuel distribution by license plate for the week of February 15-21, 2021 is presented
 below.

 Image:

 PDVSA

 SCHEDULE FOR FUEL DISTRIBUTION BY LICENSE PLATE

 MONDAY, FEBRUARY 15 THROUGH SUNDAY, FEBRUARY 21, 2021

 DAY                      TERMINAL

 Monday 15                7 and 8
 Tuesday 16               9 and 0
 Wednesday 17             1 and 2
 Thursday 18              3 and 4
 Friday 19                5 and 6
 Saturday 20              7 and 8
 Sunday 21                9 and 0
 12:44 PM Feb. 15, 2021 Twitter for Android

 37 Retweets      4 Quote Tweets           24 Likes

 Ybrahim Yabour @ybrahim43 - 21 h

 Replying to @MinPetroleoVE and @globovision

 THIS IS NOT BEING FOLLOWED IN BOLIVAR STATE. OUR GOVERNOR AND THE ZODI STOCK THE
 GUAYANESE HOWEVER THEY WANT. WE ARE NOT GETTING OUT OF THIS NIGHTMARE.

 Edwin @edwinderepuesto 20 h

 Replying to @MinPetroleoVE

 This is not being followed in Bolívar state.

 Alfon1949 @Alfon1949 - 20 h

 This is supposed to be happening throughout the National territory, but according to Justo Noguera and
 Zodi Bolívar 62, the orders of the President and his ministers are not being followed and they are tight-
 lipped!
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 74 of 302 PageID #: 136




                       EXHIBIT 22
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 75 of 302 PageID #: 137
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 76 of 302 PageID #: 138




                       EXHIBIT 23
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 77 of 302 PageID #: 139

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                       THE NATIONAL ASSEMBLY
              OF THE BOLIVARIAN REPUBLIC OF VENEZUELA
         As spokesperson for the Free, Sovereign and Democratic People
         AGREEMENT TO REJECT THE JUDGMENT OF THE FULL
          CHAMBER OF THE ILLEGITIMATE SUPREME COURT,
           WHICH SEEKS TO INCRIMINATE THE FIRST VICE
          PRESIDENT OF THE NATIONAL ASSEMBLY, DEPUTY
        EDGAR JOSÉ ZAMBRANO RAMÍREZ, AND TO REJECT ANY
          ATTACKS ON THE PARLIAMENTARY IMMUNITY OF
                 NATIONAL ASSEMBLY DEPUTIES
                                   WHEREAS
On May 2 of this year, the illegitimate Full Chamber of the Supreme Court decided
by judgment of file AA10-L-2019-000026, to hold the First Vice President of the
National Assembly, Deputy Edgar José Zambrano Ramírez, liable for the flagrant
commission of alleged offenses of “Treason against the Homeland, Conspiracy,
Instigation of Insurrection, Civil Rebellion, Conspiracy to Commit a Crime,
Usurpation of Functions, Public Instigation to Disobey Laws and Continued
Hatred”;
                                   WHEREAS
There is an attempt to incriminate Deputy Edgar José Zambrano Ramírez for
attending an event organized by the President (E) of the Republic and
Commander-in-Chief of the Armed Forces, Juan Gerardo Guaidó Márquez, which
does not, under any circumstances, constitute a crime. He has acted in
accordance with Articles 233, 333 and 350 of the National Constitution;
                                   WHEREAS
Such an illegitimate decision of the Supreme Court constitutes yet another attack
on the National Assembly, its leadership and the people of Venezuela who elected
it in parliamentary elections on December 6, 2015, which is an attack on the
Constitution of the Bolivarian Republic of Venezuela;
                                   WHEREAS
The Supreme Court that issues the judgment against Deputy Edgar José
Zambrano Ramírez is illegitimate and seeks to annul the power and authority that
the Constitution and the people of Venezuela grant to Parliament;
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 78 of 302 PageID #: 140

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                                   WHEREAS
Those who signed the judgment are usurping functions, for they were not chosen
in accordance with the Constitution, such that the above decision is rejected as
absolutely null and void;
                                   WHEREAS
With its unfounded decision, the illegitimate Supreme Court is once again
attacking the Constitutional Order by violating the institution of parliamentary
immunity enjoyed by deputies since its proclamation as such under Article 200 of
the Constitution of the Bolivarian Republic of Venezuela. Likewise, the spurious
national constituent assembly has no capacity to make a decision on the breach
of the immunity of National Assembly deputies, since such power is unique and
exclusive to the body of which the deputies form a part;
                                   WHEREAS
The aforementioned decision of the Full Chamber of the illegitimate Supreme
Court is issued in violation or impairment of the rights guaranteed by the
Constitution. In addition to devaluing and degrading the prerogative of
parliamentary immunity by eliminating the need for merit, it entrusted the trial of
Deputy Edgar José Zambrano Ramírez to the common courts, disregarding “the
reserved, sole, unique and exclusive jurisdiction conferred on it by the
Constitution in its Article 200”, “as well as its Article 266, Paragraph 3”;
                                   WHEREAS
The judgment of the illegitimate Supreme Court is also a violation of the rights to
due process, to defense, to presumption of innocence and to be tried by its natural
judge, under Article 49, Paragraphs 1, 2 and 4, which, as fundamental rights and
due to the abuse of power by which they were disregarded, constitutes a serious
violation of human rights under Articles 29 and 30 of the Constitution;
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 79 of 302 PageID #: 141

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                                     WHEREAS
The serious violation of the human rights of Deputy Edgar José Zambrano Ramírez
has no statutory limit. As such, the officials who violate the prerogative of
parliamentary immunity and the aforementioned rights incur criminal liability
under the last paragraph of Article 200 of the Constitution; Article 139, for abuse
of power; and Article 25, also of the Constitution;
                                     WHEREAS
The classification of flagrancy in the commission of an offense is a probative
status, which can only be made upon presentation of the apprehended party by
guaranteeing his right to defense. In this case, such a factual assumption was not
made and, as such, there is no judicial qualification; therefore, the injunction is
based on a false assumption and, therefore, its consequence is null;
                                     WHEREAS
On December 18, 2018, Deputy Edgar José Zambrano Ramírez, in his capacity as
President of the Defense Commission of this National Assembly, denounced the
presence of ships hired by Exxon Mobil in the Exclusive Economic Zone formed by
the Orinoco Delta. As a member of the Commission for the Defense of the
Essequibo and the Atlantic Seaboard, he has defended and promoted Venezuela’s
claim to its territory, having established its rejection of the Declaration of the Lima
Group in the Agreement on Ratification of National Sovereignty over the
Essequibo Territory, its Atlantic Seaboard and the Exclusive Economic Zone of the
Orinoco Delta approved by the National Assembly on January 8 of this year, on
which he serves as First Vice President;
                                     WHEREAS
Deputy Edgar José Zambrano Ramírez is not involved in any plan to overthrow
the government. He is a faithful believer in using dialogue and democratic
avenues to resolve the disputes inherent to political activity. Notable examples of
his capacity for dialogue and negotiation include the cases of detained deputies
who were elected for the 2010-2015 term. Thanks to his humanistic capacity and
ability to engage in dialogue, they were freed, and some were re-elected for the
2015-2020 term;
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 80 of 302 PageID #: 142

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                                    WHEREAS
Deputy Edgar José Zambrano Ramírez has advocated for the guarantee,
promotion and respect of human rights. Proof of this is the submission of two bills
focused on Amnesty and Political Reconciliation that speak to his strong belief in
the spiritual and political dimension of human beings;
                                    WHEREAS
The spurious judicial attack against the First Vice President of the National
Assembly is a further escalation in the process of falsifying the Constitution by
illegitimate judges who are engaged in subversion vis-à-vis the Constitutional
Order;
                                    WHEREAS
This National Assembly, the sole legitimate authority of the Venezuelan State, is
committed to the defense of the interests of the people of Venezuela and will not
endorse any dark practice on the part of the illegitimate powers that sustain the
usurpation that seeks to nullify this body and its representatives, who were chosen
by the people.
                                   RESOLVES
FIRST. To reject categorically and in all its terms the alleged ruling that seeks to
hold Deputy Edgar José Zambrano Ramírez, First Vice President of the National
Assembly, responsible for the alleged crimes because in accordance with the
Statute that Governs the Transition to Democracy in order to Restore the Validity
of the Constitution, the members of the Supreme Court are illegitimate, except
for the justices appointed by this National Assembly during the session held on
July 21, 2017. This body further resolves to reject any acts of the government
entities that seek to violate the parliamentary immunity of National Assembly
deputies.
SECOND. To ratify this National Assembly’s rejection of the decisions of a
Supreme Court which has no legitimacy or jurisdiction.
THIRD. To express this body’s solidarity with and support for Deputy Edgar José
Zambrano Ramírez in view of this new violation of his rights and of this Legislative
Body. The National Assembly further resolves to grant all of its support to the
Inter-American Commission on Human Rights (IACHR) so that it may issue a
statement on this matter.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 81 of 302 PageID #: 143

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FOURTH. To submit this Agreement to the Diplomatic Corps accredited in the
Bolivarian Republic of Venezuela, to the various diplomatic bodies representing
the President (E) Juan Gerardo Guaidó accredited abroad, to the Inter-
parliamentary Union, the Organization of American States (OAS), the Secretary
General of the United Nations and the High Commissioner for Human Rights of
that Organization, the Socialist International, the Permanent Conference of
Political Parties of Latin America (OPPPAL), the Christian Democratic Organization
of America (ODCA) and other organizations of democratic parties in the world,
the Latin American Parliament, the Mercosur Parliament (Parlasur) and the
Episcopal Conference of Venezuela.
FIFTH. To publish this Agreement.
Completed, signed and sealed at the Federal Legislative Palace, seat of the
National Assembly of the Bolivarian Republic of Venezuela, in Caracas on the
seventh day of May 2019, years 209 of Independence and 160 of the Federation.




                      JUAN GERARDO GUAIDÓ MÁRQUEZ
                                 President




  EDGAR JOSÉ ZAMBRANO RAMÍREZ              IVÁN STALIN GONZÁLEZ MONTAÑO
         First Vice President                     Second Vice President




 EDINSON DANIEL FERRER ARTEAGA               JOSÉ LUIS CARTAYA PIÑANGO
            Secretary                               Deputy Secretary
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 82 of 302 PageID #: 144




                       EXHIBIT 24
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 83 of 302 PageID #: 145

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                       LA ASAMBLEA NACIONAL
             DE LA REPÚBLICA BOLIVARIANA DE VENEZUELA

              Como Vocera del Pueblo libre, Soberano y Democrático

         ACUERDO EN DESCONOCIMIENTO DE LA SENTENCIA
       DE LA SALA PLENA DEL ILEGÍTIMO TRIBUNAL SUPREMO
        DE JUSTICIA QUE PRETENDE INCRIMINAR AL PRIMER
   VICEPRESIDENTE DE LA ASAMBLEA NACIONAL, DIPUTADO EDGAR
       JOSÉ ZAMBRANO RAMÍREZ Y EN DESCONOCIMIENTO DE
      CUALESQUIERA ATENTADOS EN CONTRA DE LA INMUNIDAD
   PARLAMENTARIA DE LOS DIPUTADOS DE LA ASAMBLEA NACIONAL

                                CONSIDERANDO

   Que en fecha 02 de mayo del presente año, el ilegítimo Tribunal Supremo
   de Justicia, en Sala Plena, decidió mediante sentencia del expediente
   AA10-L-2019-000026, comprometer la responsabilidad del Primer
   Vicepresidente de la Asamblea Nacional, Diputado Edgar José Zambrano
   Ramírez, en la comisión flagrante de supuestos delitos de “Traición a la
   Patria, Conspiración, Instigación a la Insurrección, Rebelión Civil, Concierto
   para Delinquir, Usurpación de Funciones, Instigación Pública a la
   desobediencia de las leyes y el odio continuada”;

                                CONSIDERANDO

   Que se pretende incriminar al Diputado Edgar José Zambrano Ramírez por
   hacerse presente en un acto convocado por el Presidente (E) de la República
   y Comandante en Jefe de las Fuerzas Armadas, Juan Gerardo Guaidó
   Márquez, lo cual no configura bajo ninguna circunstancia, delito alguno. Ha
   actuado apegado a los artículos 233, 333 y 350 de la Constitución Nacional;

                                CONSIDERANDO

   Que tal decisión del Tribunal Supremo de Justicia ilegítimo, constituye una
   agresión más a la Asamblea Nacional, su directiva y al pueblo de Venezuela
   que la escogió en elecciones parlamentarias del 06 de diciembre de 2015, lo
   cual es un atentado contra la Constitución de la República Bolivariana de
   Venezuela;

                                CONSIDERANDO

   Que el Tribunal Supremo de Justicia que emite la sentencia contra el
   Diputado Edgar José Zambrano Ramírez es ilegítimo y prosigue en su
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 84 of 302 PageID #: 146

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   pretensión de anular el poder y las facultades que la Constitución y el pueblo
   de Venezuela otorgan al Parlamento;

                                CONSIDERANDO

   Que quienes suscriben el fallo usurpan funciones, pues no fueron escogidos
   en apego a la Constitución, por lo que se reputa la mencionada decisión
   como nula de nulidad absoluta;

                                CONSIDERANDO

   Que con su decisión infundada, el ilegítimo Tribunal Supremo de Justicia
   vuelve a agredir el Orden Constitucional al vulnerar la institución de la
   inmunidad parlamentaria, propia de los diputados desde el momento de su
   proclamación como tales, de conformidad con el artículo 200 de la
   Constitución de la República Bolivariana de Venezuela. Asimismo, no tiene
   cualidad la espuria asamblea nacional constituyente, para conocer sobre el
   allanamiento de la inmunidad de los diputados a la Asamblea Nacional, toda
   vez que tal facultad es exclusiva y excluyente del cuerpo al cual forman
   parte los diputados;

                                CONSIDERANDO

   Que la decisión incontinente de la Sala Plena del ilegítimo Tribunal Supremo
   de Justicia es un acto dictado en violación o menoscabo de los derechos
   garantizados por la Constitución, que además de devaluar y degradar la
   prerrogativa de la inmunidad parlamentaria al prescindir del antejuicio de
   merito, encomendó el juicio del Diputado Edgar José Zambrano Ramírez a
   los tribunales comunes, declinando “la competencia privativa, única,
   exclusiva y excluyente que le atribuye la Constitución en su artículo 200”, “al
   igual que su artículo 266, numeral 3”;

                                CONSIDERANDO

   Que la sentencia del ilegítimo Tribunal Supremo de Justicia es también una
   violación de los derechos al debido proceso, de defensa, de presunción de
   inocencia y de ser juzgado por su juez natural, a que se contrae el artículo
   49, numerales 1, 2 y 4, que por su carácter de derechos fundamentales y el
   abuso de poder por el que se les desconoció, constituye un delito de
   violación grave a los Derechos Humanos, concordantes con lo dispuesto en
   los artículos 29 y 30 de la misma Constitución;
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 85 of 302 PageID #: 147

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                               CONSIDERANDO

   Que el delito de grave violación a los Derechos Humanos del Diputado Edgar
   José Zambrano Ramírez, es imprescriptible, por lo que los funcionarios que
   violen la prerrogativa de la inmunidad parlamentaria y los mencionados
   derechos, incurren en responsabilidad penal, según el último párrafo del
   artículo 200 constitucional, en concordancia con el artículo 139, por abuso
   de poder; y con el artículo 25, también de la Constitución;

                               CONSIDERANDO

   Que la calificación de flagrancia en la comisión de un delito, es un estado
   probatorio, que solo puede hacerse previa presentación del aprehendido
   asegurándole su derecho a la defensa. En el presente caso tal supuesto de
   hecho no se configuró y, en consecuencia, no existe calificación judicial
   alguna; por lo que, la solicitud parte de un falso supuesto y, por tanto, su
   consecuencia es nula;

                               CONSIDERANDO

   Que el Diputado Edgar José Zambrano Ramírez, desde la Presidencia de la
   Comisión de Defensa de esta Asamblea Nacional, el 18 de diciembre del
   2018, denunció la presencia de buques contratados por la Exxon Móbil en la
   Zona Económica Exclusiva que genera el Delta del Orinoco y desde la
   Comisión para la defensa del Esequibo y la Fachada Atlántica, de la cual es
   integrante, ha sido defensor y promotor de la reclamación venezolana de su
   territorio, quedando establecido su rechazo a la Declaración del Grupo de
   Lima en el Acuerdo en Ratificación de la Soberanía Nacional sobre el
   Territorio Esequibo, su Fachada Atlántica y la Zona Económica Exclusiva del
   Delta del Orinoco, aprobado por la Asamblea Nacional el 8 de enero del año
   en curso, de cuyo cuerpo es el Primer Vicepresidente;

                               CONSIDERANDO

   Que el Diputado Edgar José Zambrano Ramírez no se encuentra involucrado
   en ningún plan golpista, siendo fiel creyente del diálogo y las vías
   democráticas para la resolución de las controversias propias de la actividad
   política. Ejemplos notorios de su capacidad de diálogo y negociación, se han
   hecho evidentes en casos de diputados detenidos que fueron electos para el
   período 2010-2015, y gracias a su capacidad humanista y de diálogo se
   logró su liberación, siendo algunos reelectos para el período 2015-2020;
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 86 of 302 PageID #: 148

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                              CONSIDERANDO

   Que el Diputado Edgar José Zambrano Ramírez ha sido un activista por la
   garantía, promoción y respeto de los Derechos Humanos, y prueba de ello
   es la presentación de dos proyectos de Amnistía y Reconciliación Política,
   proyectos que denotan su fuerte convicción en la dimensión espiritual y
   política del Ser Humano;

                              CONSIDERANDO

   Que la arremetida judicial espuria contra el Primer Vicepresidente de la
   Asamblea Nacional es una escalada más en el proceso de falseamiento a la
   Constitución, por parte de los ilegítimos magistrados que se encuentran en
   subversión frente al Orden Constitucional;

                              CONSIDERANDO

   Que esta Asamblea Nacional, único poder legítimo del Estado venezolano,
   está comprometida en la defensa de los intereses del pueblo de Venezuela y
   no avalará ninguna práctica oscura por parte de los poderes ilegítimos que
   sostienen la usurpación que persiga anular a este cuerpo y sus
   representantes escogidos por el pueblo.

                                  ACUERDA

   PRIMERO. Rechazar categóricamente y en todos sus términos el
   pretendido fallo que busca comprometer la responsabilidad del Diputado
   Edgar José Zambrano Ramírez, Primer Vicepresidente de la Asamblea
   Nacional, por cuanto de conformidad con el Estatuto que Rige la Transición
   a la Democracia para Restablecer la Vigencia de la Constitución, los
   integrantes del Tribunal Supremo de Justicia son ilegítimos, salvo los
   Magistrados designados por esta Asamblea Nacional en la sesión de fecha
   21 de julio de 2017. Asimismo, desconocer cualesquiera actos de los
   órganos del Poder Público que pretendan violar la inmunidad parlamentaria
   de los diputados de la Asamblea Nacional.

   SEGUNDO. Ratificar el desconocimiento de esta Asamblea Nacional a las
   decisiones de un Tribunal Supremo de Justicia que no posee legitimidad ni
   jurisdicción alguna.

   TERCERO. Expresar la solidaridad y apoyo de la Asamblea Nacional al
   Diputado Edgar José Zambrano Ramírez, ante este nuevo atropello a sus
   derechos y a este Cuerpo Legislativo. Al mismo tiempo, tenderle todo el
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 87 of 302 PageID #: 149

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   apoyo para que la Comisión Interamericana de los Derechos Humanos
   (CIDH) se pronuncie.

   CUARTO. Hacer entrega del presente Acuerdo al Cuerpo Diplomático
   acreditado en la República Bolivariana de Venezuela; a las diversas
   representaciones diplomáticas que representan al Presidente (E) Juan
   Gerardo Guaidó acreditadas en el exterior; a la Unión Interparlamentaria, a
   la Organización de Estados Americanos (OEA), al Secretario General de las
   Naciones Unidas y a la Alta Comisionada de los Derechos Humanos de dicho
   Organismo; a la Internacional Socialista, a la Conferencia Permanente de
   Partidos Políticos de América Latina (OPPPAL), a la Organización Demócrata
   Cristiana de América (ODCA) y demás organizaciones que congregan
   partidos democráticos en el mundo, al Parlamento Latinoamericano, al
   Parlamento del Mercosur (Parlasur) y a la Conferencia Episcopal de
   Venezuela.

   QUINTO. Dar publicidad al presente Acuerdo.

   Dado, firmado y sellado en el Palacio Federal Legislativo, sede de la
   Asamblea Nacional de la República Bolivariana de Venezuela, en Caracas a
   los siete días del mes de mayo de 2019, años 209° de la Independencia y
   160° de la Federación.




                      JUAN GERARDO GUAIDÓ MÁRQUEZ
                                Presidente




  EDGAR JOSÉ ZAMBRANO RAMÍREZ               IVÁN STALIN GONZÁLEZ MONTAÑO
        Primer Vicepresidente                     Segundo Vicepresidente




 EDINSON DANIEL FERRER ARTEAGA                JOSÉ LUIS CARTAYA PIÑANGO
            Secretario                                Subsecretario
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 88 of 302 PageID #: 150




                       EXHIBIT 25
               Bolivarian Republic
Case 1:21-mc-00046-UNA             of Venezuela
                            Document      4-1 Filed 11/22/21 Page 89 of 302 PageID #: 151
                     National Assembly
                     Caracas - Venezuela


                  [Translation]



                               THE NATIONAL ASSEMBLY OF THE
                             BOLIVARIAN REPUBLIC OF VENEZUELA
                                          Decrees

 The following:

              STATUTE TO GOVERN A TRANSITION TO DEMOCRACY
             TO REESTABLISH THE FULL FORCE AND EFFECT OF THE
           CONSTITUTION OF THE BOLIVARIAN REPUBLIC OF VENEZUELA

                                      PRELIMINARY RECITALS

 The Statute that governs a Transition to democracy to restore the full force and effect of
 the Constitution of the Bolivarian Republic of Venezuela is an act to directly and
 immediately execute article 333 of our Magna Carta. The purpose of the Statute is to
 return to the Constitution, based on the Constitution itself, to provide for an orderly and
 rational path for the unprecedented and imminent process of political change that has
 begun in the country. The Statute is a legislative initiative by the National Assembly,
 which aspires to preserve the 1999 Constitution as a covenant of coexistence for the civic
 life of Venezuelans and the foundation of a transition to democracy.

                                               I

 For twenty years during the Bolivarian Revolution, a political system has been imposed
 which is divorced from Venezuela’s constitutional principles and republican tradition.
 Venezuelans suffer serious material shortages, and a radical curtailment of all their rights,
 including political rights. Real socialism has subjected them to persecution, chaos and
 misery. Faced with this situation an urgent need arises to return to constitutional
 democracy. In this sense, the superior values that inspire the present Statute "are life,
 liberty, justice, equality, solidarity, democracy, social responsibility, constitutional
 supremacy and, in general, the pre-eminence of Human Rights, ethics, and political
 pluralism"(article 5).

                                               II

 A narrative of the democratic struggle that has been fought in recent years is required to
 explain the relevance of the rules that are submitted below. The conditions currently in
 favor of political change are not a random event. They are not about the spontaneous
 collapse of a dictatorship. They are a heroic deed by all of the people of Venezuela, with
 the support of the international community, in view of the severity of the autocratic
 expansion of the Bolivarian Revolution.


 US:164380823v2
               Bolivarian Republic
Case 1:21-mc-00046-UNA             of Venezuela
                            Document      4-1 Filed 11/22/21 Page 90 of 302 PageID #: 152
                  National Assembly
                  Caracas - Venezuela


               [Translation]


 The moment of liberation which began on January 10, 2019 had its origin in the
 opposition’s refusal to participate in the fraudulent process of May 20, 2018, following its
 refusal to sign the Electoral Agreement proposed by the emissaries of Nicolás Maduro
 Moros in the Dominican Republic. On May 20, 2018, the de facto regime tried to simulate
 an electoral process in which the Venezuelan people were unable to exercise their right
 to vote in freedom and the foundation was laid for the current usurpation scenario. The
 silence of the citizenry at the polls became a deafening cry for freedom that stripped the
 regime of its legitimacy and has expanded to this day. Thus, when the time came for a
 new President-elect to be sworn in under the Constitution, that did not take place, and
 Nicolás Maduro Moros clung to the Executive power, as a matter of fact, deepening the
 usurpation.

                                              III

 Since January 10, 2019, Nicolás Maduro Moros continues to usurp the Presidency of the
 Bolivarian Republic of Venezuela, and a de facto government has been set up in the
 country. However, article 333 of the National Constitution in force reads: this Constitution
 shall not lose its effectiveness if it ceases to be observed by an act of force, or because
 it is repealed by any other means than the means contained in the Constitution. In such
 a case, any citizen, whether invested with such authority or not, shall have the duty to
 cooperate in restoring the Constitution’s full force and effect. In this sense, by being
 faithful to our Magna Carta and by responding to their civic conscience, the Venezuelan
 people are obliged to promote actions to allow the restoration of constitutional order.

 It should be noted that the Statute deals with a reality, present both in the country and the
 world. While the Legislative Branch is enacts this Statute, the Venezuelan people are
 rebelling peacefully against the usurpation and the group of free nations has
 acknowledged that constitutional order has been broken. The whole world is witness to
 massive demonstrations of a peaceful and constitutional nature, which evidence the
 irreversible demand for change and freedom within the heart of every Venezuelan.

 Thus, we find ourselves in a political, legal, and constitutional situation that favors the
 restoration of constitutional order. The National Assembly is aware of the urgency of this
 moment, and offers this Statute as an efficient way to return to democracy along the paths
 established by the Constitution and, in that manner, guarantee an orderly transition which
 will permit the establishment of a system of liberties that offers lasting and stable peace,
 from generation to generation.

                                              IV

 The Statute that governs the transition to democracy, and restore the full force and effect
 of the Constitution of the Bolivarian Republic of Venezuela consists of seven (7) chapters


                                                                                            2
               Bolivarian Republic
Case 1:21-mc-00046-UNA             of Venezuela
                            Document      4-1 Filed 11/22/21 Page 91 of 302 PageID #: 153
                  National Assembly
                  Caracas - Venezuela


               [Translation]

 and thirty-nine (39) articles. It is at the same time specific and flexible in its design. It is
 intended to efficiently address the challenges of institutional reconstruction, while
 remaining open to the dynamics of political change. These design guidelines -specificity
 and flexibility - respond to the challenges that will bring about democratic openness,
 pluralism and the need to find paths of consensus among the different political forces that
 will be involved in the process of restoring constitutional order. In short, the Statute
 attempts to rationalize, morally, legally, and technically, the democratizing energies of
 political organizations and civil society in order to frame them in the best Venezuelan
 republican tradition.

 The first chapter - General Provisions - includes the definition of democratic transition,
 the legal nature of the Statute, the superior values that guided the legislators and their
 objectives. Regarding the definition of democratic transition (article 3), it is worth
 mentioning that three progressive phases are identified. First, ceasing the usurpation.
 Next, establishing a provisional government and, finally, holding free, clear, and fair
 elections. In each of these phases, the National Assembly shall exercise certain powers,
 in a progressive manner, until the democratic transition is achieved and constitutional
 order is restored.

 The second chapter deals with usurpation of the National Executive Branch. It confirms
 the absence of an elected president in Venezuela; qualifies the situation as a usurpation;
 specifies the ineffectiveness of the usurped authority; establishes the cessation of any
 duty of obedience to Nicolás Maduro Moros; and identifies the end of usurpation as a
 milestone marking the liberation from the autocratic regime.

 The third chapter deals with the role of the National Assembly and its President for as
 long as usurpation of the Presidency of the Republic continues. First, it reaffirms the
 validity of the constitutional period of the Legislative Branch. Next, it establishes that,
 "the President of the National Assembly is, in accordance with article 233 of the
 Constitution, the legitimate President in charge of the Bolivarian Republic of Venezuela"
 (article 14). The following articles discuss the role of the National Assembly, the path to
 reintegrate the Venezuelan State into the group of free nations, and the rules that will
 guide the political and economic transition.

 The fourth chapter discusses the re-institutionalization of bodies of the Citizen Branch,
 the National Electoral Council, and the Supreme Court of Justice. The Statute specifies
 the National Assembly competence to renew public powers and a path is established to
 legitimize the Citizen Branch, the Supreme Court of Justice, and the rectors of the
 National Electoral Council, establishing a transitional period for the Public Powers
 designated during the provisional Government.

 The fifth chapter establishes the guidelines to create a provisional Government for
 national unity. Once the usurpation is ended, the National Assembly shall guarantee full


                                                                                               3
               Bolivarian Republic
Case 1:21-mc-00046-UNA             of Venezuela
                            Document      4-1 Filed 11/22/21 Page 92 of 302 PageID #: 154
                 National Assembly
                 Caracas - Venezuela


              [Translation]

 compliance with article 233 of the National Constitution, once liberation from the
 autocracy is completed. The President of the Legislative Branch “shall act for thirty (30)
 consecutive days as President in Charge for the purpose of conducting the process which
 will bring about the establishment of a provisional Government for national unity and
 adopting the necessary measures to hold free and fair presidential elections” (article 25).
 This section provides for the mechanisms that will govern the political process following
 the end of usurpation.

 Following the transition path established in article 3, the sixth chapter refers to free
 elections. It establishes mechanisms to guarantee free, just and fair elections. It also
 establishes a clear and unequivocal commitment to “strengthening political organizations,
 in accordance with the provisions of article 67 of the Constitution” (article 32). This
 commitment is specifically made in recognition of the importance of guaranteeing political
 participation and a stable democratic system.

 And in conclusion, in the Final Provisions, the publication of the Statute is authorized and
 extraordinary measures are ordered for its promulgation, given the impossibility
 publishing it in the Official Gazette.

                                              V

 The Statute that governs the Transition to democracy to re-establish the full force and
 effect of the Constitution of the Bolivarian Republic of Venezuela is an expression of the
 democratic vocation and desire for freedom of the Venezuelan people. It is proof of the
 people’s political maturity and, through it, the country will be guided toward the
 reestablishment of the constitutional order, in a peaceful and orderly manner, and to set
 the foundation for a stable and lasting democracy.




                                                                                           4
               Bolivarian Republic
Case 1:21-mc-00046-UNA             of Venezuela
                            Document      4-1 Filed 11/22/21 Page 93 of 302 PageID #: 155
                  National Assembly
                  Caracas - Venezuela


               [Translation]

                          THE NATIONAL ASSEMBLY OF THE
                       BOLIVARIAN REPUBLIC OF VENEZUELA
                   Based on Article 7, and Article 333, of the Constitution,

                                          DECREES

 The following

               STATUTE TO GOVERN A TRANSITION TO DEMOCRACY,
              TO REESTABLISH THE FULL FORCE AND EFFECT OF THE
                 CONSTITUTION OF THE REPUBLIC OF VENEZUELA

                                        CHAPTER I
                                    GENERAL PROVISIONS

                                                                                      Purpose

 Article 1. The purpose of this Statute is to establish a legal framework to govern a
 democratic transition in the Bolivarian Republic of Venezuela.

                                                                       Democratic Transition

 Article 2. For the purposes of this Statute, transition is understood as the process of
 democratization and re-institutionalization involving the following phases: liberation from
 the autocratic regime that oppresses Venezuela, creation of a provisional Government
 for national unity, and holding free elections.

                                                       Purpose of the Democratic Transition

 Article 3. The objectives of the democratic transition are to fully restore the constitutional
 order, rescue the popular sovereignty through free elections, and reverse the complex
 humanitarian emergency, for the purpose of rescuing the system of liberties,
 constitutional guarantees and human rights.

                                                                                 Legal Nature

 Article 4. The present Statute is a legal act in direct and immediate execution of article
 333 of the Constitution of the Bolivarian Republic of Venezuela. Any action decreed by
 entities of the Public Branch to carry out the guidelines established in this Statute are also
 based on article 333 of the Constitution, and are mandatory for all authorities and public
 officials, as well as all individuals.




                                                                                             5
               Bolivarian Republic
Case 1:21-mc-00046-UNA             of Venezuela
                            Document      4-1 Filed 11/22/21 Page 94 of 302 PageID #: 156
                  National Assembly
                  Caracas - Venezuela


               [Translation]

                                                                                    Principles

 Article 5. The superior values which govern this Statute are life, liberty, justice, equality,
 solidarity, democracy, social responsibility, constitutional supremacy and, in general,
 preeminence of human rights, ethics, and political pluralism.
                                                                                   Objectives

 Article 6. In accordance with article 333 of the Constitution, the objectives of this Statute
 are to:

 1. Regulate actions by the different branches of the Public Power during the process of
 democratic transition, in accordance with article 187, paragraph 1 of the Constitution,
 allowing the National Assembly to begin the process of re-establishing constitutional and
 democratic order.

 2. Establish guidelines for the National Assembly to protect the rights of the Venezuelan
 State and people before the international community, until a provisional Government for
 national unity is set up.

 3. Lay the foundation to initiate a process of national reconciliation among citizens.

 4. Establish political guidelines to guide the National Assembly to set up a Government
 for national unity, which shall act during the absence of a President-elect until free and
 transparent elections are completed in the shortest time possible.

 5. Define criteria and timing to appoint or ratify public officials within the Citizen Branch,
 the Electoral Branch and the Supreme Court of Justice, in accordance with the
 Constitution and the laws.

 6. Establish guidelines to guarantee a constitutional integration of the National Armed
 Forces in the democratic transition process, in accordance with the directives of article
 328 of the Constitution.

 7. Define the bases for economic transition under the terms of article 299 of the
 Constitution and reverse the complex humanitarian emergency.

 8. Establish a general framework to implement reforms aimed at rescuing popular
 sovereignty through free, fair and transparent elections.

 9. Fully reinsert the Venezuelan State into the international organizations for the
 protection of human rights, rendering the renunciation of the OAS Charter null and void,
 ratify the American Convention on Human Rights and the compulsory contentious



                                                                                             6
               Bolivarian Republic
Case 1:21-mc-00046-UNA             of Venezuela
                            Document      4-1 Filed 11/22/21 Page 95 of 302 PageID #: 157
                  National Assembly
                  Caracas - Venezuela


               [Translation]

 jurisdiction of the Inter-American Court of Human Rights; as well as ratify the other treaties
 on human rights in the inter-American system and in the United Nations system.

                                                      Progressive Application of this Statute

 Article 7. To progressively achieve the objectives defined in the previous article, the
 three phases of the democratic transition enshrined in article 2 of this Statute shall be
 taken into account:

 1. Liberation from the dictatorial regime, which shall occur with the cessation of the de
 facto powers exercised by Nicolás Maduro Moros.

 2. Establishment of a provisional Government for national unity, which shall ensure that
 the democratic system is restored and free elections are held.

 3. Restoration of a democratic State by holding free, clear and fair elections in the
 shortest time possible.

                                       CHAPTER II
                         On the Usurpation of the Executive Branch

                                                                  Absence of President-elect

 Article 8. The political event held on May 20, 2018 was not a legitimate presidential
 election. Therefore, there is no legitimate President-elect to assume the Presidency of
 the Bolivarian Republic of Venezuela for the 2019-2025 period.

                                               Usurpation of the Presidency of the Republic

 Article 9. By virtue of the provisions of the preceding article, the assumption of the
 Presidency of the Bolivarian Republic of Venezuela by Nicolás Maduro Moros, or by any
 other official or representative of the de facto regime, is a usurpation of authority under
 the terms of article 138 of the Constitution.

                                           Ineffectiveness of usurped presidential authority

 Article 10. The usurpation of the Presidency of the Bolivarian Republic of Venezuela is
 derived from the assumption of that position by a person who is not the President-elect
 and does not have a constitutional right to so assume it. All acts by the usurping authority
 as of January 10, 2019 shall be considered null and void, in accordance with article 138
 of the Constitution of the Bolivarian Republic of Venezuela.




                                                                                             7
               Bolivarian Republic
Case 1:21-mc-00046-UNA             of Venezuela
                            Document      4-1 Filed 11/22/21 Page 96 of 302 PageID #: 158
                  National Assembly
                  Caracas - Venezuela


               [Translation]

                                        Cessation of the duty of obedience to usurped authority

 Article 11. No citizen, whether invested with authority or not, shall obey any mandate by
 the usurping authority. Public officials who contribute to the usurpation shall be liable, as
 established in articles 25 and 139 of the Constitution. All public officials have the duty to
 abide by article 7 and article 333 of the Constitution in order to obey the mandates of
 Venezuela’s legitimate Public Branches, especially with regard to the execution of this
 Statute.

                               Cessation of usurpation and liberation from the autocratic regime

 Article 12. The cessation of the usurped authority of Nicolás Maduro Moros, and the
 creation of a provisional Government for national unity are concurrent elements that will
 free the country from the autocratic regime as established in article 2 herein.


                                    CHAPTER III
                On Actions by the National Assembly and its President

                                                         Validity of the National Assembly term

 Article 13. The National Assembly, elected by popular vote on December 6, 2015, shall
 exercise its constitutional functions within the framework of the current Legislature until
 January 4, 2021. On January 5, 2021, a new legislature of the National Assembly shall
 be installed, in accordance with article 219 of the Constitution of the Bolivarian Republic
 of Venezuela. To that end, parliamentary elections shall be held during the last quarter
 of the 2020, as established in the constitutional rules and electoral laws.

                                                         The NA President as Interim President
                                                        of the Bolivarian Republic of Venezuela

 Article 14. The President of the National Assembly is, in accordance with article 233 of
 the Constitution, the legitimate Interim President of the Bolivarian Republic of Venezuela.
 The acts of the Interim President shall be submitted to the parliamentary control of the
 National Assembly under article 187, numeral 3, of the Constitution.

                                      Defense of the rights of the Venezuelan people and State

 Article 15. The National Assembly may adopt any decisions necessary to defend the
 rights of the Venezuelan State before the international community, to safeguard assets,
 property and interests of the State abroad, and promote the protection and defense of
 human rights of the Venezuelan people, all in accordance with Treaties, Conventions,
 and International Agreements in force.


                                                                                              8
               Bolivarian Republic
Case 1:21-mc-00046-UNA             of Venezuela
                            Document      4-1 Filed 11/22/21 Page 97 of 302 PageID #: 159
                 National Assembly
                 Caracas - Venezuela


              [Translation]


 In exercising the powers derived from article 14 of this Statute, and within the framework
 of article 333 of the Constitution, the Interim President of the Bolivarian Republic of
 Venezuela shall exercise the following powers, subject to authorization and control by the
 National Assembly under the principles of transparency and accountability.

 a.     Appoint ad hoc Administrative Boards to assume the direction and administration
 of public institutes, autonomous institutes, State foundations, State associations and
 organizations, State companies, including companies established abroad, and any other
 decentralized entity, for the purpose of appointing administrators and, in general, adopting
 the measures necessary to control and protect State company assets. The decisions
 adopted by the Interim President of the Republic shall be executed immediately, with full
 legal effect.

 b.      While an Attorney General is validly appointed in accordance with article 249 of
 the Constitution, and within the framework of articles 15 and 50 of the Organic Law of the
 Attorney General of the Republic, the Interim President of the Republic may appoint a
 special attorney general to defend and represent the rights and interests of the Republic,
 State companies and other decentralized entities of the Public Administration abroad.
 The special attorney general shall have the power to appoint judicial representatives,
 including before international arbitration proceedings, and shall exercise the powers set
 forth in article 48, paragraphs 7, 8, 9 and 13, of the Organic Law of the Attorney General
 of the Republic, subject to the limitations derived from article 84 of that Law and this
 Statute. Such representation shall be especially oriented toward ensuring the protection,
 control, and recovery of State assets abroad, as well as executing any action required to
 safeguard the rights and interests of the State. The attorney general thus appointed shall
 have the power to execute any action and exercise all of the rights that the Attorney
 General would have, with regard to the assets described herein. For such purposes, such
 special attorney general shall meet the same conditions that the Law requires to occupy
 the position of Attorney General of the Republic.

                                                         Actions by the National Assembly

 Article 16. By virtue of the provisions of the previous article, the National Assembly
 shall:

 1. Authorize the appointment of the heads of permanent diplomatic missions by the
 Interim President, in accordance with article 236, numeral 15, of the Constitution.

 2. Within the framework of the control powers established in the Constitution, defend the
 assets of the Bolivarian Republic of Venezuela and its entities abroad.




                                                                                           9
               Bolivarian Republic
Case 1:21-mc-00046-UNA             of Venezuela
                            Document      4-1 Filed 11/22/21 Page 98 of 302 PageID #: 160
                 National Assembly
                 Caracas - Venezuela


              [Translation]

 3. Participate in the investigation of any serious human rights violation, and the
 investigation of any illicit activity related to corruption and money laundering in order to
 ensure the recovery of capital derived from such illicit activities;

 4. Promote the implementation of international cooperation mechanisms to address the
 humanitarian emergency and the refugee and migrant crisis, in accordance with
 International Humanitarian Law and article 23 of the Constitution of the Bolivarian
 Republic of Venezuela.

 5. Adopt measures that will permit the recovery of state sovereignty throughout the
 territory of the Bolivarian Republic of Venezuela.

 6. Articulate actions with civil society to promote mechanisms for public participation that
 will legitimize the democratic transition process and assist in bringing about the cessation
 of the usurpation of presidential powers by Nicolás Maduro Moros.

 7. Exercise any other power that may be assumed by the National Assembly under article
 333 of the Constitution, the laws of the Republic, and this Statute, within the limits
 established by Treaties and other international human rights instruments in force.

                              Re-insert the Venezuelan State into the group of free nations

 Article 17. In exercise of the powers set forth in this Chapter, the National Assembly
 shall take actions designed to re-insert as soon as possible the Venezuelan State into the
 group of free nations, in accordance with the provisions of the Charter of the Organization
 of American States, the Inter-American Democratic Charter, the Charter of the United
 Nations, and other international instruments, in particular those relating to human rights
 in the inter-American and universal systems.

                                                           Guidelines for political transition

 Article 18. The National Assembly shall enact Laws to promote the political transition in
 accordance with article 333 of the Constitution. The objectives of such Laws will be the
 following:

 1. Create legal incentives and guarantees for civilian and military officials to act in
 accordance with the Constitution and disregard any order from the usurpers of the
 Presidency of the Republic since January 10, 2019, as well as other bodies tht have been
 established unconstitutionally, such as the current Supreme Court of Justice, the National
 Electoral Council, the Public Ministry, the Ombudsman's Office, and the Comptroller
 General of the Republic. The purpose of such incentives to for such civilian and military
 officials to cooperate and participate in the transition process and restoration of
 constitutional order.


                                                                                           10
               Bolivarian Republic
Case 1:21-mc-00046-UNA             of Venezuela
                            Document      4-1 Filed 11/22/21 Page 99 of 302 PageID #: 161
                  National Assembly
                  Caracas - Venezuela


               [Translation]


 2. Develop a transitional justice system, aimed at recovering human dignity, justice,
 protection and integral reparations for victims of human rights violations. The system
 shall include measures to establish the truth, and promote national reconciliation, in
 accordance with current human rights treaties and article 30 of the Constitution. Once
 the usurpation ceases, the National Assembly shall create by law an independent Truth
 Commission, which shall be charged with investigating human rights violations, proposing
 political and legislative guidelines for reparations to victims, and promoting democratic
 education, a culture of peace and national reconciliation.

 3. Decree amnesty for citizens, both civilian and military, who are still deprived of their
 liberty for political reasons, and guarantee a democratic reintegration of citizens who
 cooperate in restoring constitutional order, all in accordance with articles 23, 29 and 187,
 numeral 5, of the Constitution and the standards of International Law on Human Rights.

 4. Define policies aimed at effective compliance with article 328 of the Constitution and
 constitutional integration of the Armed Forces into the democratic transition process.

                                                          Guidelines for an economic transition

 Article 19. The National Assembly shall issue laws to address the humanitarian
 emergency and promote the recovery of the Venezuelan economy, in accordance with
 article 299 of the Constitution.


                                            CHAPTER IV

                 On the Re-institutionalization of the Citizen Branch,
               Supreme Court of Justice and National Electoral Council


                                        National Assembly jurisdiction to renew public branches

 Article 20. It shall the National Assembly’s responsibility to determine when to
 implement, in full or in part, the necessary procedures under article 333 of the Constitution
 to enable modifications to timing and legal requirements in order to recover the legitimacy
 of the Public Branch. It is the duty of every citizen and public official to cooperate in such
 process.

 The National Assembly shall proceed to appoint or ratify public officials within Public
 Branches: Citizen Branch, Rectors of the National Electoral Council, and Judges of the
 Supreme Court of Justice.



                                                                                            11
                Bolivarian Republic
Case 1:21-mc-00046-UNA              of Venezuela
                             Document     4-1 Filed 11/22/21 Page 100 of 302 PageID #: 162
                  National Assembly
                  Caracas - Venezuela


               [Translation]

                                                              Legitimizing the Citizen Branch

  Article 21. The National Assembly shall determine when the process of appointing or
  ratifying public officials of the Citizen Branch.

  Given that the Republican Moral Council cannot function constitutionally and
  democratically, and the factual impossibility of convening the Nominations Committee of
  the Citizen Branch while the usurpation by Nicolás Maduro Moros persists, the National
  Assembly, under article 333 of the Constitution, shall establish mechanisms pursuant to
  which citizens, organized through academies, universities and nongovernmental
  organizations, may publicly post lists of candidates for public office within the Citizen
  Branch. The foregoing shall be in compliance with article 279 of the Constitution.

                                                   Legitimizing the Supreme Court of Justice

  Article 22. For the purposes of this Statute, any individual appointed by the National
  Assembly in accordance with the Constitution and the Organic Law of the Supreme Court
  of Justice, in the July 21, 2017 session, shall be considered a legitimate judge.

  The National Assembly shall appoint or ratify judges to the Supreme Court of Justice who
  were appointed during legislatures prior to the 2016-2021 Legislature.

  Once all Judges have been appointed, and vacancies have been filled, such Judges shall
  be incorporated into the highest jurisdictional body of the Bolivarian Republic of
  Venezuela in accordance with the provisions of the Organic Law of the Supreme Court of
  Justice.

                                    Legitimizing the Rectors of the National Electoral Council

  Article 23. The National Assembly shall exercise its powers, under article 295 of the
  Constitution and the Organic Law of the Electoral Branch, to appoint or ratify the Rectors
  of the National Electoral Council.

  The appointment of the Rectors of the National Electoral Council shall be a priority for the
  National Assembly. The Electoral Nominations Committee shall exercise its powers as
  soon as possible so that a new National Electoral Council may proceed to hold free and
  fair elections without undue delay such that, once usurpation has come to an end and a
  provisional Government for national unity has been formed, such elections shall enable
  the consolidation of democracy.




                                                                                           12
                Bolivarian Republic
Case 1:21-mc-00046-UNA              of Venezuela
                             Document     4-1 Filed 11/22/21 Page 101 of 302 PageID #: 163
                   National Assembly
                   Caracas - Venezuela


                [Translation]

                                          Transitory period for re-legitimized Public Branches

  Article 24. All Public Branches legitimized by the National Assembly in accordance with
  this Statute shall exercise their functions until the end of the first six months of 2021. The
  National Assembly that is elected in the last quarter of the year 2020, pursuant to article
  13 of this Statute, shall appoint or ratify public officials within the Citizen Branch, judges
  of the Supreme Court of Justice, and Rectors of the National Electoral Council. Such
  appointed or ratified officials shall hold office for complete constitutional periods as set
  forth in the Constitution of the Bolivarian Republic of Venezuela.

                                           CHAPTER V

             On the creation of a Provisional Government for National Unity

                                 Continuity in the application of article 233 of the Constitution

  Article 25. Once usurpation of the Presidency of the Bolivarian Republic of Venezuela
  by Nicolás Maduro Moros and other representatives of the de facto regime ends, the
  National Assembly shall ensure that article 233 of the Constitution will continue to apply.
  The President of the National Assembly shall be Interim President of the Republic for
  thirty (30) consecutive days for the purpose of leading the process to create a provisional
  Government of national unity and adopt measures required to hold free and fair
  presidential elections.

                   Appointment of a temporary President to form a provisional Government

  Article 26. Once the two assumptions set forth in the previous article are met, and in
  case of a technical impossibility to call and hold free and fair elections within thirty (30)
  continuous days as established in article 233 of the Constitution, the National Assembly
  shall ratify the Interim President as provisional President of the Bolivarian Republic of
  Venezuela for the purpose of forming a Government of national unity, which will initiate a
  second phase of the transition to democracy, as established in article 2 of this Statute,
  and within the framework of article 333 of the Constitution.

  article 333 of the Constitution establishes that the mandate of the provisional Government
  will end when a new President-elect is sworn in before the National Assembly. The
  President-elect will be have been elected in free and fair elections convened and
  organized by the Electoral Branch and benefitting from all guarantees established by
  national and international electoral transparency standards. Such elections shall result
  in a Presidential period from 2019 to 2025, as established in article 233 of the
  Constitution. In any event, presidential elections must be held as soon as possible, as
  soon as all technical conditions are met and within a maximum period of twelve (12)
  months.


                                                                                              13
                Bolivarian Republic
Case 1:21-mc-00046-UNA              of Venezuela
                             Document     4-1 Filed 11/22/21 Page 102 of 302 PageID #: 164
                  National Assembly
                  Caracas - Venezuela


               [Translation]


                                        Governance rules and minimum government program

  Article 27. The National Assembly, after consulting civil society and political
  organizations, shall approve by parliamentary agreement the rules of governance and
  guidelines of the minimum program to be implemented by the provisional Government
  within the principles of social market economy. To this end, guidelines for a political
  transition and guidelines for an economic transition derived from the provisions of articles
  17 and 18 of this Statute shall be taken into consideration. That minimum program will
  respect the principles of the socioeconomic regime and role of the State in the economy
  as established in article 299 of the Constitution.

                                                                    International cooperation

  Article 28. The provisional Government for national unity shall procure international
  financial cooperation from multilateral organizations and other nations in the free world in
  order to initiate a process of economic transition and pursue the reversal of the
  humanitarian emergency. The provisional Government shall also request the permanent
  presence of international organizations specialized in guaranteeing and defending human
  rights to accompany the democratic transition process and inform the international
  community on the status of such rights in Venezuela.

                           Rescuing state sovereignty throughout the erritory of the Republic

  Article 29. The provisional Government may request the assistance of the international
  community for the purpose of restoring State sovereignty in the territory of the Republic,
  with prior authorization by the National Assembly, in accordance with the powers granted
  in article 187 of the Constitution.


                                          CHAPTER VI

                                          On Elections
                                                                       Holding free elections

  Article 30. The National Assembly shall adopt, by application of articles 233 and 333 of
  the Constitution, measures to restore the conditions for electoral integrity and permit a
  presidential election to be held for the 2019-2025 presidential term.

                                                                    Restoring political rights

  Article 31. Once the other Public Branches have been renewed, the National Assembly
  shall adopt measures to ensure the right to seek nomination for elected office and the


                                                                                           14
                Bolivarian Republic
Case 1:21-mc-00046-UNA              of Venezuela
                             Document     4-1 Filed 11/22/21 Page 103 of 302 PageID #: 165
                  National Assembly
                  Caracas - Venezuela


               [Translation]

  right of suffrage may be freely exercised, in accordance with the Constitution and
  international electoral integrity standards.

                                                        Strengthening political organizations

  Article 32. The National Assembly and the other legitimized Public Branches shall adopt
  measures to strengthen political organizations in accordance with article 67 of the
  Constitution.

                                              VII

                               Transitory and Final Provisions

                                         Parliamentary acts for the execution of this Statute

  Article 33. The National Assembly shall adopt any decision, Agreements and Laws
  necessary to implement this Statute, in order to allow the effective restoration of the
  Constitution and to put an end to the usurpation of the Presidency of the Republic. Until
  such objectives are achieved, the provisions in this Statute and other decisions adopted
  within the framework of articles 233 and 333 of the Constitution shall apply preferentially.

                               Transitional rules regarding PDVSA and PDVSA subsidiaries

  Article 34. Given the risks faced by PDVSA and its subsidiaries as a result of the
  usurpation referred to in Chapter II of the present Statute, and while such a situation
  persists, under the authoritative control of the National Assembly and within the
  framework of the application of article 333 of the Constitution, the Interim President shall
  appoint an ad hoc Administrative Board for Petróleos de Venezuela S.A. (PDVSA), in
  accordance with article 15, letter a, of the present Statute, to exercise PDVSA’s rights
  as shareholder of PDV Holding, Inc. The powers shall be exercised in accordance with
  the following principles:

     1. The ad hoc Administrative Board may be composed of persons domiciled abroad
        and shall have powers to act as shareholders’ assembly and board of directors of
        PDVSA, with the objective of taking all actions that may be necessary to
        designate the board of directors of PDV Holding, Inc., in representation of
        PDVSA as sole shareholder of that company. The new directors of PDV Holding,
        Inc. shall proceed to appoint new boards of directors for the PDV Holding, Inc.’s
        subsidiaries, including Citgo Petroleum Corporation.

     2. This transitory provision shall prevail over any other applicable rule, and shall
        govern the interpretation of any other formality required by the Venezuelan legal



                                                                                           15
                Bolivarian Republic
Case 1:21-mc-00046-UNA              of Venezuela
                             Document     4-1 Filed 11/22/21 Page 104 of 302 PageID #: 166
                  National Assembly
                  Caracas - Venezuela


               [Translation]

        system and corporate documents, in order to exercise the representation of
        PDVSA as sole shareholder of PDV Holding, Inc.

     3. The new directors of PDV Holding, Inc. and its subsidiaries shall guarantee the
        functional autonomy of said companies, particularly with respect to PDVSA.
        Based on the foregoing:

        a) The autonomous management of the business of PDV Holding, Inc. and its
           subsidiaries shall follow commercial efficiency criteria, subject only to the
           control and accountability mechanisms exercised by the National Assembly,
           and other applicable control mechanisms.

        b) PDV Holding, Inc. and its subsidiaries shall have no relationship whatsoever
           with the people currently usurping the Presidency of the Republic. For as
           long as such usurpation persists, PDV Holding, Inc. and its subsidiaries shall
           make no payments or distributions to PDVSA.

                                                       Publicity concerning present Statute

  Article 35. The National Assembly shall communicate as soon as possible the contents
  of this Statute to the Venezuelan Nation, as well as the international community, including
  foreign Governments, the Secretary General of the United Nations (UN), the Secretary
  General of the OAS, the UN High Commissioner for Human Rights, the Inter-American
  Commission on Human Rights, the European Union, the African Union, the Organization
  of Petroleum Exporting Countries, the World Bank, the International Monetary Fund, the
  Inter-American Development Bank, and the Andean Development Corporation-Latin
  American Development Bank, among others.

                                              Disposition and management of State assets

  Article 36. State assets that are recovered through the mechanisms established in this
  Statute may not be disposed of or realized until the usurpation ends and a provisional
  Government of national unity is formed. To this end, and by virtue of the continuous
  budgetary renewal process that the Republic has experienced since 2016, the National
  Assembly may issue a special law on financial and budgetary matters, in accordance with
  article 187, paragraphs 6, 7 and 8 of the Constitution.

                                                                            Entry into Force

  Article 37. This Statute shall enter into force after being approved by the members of
  the National Assembly, pursuant to Constitutional rules for legislative procedures and in
  accordance with the National Assembly’s Internal and Debate Rules



                                                                                          16
                Bolivarian Republic
Case 1:21-mc-00046-UNA              of Venezuela
                             Document     4-1 Filed 11/22/21 Page 105 of 302 PageID #: 167
                   National Assembly
                   Caracas - Venezuela


               [Translation]

                                         Extraordinary means to promulgate the present Statute

  Article 38. By virtue of the fact that access to the Official Gazette is an impossibility
  because of the de facto regime and the usurpation that prevails in Venezuela, the Statute
  and the decisions that are to be implemented shall be published in such manner as may
  be determined by the National Assembly for such purpose.

  For such purposes, and while the situation indicated in this article persists, the Laws and
  Agreements issued by the National Assembly, as well as the decisions issued by the
  Interim President of the Republic, shall be published in the Legislative Gazette, in
  accordance with the provisions of the Internal and Debate Regulations. Laws,
  Agreements, and other decisions shall become effective upon publication in the
  Legislative Gazette, including in digital format. The Official Publications Act shall apply
  supplementally.

                                                                              Residual Clause

  Article 39. In order to ensure a democratic transition, anything not covered by this
  Statute shall be resolved by the National Assembly by application of article 333 of the
  Constitution.

  Issued, signed and sealed at the Federal Legislative Palace, seat of the National
  Assembly of the Bolivarian Republic of Venezuela, in Caracas, on February 5, 2019.
  209th Year of Independence and 150th Year of the Federation.



                                                [Signed]

                               JUAN GERARDO GUAIDO MARTINEZ
                                              President

        [Signed]                                             [Signed]

  EDGAR JOSE ZAMBRANO RAMIREZ                          IVAN STALIN GONZALEZ MONTAÑO
       First Vice-President                                  Second Vice-President

        [Signed]                                             [Signed]

  EDINSON DANIEL FERRER ARTEAGA                        JOSE LUIS CARTAYA PIÑANGO
       Secretary                                             Undersecretary




                                                                                            17
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 106 of 302 PageID #: 168




                                LA ASAMBLEA NACIONAL
                      DE LA REPUBLICA BOLIVARIANA DE VENEZUELA
                                        Decreta
           el siguiente,
                 ESTATUTO QUE RIGE LA TRANSICIÓN A LA DEMOCRACIA
                 PARA RESTABLECER LA VIGENCIA DE LA CONSTITUCIÓN
                    DE LA REPÚBLICA BOLIVARIANA DE VENEZUELA

                                   EXPOSICIÓN DE MOTIVOS

           El Estatuto que rige la Transición a la democracia para restablecer la
           vigencia de la Constitución de la República Bolivariana de Venezuela es un
           acto en ejecución directa e inmediata del artículo 333 de la Carta Magna. Su
           propósito es volver a la Constitución desde la propia Constitución para
           ofrecer un cauce ordenado y racional al inédito e inminente proceso de
           cambio político que ha comenzado en el país. Se trata de una iniciativa
           normativa de la Asamblea Nacional que aspira a preservar la Constitución de
           1999 como pacto de convivencia para la vida cívica de los venezolanos y
           como fundamento de la transición democrática.

                                                   I

           Durante veinte años de Revolución Bolivariana se ha impuesto un sistema
           político alejado de los principios constitucionales y de la tradición
           republicana del país. Los venezolanos sufren graves carencias materiales y
           el cercenamiento radical de todos sus derechos, incluidos los políticos. El
           socialismo real los ha sometido a la persecución, al caos y a la miseria.
           Frente a esta situación emerge la necesidad urgente de regresar a la
           democracia constitucional. En este sentido, los valores superiores que
           inspiran al presente Estatuto “son la vida, la libertad, la justicia, la igualdad,
           la solidaridad, la democracia, la responsabilidad social, la supremacía
           constitucional y, en general, la preeminencia de los Derechos Humanos, la
           ética y el pluralismo político” (artículo 5).

                                                   II

           Explicar la pertinencia de las normas que a continuación se presentan
           supone hacer un recuento de la lucha democrática que se ha librado en los
           últimos años. Las condiciones que actualmente favorecen al cambio político




                                                                                           1
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 107 of 302 PageID #: 169




           no son un hecho azaroso. No se trata del colapso espontáneo de la
           dictadura. Es una gesta heroica de todo el pueblo de Venezuela con el
           apoyo de la comunidad internacional ante la gravedad de la expansión
           autocrática de la Revolución Bolivariana.

           La coyuntura liberadora que comenzó el 10 de enero de 2019 tuvo sus
           orígenes cuando las fuerzas opositoras se negaron a participar en el proceso
           fraudulento del 20 de mayo de 2018, después de negarse a suscribir el
           Acuerdo Electoral propuesto por los emisarios de Nicolás Maduro Moros en
           República Dominicana. El 20 de mayo de 2018 el régimen de facto pretendió
           simular un proceso comicial en el que los venezolanos no pudieron ejercer
           su derecho al voto en libertad y se sentaron las bases para el escenario de
           usurpación que ocurre actualmente. El silencio ciudadano en las urnas se
           convirtió en un grito ensordecedor de libertad que despojó de legitimidad al
           régimen y se expandió hasta el día de hoy. De esta manera, llegado el plazo
           constitucional en el que un nuevo Presidente electo debía juramentarse, no
           ocurrió lo debido y Nicolás Maduro Moros se aferró al Poder Ejecutivo de
           manera fáctica para profundizar la usurpación.

                                                III

           A partir del 10 de enero de 2019 Nicolás Maduro Moros continúa usurpando
           la Presidencia de la República Bolivariana de Venezuela y se ha instalado un
           gobierno de facto en el país. Pero el artículo 333 de la Constitución Nacional
           vigente reza: esta Constitución no perderá su vigencia si dejare de
           observarse por acto de fuerza o porque fuere derogada por cualquier otro
           medio distinto al previsto en ella. En tal eventualidad, todo ciudadano
           investido o ciudadana investida o no de autoridad, tendrá el deber de
           colaborar en el restablecimiento de su efectiva vigencia. En tal sentido,
           siendo fieles a la Carta Magna y respondiendo a su conciencia ciudadana, los
           venezolanos están obligados a impulsar acciones que permitan el
           restablecimiento del orden constitucional.

           Conviene destacar que el Estatuto recoge lo que es una realidad en el país y
           en el mundo. Mientras el Poder Legislativo decreta este Estatuto, los
           venezolanos se rebelan pacíficamente en contra de la usurpación y el
           concierto de las nacionales libres reconoce que se ha quebrado el orden
           constitucional. El mundo entero es testigo de las movilizaciones masivas de
           carácter pacífico y constitucional que evidencian la irreversible voluntad de
           cambio y libertad que yace en el corazón de cada venezolano.




                                                                                        2
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 108 of 302 PageID #: 170




           Se ha configurado, así, una situación política, jurídica y constitucional que
           favorece la restitución del orden constitucional. La Asamblea Nacional es
           consciente de la urgencia del momento y ofrece el presente Estatuto como
           un camino eficiente para regresar a la democracia por los caminos
           establecidos en la Constitución y así garantizar una transición ordenada que
           permita la inauguración de un sistema de libertades que ofrezca una paz
           duradera y estable, de generación en generación.

                                                IV

           El Estatuto que rige la Transición a la democracia para restablecer la
           vigencia de la Constitución de la República Bolivariana de Venezuela consta
           de siete (7) capítulos y treinta y nueve (39) artículos. Su diseño es
           específico y flexible a la vez. Se propone atender con eficiencia los desafíos
           de la reconstrucción institucional al tiempo que permanece abierto a la
           dinámica del cambio político. Estas pautas de diseño –especificidad y
           flexibilidad– responden a los retos que traerán apertura democrática,
           pluralismo y la necesidad de encontrar caminos de consenso entre las
           diferentes fuerzas políticas que participarán en el proceso de
           restablecimiento del orden constitucional. Se trata, en suma, de racionalizar
           moral, jurídica y técnicamente las energías democratizadoras de las
           organizaciones con fines políticos y de la sociedad civil para enmarcarlas en
           lo mejor de la tradición republicana de Venezuela.

           El primer capítulo -Disposiciones Generales- incluye la definición de
           transición democrática, la naturaleza jurídica del Estatuto, los valores
           superiores que guiaron a los legisladores y sus objetivos. Sobre la definición
           de transición democrática (artículo 3) conviene destacar que se identifican
           tres fases progresivas. Primero, el cese de la usurpación. Luego, la
           instalación de un Gobierno provisional y, finalmente, la realización de
           elecciones libres, transparentes y competitivas. En cada una de estas fases
           progresivas la Asamblea Nacional ejercerá competencias, también de
           manera progresiva, hasta lograr consumar la transición democrática y
           restablecer el orden constitucional.

           El segundo capítulo trata sobre la usurpación del Poder Ejecutivo Nacional.
           Su articulado especifica la inexistencia de un presidente electo en el país,
           califica la situación de usurpación, precisa la ineficacia de la autoridad
           usurpada, establece el cese del deber de obediencia a Nicolás Maduro Moros




                                                                                        3
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 109 of 302 PageID #: 171




           e identifica en el fin de la usurpación como el hito que marca la liberación
           del régimen autocrático.

           El tercer capítulo especifica la actuación de la Asamblea Nacional y su
           presidente mientras permanezca la usurpación de la Presidencia de la
           República. Para comenzar se reafirma la vigencia del periodo constitucional
           del Poder Legislativo. Acto seguido se establece que, “el Presidente de la
           Asamblea Nacional es, de conformidad con el artículo 233 de la Constitución,
           el legítimo Presidente encargado de la República Bolivariana de Venezuela”
           (Artículo 14). Y en los artículos siguientes se especifica la actuación de la
           Asamblea Nacional, el camino de reinserción del Estado venezolano en el
           concierto de las nacionales libres y los lineamientos que guiarán la transición
           política y económica.

           El cuarto capítulo desarrolla la reinstitucionalización de los órganos del Poder
           Ciudadano, del Consejo Nacional Electoral y del Tribunal Supremo de
           Justicia. Se precisan las competencias de la Asamblea Nacional para renovar
           los poderes públicos y se establece el camino para legitimar al Poder
           Ciudadano, al Tribunal Supremo de Justicia y a los rectores del Consejo
           Nacional Electoral, estableciendo un periodo transitorio de los Poderes
           Públicos designados durante el Gobierno provisional.

           El quinto capitulo establece los lineamientos para la conformación de un
           Gobierno provisional de unidad nacional. Una vez cesada la usurpación la
           Asamblea Nacional garantizará el cumplimiento pleno del artículo 233 de la
           Constitución Nacional una vez que se concrete la liberación de la autocracia.
           El Presidente del órgano legislativo “ejercerá durante treinta (30) días
           continuos como Presidente encargado de la República a efectos de conducir
           el proceso que conlleve a la conformación de un Gobierno provisional de
           unidad nacional y a la adopción de medidas que sean necesarias para la
           realización de elecciones presidenciales libres y competitivas” (artículo 25).
           En este apartado se ofrecen los mecanismos que ordenarán el proceso
           político que seguirá al cese de la usurpación.

           Siguiendo el itinerario de transición establecido en el artículo 3, el capítulo
           sexto del Estatuto se refiere a la realización de elecciones libres. Se
           establecen mecanismos para garantizar comicios libres, justos y
           competitivos. También se determina un compromiso claro e inequívoco con
           “el fortalecimiento de las organizaciones con fines políticos, de conformidad
           con los términos establecidos en el artículo 67 de la Constitución” (artículo




                                                                                          4
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 110 of 302 PageID #: 172




           32). Esta precisión responde al reconocimiento de importancia de estas
           instancias para garantizar la participación política y la estabilidad del sistema
           democrático.

           Y para finalizar, en las Disposiciones finales se autoriza la publicación de la
           Ley y se ordenan medios extraordinarios para su promulgación dada la
           imposibilidad de su publicación en Gaceta Oficial.

                                                  V

           El Estatuto que rige la Transición a la democracia para restablecer la
           vigencia de la Constitución de la República Bolivariana de Venezuela expresa
           la vocación democrática y los deseos de libertad del pueblo de Venezuela. Es
           evidencia de su madurez política y con él se propone guiar al país hasta la
           reinauguración del orden constitucional en paz y orden, sentando las bases
           para una democracia estable y duradera.




                                                                                           5
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 111 of 302 PageID #: 173




                                  LA ASAMBLEA NACIONAL
                      DE LA REPUBLICA BOLIVARIANA DE VENEZUELA,
                     con base en los artículos 7 y 333 de la Constitución,
                                          DECRETA
           el siguiente

             ESTATUTO QUE RIGE LA TRANSICIÓN A LA DEMOCRACIA PARA
               RESTABLECER LA VIGENCIA DE LA CONSTITUCIÓN DE LA
                     REPÚBLICA BOLIVARIANA DE VENEZUELA

                                        CAPÍTULO I
                                 DISPOSICIONES GENERALES

                                                                                  Objeto
           Artículo 1. El objeto del presente Estatuto es establecer el marco normativo
           que rige la transición democrática en la República Bolivariana de Venezuela.

                                                                 Transición democrática
           Artículo 2. A efectos del presente Estatuto se entiende por transición el
           itinerario de democratización y reinstitucionalización que incluye las
           siguientes etapas: liberación del régimen autocrático que oprime a
           Venezuela, conformación de un Gobierno provisional de unidad nacional y
           celebración de elecciones libres.

                                                      Fines de la transición democrática
           Artículo 3. Los fines de la transición democrática son el pleno
           restablecimiento del orden constitucional, el rescate de la soberanía popular
           a través de elecciones libres y la reversión de la emergencia humanitaria
           compleja, con el propósito de rescatar el sistema de libertades, garantías
           constitucionales y los derechos humanos.

                                                                      Naturaleza jurídica
           Artículo 4. El presente Estatuto es un acto normativo en ejecución directa e
           inmediata del artículo 333 de la Constitución de la República Bolivariana de
           Venezuela. Los actos dictados por los órganos del Poder Público para
           ejecutar los lineamientos establecidos en este Estatuto también están
           fundamentados en el artículo 333 de la Constitución y son de obligatorio
           acatamiento para todas las autoridades y funcionarios públicos, así como
           para los particulares.

                                                                               Principios
           Artículo 5. Los valores superiores que rigen el presente Estatuto son la
           vida, la libertad, la justicia, la igualdad, la solidaridad, la democracia, la
           responsabilidad social, la supremacía constitucional y, en general, la




                                                                                        6
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 112 of 302 PageID #: 174




           preeminencia de los derechos humanos, la ética y el pluralismo político.

                                                                                Objetivos
           Artículo 6. De conformidad con el artículo 333 de la Constitución, los
           objetivos del presente Estatuto son:
           1. Regular la actuación de las diferentes ramas del Poder Público durante el
              proceso de transición democrática de conformidad con el artículo 187,
              numeral 1 de la Constitución, permitiendo a la Asamblea Nacional iniciar
              el proceso de restablecimiento del orden constitucional y democrático.
           2. Establecer los lineamientos conforme a los cuales la Asamblea Nacional
              tutelará ante la comunidad internacional los derechos del Estado y pueblo
              venezolanos, hasta tanto sea conformado un Gobierno provisional de
              unidad nacional.
           3. Sentar las bases para iniciar el proceso ciudadano de reconciliación
              nacional.
           4. Establecer los lineamientos políticos que guiarán las acciones de la
              Asamblea Nacional para la conformación de un Gobierno de unidad
              nacional que supla la ausencia de Presidente electo hasta tanto se
              celebren elecciones libres y transparentes en el menor tiempo posible.
           5. Definir los criterios de oportunidad y celeridad para designar o ratificar a
              los titulares del Poder Ciudadano, el Poder Electoral y el Tribunal Supremo
              de Justicia, de conformidad con la Constitución y las leyes.
           6. Fijar los lineamientos para garantizar la integración constitucional de la
              Fuerza Armada Nacional en el proceso de transición democrática, de
              conformidad con las directrices del artículo 328 de la Constitución.
           7. Definir las bases para la transición económica en los términos del artículo
              299 de la Constitución y para revertir la emergencia humanitaria
              compleja.
           8. Establecer el marco general para implementar las reformas orientadas a
              rescatar la soberanía popular a través de elecciones libres, competitivas y
              transparentes
           9. Reinsertar plenamente al Estado venezolano en los organismos
              internacionales de protección de derechos humanos dejando sin efecto la
              denuncia de la Carta de la OEA, ratificando de nuevo la Convención
              Americana sobre Derechos Humanos y la jurisdicción contenciosa
              obligatoria de la Corte Interamericana de Derechos Humanos; así como
              ratificar los demás tratados sobre derechos humanos en el sistema
              interamericano y en el sistema de Naciones Unidas.




                                                                                         7
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 113 of 302 PageID #: 175




                                              Aplicación progresiva del presente Estatuto
           Artículo 7. Para el cumplimiento progresivo de los objetivos establecidos en
           el artículo anterior se tomarán en cuenta las tres etapas de la transición
           democrática consagradas en el artículo 2 del presente Estatuto:

           1. La liberación del régimen dictatorial, que ocurrirá con el cese de los
              poderes de facto que ejerce Nicolás Maduro Moros.

           2. La conformación de un Gobierno provisional de unidad nacional que
              asegure restablecer el sistema democrático y convocar elecciones libres.

           3. El restablecimiento del Estado democrático con la celebración de
              elecciones libres, transparentes y competitivas en el menor tiempo
              posible.

                                       CAPÍTULO II
                       De la Usurpación del Poder Ejecutivo Nacional

                                                        Inexistencia de Presidente electo
           Artículo 8. El evento político celebrado el 20 de mayo de 2018 no fue una
           legítima elección presidencial. En consecuencia, no existe Presidente electo
           legitimado para asumir la Presidencia de la República Bolivariana de
           Venezuela para el período 2019-2025.

                                            Usurpación de la Presidencia de la República
           Artículo 9. En virtud de lo establecido en el artículo anterior, el ejercicio de
           la Presidencia de la República Bolivariana de Venezuela por parte de Nicolás
           Maduro Moros o por cualesquiera otros funcionarios o personeros del
           régimen de facto constituye usurpación de autoridad en los términos del
           artículo 138 de la Constitución.

                                         Ineficacia de la autoridad presidencial usurpada
           Artículo 10. La usurpación de la Presidencia de la República Bolivariana de
           Venezuela deriva del ejercicio de ese cargo por quien no es Presidente
           electo ni tiene la cualidad constitucional para ejercerlo. Todos los actos del
           poder usurpado a partir del 10 de enero de 2019 se consideran nulos e
           ineficaces, de conformidad con el artículo 138 de la Constitución de la
           República Bolivariana de Venezuela.

                                   Cese del deber de obediencia a la autoridad usurpada
           Artículo 11. Ningún ciudadano, investido o no de autoridad, obedecerá los
           mandatos de la autoridad usurpada. Los funcionarios públicos que
           contribuyan con la usurpación comprometerán su responsabilidad, tal como




                                                                                          8
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 114 of 302 PageID #: 176




           lo establecen los artículos 25 y 139 de la Constitución. Todo funcionario
           público tiene el deber de observar los artículos 7 y 333 de la Constitución
           para obedecer los mandatos de los Poderes Públicos legítimos en Venezuela,
           especialmente en lo referido a los actos en ejecución del presente Estatuto.

                             Cese de la usurpación y liberación del régimen autocrático
           Artículo 12. El cese de la autoridad usurpada por parte de Nicolás Maduro
           Moros y la conformación de un Gobierno provisional de unidad nacional
           constituyen los elementos concurrentes que configuran la liberación del
           régimen autocrático establecida en el artículo 2 del presente Estatuto.

                                       CAPÍTULO III
                 De la Actuación de la Asamblea Nacional y su Presidente

                                           Vigencia del período de la Asamblea Nacional
           Artículo 13. La Asamblea Nacional, electa mediante voto popular el 6 de
           diciembre de 2015, ejercerá sus funciones constitucionales en el marco de la
           presente Legislatura hasta el 4 de enero de 2021. El 5 de enero de 2021 se
           instalará la nueva Legislatura de la Asamblea Nacional de conformidad con
           el artículo 219 de la Constitución de la República Bolivariana de Venezuela, a
           cuyo efecto se celebrarán elecciones parlamentarias durante el último
           trimestre del año 2020, según lo establecido en las normas constitucionales
           y en las leyes electorales.

                                        Presidente de la AN como Presidente Encargado
                                               de la República Bolivariana de Venezuela
           Artículo 14. El Presidente de la Asamblea Nacional es, de conformidad con
           el artículo 233 de la Constitución, el legítimo Presidente encargado de la
           República Bolivariana de Venezuela. Los actos del Presidente encargado
           serán sometidos al control parlamentario de la Asamblea Nacional de
           conformidad con el artículo 187, numeral 3, de la Constitución.

                              Defensa de los derechos del pueblo y Estado venezolanos
           Artículo 15. La Asamblea Nacional podrá adoptar las decisiones necesarias
           para la defensa de los derechos del Estado venezolano ante la comunidad
           internacional, a los fines de asegurar el resguardo de los activos, bienes e
           intereses del Estado en el extranjero y promover la protección y defensa de
           los derechos humanos del pueblo venezolano, todo ello de conformidad con
           los Tratados, Convenios y Acuerdos Internacionales en vigor.
           En ejercicio de las atribuciones derivadas del artículo 14 de presente
           Estatuto y en el marco del artículo 333 de la Constitución, el Presidente
           encargado de la República Bolivariana de Venezuela ejercerá las siguientes
           competencias sometidas al control autorizatorio de la Asamblea Nacional




                                                                                        9
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 115 of 302 PageID #: 177




           bajo los principios de transparencia y rendición de cuentas:
           a. Designar Juntas Administradoras ad-hoc para asumir la dirección y
              administración de institutos públicos, institutos autónomos, fundaciones
              del Estado, asociaciones o sociedades civiles del Estado, empresas del
              Estado, incluyendo aquellas constituidas en el extranjero, y cualesquiera
              otros entes descentralizados, a los fines de designar a sus
              administradores y en general, adoptar las medidas necesarias para el
              control y protección de sus activos. La decisiones adoptadas por el
              Presidente encargado de la República serán de inmediato cumplimiento y
              tendrán plenos efectos jurídicos.
           b. Mientras se nombra válidamente un Procurador General de la República
              de conformidad con el artículo 249 la Constitución, y en el marco de los
              artículos 15 y 50 de la Ley Orgánica de la Procuraduría General de la
              República, el Presidente encargado de la República podrá designar a
              quien se desempeñe como procurador especial para la defensa y
              representación de los derechos e intereses de la República, de las
              empresas del Estado y de los demás entes descentralizados de la
              Administración Pública en el exterior. Dicho procurador especial tendrá
              capacidad de designar apoderados judiciales, incluso en procesos de
              arbitraje internacional, y ejercerá las atribuciones mencionadas en los
              numerales 7, 8, 9 y 13 del artículo 48 de la Ley Orgánica de la
              Procuraduría General de la República, con las limitaciones derivadas del
              artículo 84 de esa Ley y del presente Estatuto. Tal representación se
              orientará especialmente a asegurar la protección, control y recuperación
              de activos del Estado en el extranjero, así como ejecutar cualquier
              actuación que sea necesaria para salvaguardar los derechos e intereses
              del Estado. El procurador así designado tendrá el poder de ejecutar
              cualquier actuación y ejercer todos los derechos que el Procurador
              General tendría, con respecto a los activos aquí mencionados. A tales
              efectos, deberá cumplir con las mismas condiciones que la Ley exige
              para ocupar el cargo de Procurador General de la República.

                                                     Actuación de la Asamblea Nacional
           Artículo 16. En virtud de lo establecido en el artículo anterior,
           corresponderá a la Asamblea Nacional:
           1. Autorizar las designaciones de los jefes de misiones diplomáticas
              permanentes realizadas por el Presidente encargado, de conformidad
              con el artículo 236, numeral 15, de la Constitución.
           2. Defender, en el marco de las competencias de control establecidas en la
              Constitución nacional, los activos de la República Bolivariana de
              Venezuela y de sus entes en el extranjero.




                                                                                     10
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 116 of 302 PageID #: 178




           3. Participar en la investigación de las graves violaciones a derechos
              humanos, la investigación de las actividades ilícitas relacionadas con
              corrupción y lavado de dinero a los fines de asegurar la recuperación de
              los capitales derivados de tales actividades ilícitas.
           4. Promover la implementación de los mecanismos de cooperación
              internacional para atender la emergencia humanitaria y la crisis de
              refugiados y migrantes, de conformidad con el Derecho Internacional
              Humanitario y el artículo 23 de la Constitución de la República
              Bolivariana de Venezuela.
           5. Adoptar medidas que permitan el rescate de la soberanía estatal en todo
              el territorio de la República Bolivariana de Venezuela.
           6. Articular acciones con la sociedad civil para promover mecanismos de
              participación ciudadana que legitimen el proceso de transición
              democrática y favorezcan la cesación de la usurpación de los poderes
              presidenciales por parte de Nicolás Maduro Moros.
           7. Las demás atribuciones que la Asamblea Nacional asuma de conformidad
              con el artículo 333 de la Constitución, las leyes de la República y el
              presente Estatuto, con los límites derivados de los Tratados y demás
              instrumentos internacionales de derechos humanos en vigor.

                                                      Reinserción del Estado venezolano
                                                    en el concierto de las naciones libres
           Artículo 17. En ejercicio de las atribuciones previstas en este Capítulo, la
           actuación de la Asamblea Nacional se orientarán a reinsertar a la mayor
           brevedad al Estado venezolano en el concierto de las Naciones libres, de
           conformidad con lo dispuesto en la Carta de la Organización de Estados
           Americanos, la Carta Democrática Interamericana, la Carta de las Naciones
           Unidas y los demás instrumentos internacionales, en especial, los relativos a
           derechos humanos en el sistema interamericano y el sistema universal.

                                                  Lineamientos para la transición política
           Artículo 18. La Asamblea Nacional dictará Leyes que promuevan la
           transición política de conformidad con el artículo 333 de la Constitución.
           Tales Leyes atenderán a los siguientes objetivos:
           1. Crear los incentivos jurídicos y garantías para que los funcionarios civiles
              y militares actúen apegados a la Constitución y no obedezcan las
              órdenes de quien usurpa la Presidencia de la República desde el 10 de
              enero de 2019, así como de los demás órganos integrados
              inconstitucionalmente como el Tribunal Supremo de Justicia, el Consejo
              Nacional Electoral, el Ministerio Público, la Defensoría del Pueblo y la
              Contraloría General de la República, de manera que colaboren y
              participen en el proceso de transición y de restablecimiento del orden




                                                                                        11
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 117 of 302 PageID #: 179




              constitucional.
           2. Desarrollar el sistema de justicia transicional, orientado a rescatar la
              dignidad humana, la justicia, la protección y reparación integral de las
              víctimas de violaciones de derechos humanos, incluyendo las medidas
              para establecer la verdad y promover la reconciliación nacional     , de
              acuerdo con lo dispuesto en los tratados vigentes de derechos humanos
              y en el artículo 30 de la Constitución . Una vez cesada la usurpación la
              Asamblea Nacional creará mediante ley        una Comisión de la Verdad
              independiente, encargada de investigar las violaciones a los derechos
              humanos, proponer los lineamientos políticos y legislativos para la
              reparación de las víctimas y promover la educación democrática, la
              cultura de la paz y la reconciliación nacional.
           3. Decretar las amnistías para aquellos ciudadanos, civiles y militares, que
              se mantienen privados de libertad por razones políticas, así como
              otorgar garantías de reinserción democrática a las personas que
              coadyuven al restablecimiento del orden constitucional, todo de
              conformidad con los artículos 23, 29 y 187, numeral 5, de la Constitución
              y los estándares del Derecho Internacional de los Derechos Humanos.
           4. Definir las políticas orientadas al efectivo cumplimiento del artículo 328
              de la Constitución y a la integración constitucional de la Fuerza Armada
              Nacional en el proceso de transición democrática.

                                             Lineamientos para la transición económica
           Artículo 19. La Asamblea Nacional dictará Leyes para atender la
           emergencia humanitaria y promover el rescate de la economía venezolana,
           de conformidad con el artículo 299 de la Constitución.
                                          CAPÍTULO IV
           De la reinstitucionalización de los órganos del Poder Ciudadano, del
              Tribunal Supremo de Justicia y del Consejo Nacional Electoral

                                                 Competencias de la Asamblea Nacional
                                                     para renovar los Poderes Públicos
           Artículo 20. Corresponde a la Asamblea Nacional determinar la oportunidad
           para efectuar total o parcialmente los trámites necesarios que, en el marco
           del artículo 333 de la Constitución, permitan modificar lapsos y requisitos
           legales con el objeto de recuperar la legitimidad de los Poderes Públicos.
           Todos los ciudadanos y funcionarios públicos tienen el deber de colaborar
           con dichos trámites.
           La Asamblea Nacional procederá a designar o ratificar a los titulares de los
           Poderes Públicos: Poder Ciudadano, Rectores del Consejo Nacional Electoral
           y Magistrados del Tribunal Supremo de Justicia.




                                                                                      12
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 118 of 302 PageID #: 180




                                                      Legitimación del Poder Ciudadano
           Artículo 21. La Asamblea Nacional establecerá la oportunidad para iniciar el
           procedimiento de designación o ratificación de los titulares de los órganos
           del Poder Ciudadano.
           Ante la imposibilidad de funcionamiento constitucional y democrático del
           Consejo Moral Republicano, y ante la imposibilidad fáctica de convocatoria
           del Comité de Evaluación de Postulaciones del Poder Ciudadano mientras
           persista la usurpación de Nicolás Maduro Moros, la Asamblea Nacional, el
           aplicación del artículo 333 de la Constitución, establecerá los mecanismos
           para que la ciudadanía organizada a través de academias, universidades y
           organizaciones no gubernamentales postule de manera pública las ternas de
           candidatos para ser designados como titulares de los órganos del Poder
           Ciudadano, de modo que se cumplan los extremos establecidos por el
           artículo 279 de la Constitución.

                                          Legitimación del Tribunal Supremo de Justicia
           Artículo 22. A los fines del presente Estatuto se reputan como Magistrados
           legítimos los designados por esta Asamblea Nacional de conformidad con la
           Constitución y con la Ley Orgánica del Tribunal Supremo de Justicia, en
           sesión de fecha 21 de julio de 2017.
           La Asamblea Nacional efectuará el trámite de designación o ratificación del
           resto de los Magistrados del Tribunal Supremo de Justicia que hayan sido
           designados en legislaturas anteriores a la Legislatura 2016-2021.
           Una vez designados todos los Magistrados y provistas todas las
           magistraturas vacantes, los mismos deberán incorporarse al máximo órgano
           jurisdiccional de la República Bolivariana de Venezuela de acuerdo con lo
           establecido en la Ley Orgánica del Tribunal Supremo de Justicia.

                             Legitimación de los Rectores del Consejo Nacional Electoral
           Artículo 23. La Asamblea Nacional ejercerá sus competencias establecidas
           en el artículo 295 de la Constitución y en la Ley Orgánica del Poder Electoral
           para la designación o ratificación de los Rectores del Consejo Nacional
           Electoral.
           La designación de los Rectores del Consejo Nacional Electoral será materia
           prioritaria para la Asamblea Nacional. El Comité de Postulaciones Electorales
           ejercerá sus competencias con la mayor celeridad posible, de modo que la
           renovación del Consejo Nacional Electoral favorezca la realización de
           elecciones libres y competitivas sin dilaciones indebidas que, una vez cesada
           la usurpación y conformado el Gobierno provisional de unidad nacional,
           permitan la consolidación de la democracia.




                                                                                       13
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 119 of 302 PageID #: 181




                               Período transitorio de los Poderes Públicos relegitimados
           Artículo 24. Los Poderes Públicos legitimados por la Asamblea Nacional de
           conformidad con este Estatuto ejercerán sus funciones hasta el primer
           semestre del año 2021. La Asamblea Nacional electa el último trimestre del
           año 2020 en los términos del artículo 13 del presente Estatuto designará o
           ratificará titulares de los órganos del Poder Ciudadano, Magistrados del
           Tribunal Supremo de Justicia y Rectores del Consejo Nacional Electoral, los
           cuales ejercerán períodos constitucionales completos en los términos
           establecidos en la Constitución de la República Bolivariana de Venezuela.

                                      CAPÍTULO V
                      De la conformación de un Gobierno Provisional
                                   de Unidad Nacional

                        Continuación de la aplicación del artículo 233 de la Constitución
           Artículo 25. Una vez cesada la usurpación de la Presidencia de la República
           Bolivariana de Venezuela por parte de Nicolás Maduro Moros y demás
           personeros del régimen de facto, la Asamblea Nacional velará por la
           continuación de la aplicación del artículo 233 de la Constitución. El
           Presidente de la Asamblea Nacional ejercerá durante treinta (30) días
           continuos como Presidente encargado de la República a efectos de conducir
           el proceso que conlleve a la conformación de un Gobierno provisional de
           unidad nacional y a la adopción de medidas que sean necesarias para la
           realización de elecciones presidenciales libres y competitivas.

                                           Designación de un Presidente temporal para
                                                 conformar de un Gobierno provisional
           Artículo 26. Verificados los dos supuestos del artículo anterior, y en caso
           de imposibilidad técnica para convocar y realizar elecciones libres y
           competitivas dentro de los treinta (30) días continuos establecidos en el
           artículo 233 de la Constitución, la Asamblea Nacional podrá ratificar al
           Presidente encargado como Presidente provisional de la República
           Bolivariana de Venezuela a los fines de conformar un Gobierno de unidad
           nacional que dará inicio a la segunda etapa de la transición democrática,
           según lo establecido en el artículo 2 del presente Estatuto, en el marco del
           artículo 333 constitucional.
           Al amparo del artículo 333 de la Constitución, el mandato de dicho Gobierno
           provisional culminará con la juramentación ante la Asamblea Nacional del
           nuevo Presidente electo en las elecciones libres y competitivas que a tal
           efecto sean convocadas y organizadas por el Poder Electoral bajo todas las
           garantías establecidas por los estándares nacionales e internacionales de
           transparencia comicial, dándose lugar a la culminación del período
           presidencial 2019-2025, tal como lo establece el artículo 233 de la




                                                                                       14
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 120 of 302 PageID #: 182




           Constitución. A todo evento, las elecciones presidenciales deberán realizarse
           en el menor tiempo posible, tan pronto como las condiciones técnicas lo
           permitan dentro de un plazo máximo de doce (12) meses.

                              Reglas de gobernabilidad y programa mínimo de Gobierno
           Artículo 27. La Asamblea Nacional, previa consulta con la sociedad civil y
           con las organizaciones con fines políticos, aprobará mediante acuerdo
           parlamentario las reglas de gobernabilidad y las directrices del programa
           mínimo que, dentro de los principios de la economía social de mercado,
           ejecutará el Gobierno provisional. A tal efecto se tendrán en consideración
           los lineamientos para la transición política y los lineamientos para la
           transición económica derivados de lo establecidos en los artículos 17 y 18
           del presente Estatuto. El mencionado programa mínimo respetará los
           principios del régimen socioeconómico y de la función del Estado en la
           economía que están establecidos en el artículo 299 de la Constitución.

                                                               Cooperación internacional
           Artículo 28. El Gobierno provisional de unidad nacional tramitará la
           cooperación financiera internacional de organismos multilaterales y países
           del mundo libre a los fines de iniciar el proceso de transición económica y de
           proseguir la reversión de la emergencia humanitaria. También solicitará la
           presencia permanente de organismos internacionales especializados en la
           garantía y defensa de los derechos humanos a los fines de acompañar el
           proceso de transición democrática e informar a la comunidad internacional
           de la situación de dichos derechos en Venezuela.

                          Rescate de la soberanía estatal en el territorio de la República
           Artículo 29. El Gobierno provisional podrá solicitar la ayuda de la
           comunidad internacional a los fines de restablecer la soberanía estatal en el
           territorio de la República, previa autorización de la Asamblea Nacional de
           conformidad con las competencias establecidas en el artículo 187 de la
           Constitución.
                                          CAPÍTULO VI
                                        De las Elecciones

                                                         Celebración de elecciones libres
           Artículo 30. La Asamblea Nacional adoptará, en el marco de la aplicación
           de los artículo 233 y 333 de la Constitución, las medidas que rescaten las
           condiciones de integridad electoral y permitan la realización de una elección
           presidencial correspondiente al término del período presidencial 2019-2025.

                                              Restablecimiento de los derechos políticos
           Artículo 31. La Asamblea Nacional, una vez renovados los demás Poderes




                                                                                        15
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 121 of 302 PageID #: 183




           Públicos, adoptará medidas que aseguren el ejercicio efectivo de los
           derechos a la libre postulación a cargos de elección popular y al sufragio, de
           conformidad con lo dispuesto en la Constitución y en los estándares
           internacionales de integridad electoral.

                                Fortalecimiento de las organizaciones con fines políticos
           Artículo 32. La Asamblea Nacional y los demás Poderes Públicos
           legitimados adoptarán medidas para el fortalecimiento de las organizaciones
           con fines políticos, de conformidad con los términos establecidos en el
           artículo 67 de la Constitución.
                                              VII
                              Disposiciones Transitorias y Finales

                           Actos parlamentarios para la ejecución del presente Estatuto
           Artículo 33. La Asamblea Nacional adoptará todas las decisiones, Acuerdos
           y Leyes necesarios para la implementación del presente Estatuto, a los fines
           de permitir el restablecimiento efectivo de la Constitución y el cese de la
           usurpación de la Presidencia de la República. Hasta tanto se cumplan estos
           objetivos, aplicarán de manera preferente las disposiciones del presente
           Estatuto y las demás decisiones adoptadas en el marco de los artículos 233
           y 333 de la Constitución.

                                             Régimen transitorio de PDVSA y sus filiales
           Artículo 34. Ante los riesgos en que se hallan PDVSA y sus filiales como
           resultado de la usurpación referida en el Capítulo II del presente Estatuto, y
           mientras persiste tal situación, el Presidente encargado de la República, bajo
           el control autorizatorio de la Asamblea Nacional y en el marco de la
           aplicación del artículo 333 de la Constitución, designará la Junta de
           Administración ad-hoc de Petróleos de Venezuela S.A. (PDVSA) de
           conformidad con el artículo 15, literal a, de este Estatuto, para que ejerza
           los derechos que corresponden a PDVSA como accionista de PDV Holding,
           Inc. Esta atribución se ejercerá de conformidad con los siguientes principios:
           1. La Junta de Administración ad-hoc podrá estar compuesta por personas
              domiciliadas en el exterior y tendrá las atribuciones correspondientes a
              la asamblea de accionista y a la junta directiva de PDVSA, a los fines de
              realizar todas las actuaciones necesarias para designar la junta directiva
              de PDV Holding, Inc., en representación de PDVSA como accionista de
              esa sociedad. Los nuevos directores de PDV Holding, Inc., procederán a
              realizar todas las actuaciones necesarias a los fines de designar a las
              nuevas juntas directivas de las filiales de esa empresa, incluyendo a
              Citgo Petroleum Corporation.
           2. La presente disposición transitoria prevalecerá sobre cualesquiera otras
              normas aplicables y orientará la interpretación de cualesquiera otras




                                                                                       16
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 122 of 302 PageID #: 184




              formalidades requeridas en el ordenamiento jurídico venezolano y en
              documentos corporativos, a los fines de ejercer la representación de
              PDVSA como accionista de PDV Holding, Inc.
           3. Los nuevos directores de PDV Holding, Inc. y sus filiales garantizarán la
              autonomía funcional de esas empresas y en particular de PDVSA. En
              consecuencia de lo anterior:
              a) La gestión autónoma del giro comercial de PDV Holding, Inc. y sus
                 filiales responderá a criterios de eficiencia comercial, dejando a salvo
                 los mecanismos de control y rendición de cuenta que ejerza la
                 Asamblea Nacional en el marco de sus atribuciones, y los demás
                 mecanismos de control aplicables.
              b) PDV Holding, Inc. y sus filiales no tendrán relación alguna con
                 quienes hoy usurpan la Presidencia de la República. Mientras persiste
                 tal situación de usurpación, PDV Holding, Inc. y sus filiales no
                 realizarán ningún pago o aporte patrimonial a PDVSA.

                                                        Publicidad del presente Estatuto
           Artículo 35. La Asamblea Nacional comunicará a la mayor brevedad el
           contenido del presente Estatuto a la Nación venezolana, así como a la
           comunidad internacional, incluidos los Gobiernos extranjeros, el Secretario
           General de la Organización de Naciones Unidas (ONU), el Secretario General
           de la OEA, la Alta Comisionada para los Derechos Humanos de la ONU, la
           Comisión Interamericana de Derechos Humanos, la Unión Europea, la Unión
           Africana, la Organización de Países Exportadores de Petróleo, el Banco
           Mundial, el Fondo Monetario Internacional, el Banco Interamericano de
           Desarrollo y la Corporación Andina de Fomento-Banco de Desarrollo de
           América Latina, entre otros.

                                  Disposición y administración de los activos del Estado
           Artículo 36. Los activos del Estado que hayan sido recuperados a través de
           los mecanismos establecidos en el presente Estatuto no podrán ser
           dispuestos o ejecutados hasta tanto cese la usurpación y se haya
           conformado un Gobierno provisional de unidad nacional. A estos efectos, y
           en virtud de la situación de reconducción presupuestaria continuada en la
           que se encuentra la República desde el año 2016, laAsamblea Nacional
           podrá dictar una ley especial en materia financiera y presupuestaria, de
           conformidad con el artículo 187, numerales 6, 7 y 8 de la Constitución.

                                                                    Entrada en vigencia
           Artículo 37. Este Estatuto entrará en vigencia luego de ser aprobado por
           los diputados de la Asamblea Nacional, de conformidad con las normas
           constitucionales para el procedimiento legislativo y de acuerdo con el




                                                                                       17
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 123 of 302 PageID #: 185




           Reglamento Interior y de Debates de la Asamblea Nacional.

                                                               Medios extraordinarios
                                                de promulgación del presente Estatuto
           Artículo 38. En virtud de la imposibilidad de acceder a la Gaceta Oficial
           debido al régimen de facto y a la usurpación que imperan en Venezuela, el
           presente Estatuto y las decisiones que se implementen serán publicados en
           los medios de divulgación que a tales efectos determine la Asamblea
           Nacional.
           A estos efectos, y mientras persiste la situación señalada en este artículo,
           las Leyes y Acuerdos dictados por la Asamblea Nacional, así como las
           decisiones dictadas por el Presidente encargado de la República, serán
           publicadas en la Gaceta Legislativa, de conformidad a lo dispuesto en el
           Reglamento Interior y de Debates. Las Leyes, Acuerdos y demás decisiones
           entrarán en vigencia a su publicación en la Gaceta Legislativa, incluso en
           formato digital. La Ley de Publicaciones Oficiales aplicará de manera
           supletoria.

                                                                       Cláusula residual
           Artículo 39. A los fines de asegurar la transición democrática, todo lo no
           previsto en el presente Estatuto será resuelto por la Asamblea Nacional en
           aplicación del artículo 333 de la Constitución.

           Dado, firmado y sellado en el Palacio Federal Legislativo, sede de la
           Asamblea Nacional de la República Bolivariana de Venezuela, en Caracas, a
           los cinco días del mes de febrero de dos mil diecinueve. Años 209° de la
           Independencia y 159° de la Federación.




                                                                                      18
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 124 of 302 PageID #: 186




                       EXHIBIT 26
   Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 125 of 302 PageID #: 187


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M7N9B:R9:Aÿ7N9BÿKACÿB9R7N<Hÿ7SÿC<:5AK7:Cÿ7:ÿQT9LKC8ÿB9U:9BÿV1:<CÿW0ÿ<SA9BÿF9:9G49H<ICÿCA<A9E
B4:ÿ7KHÿ57RJ<:1XÿY9AB7H97CÿL9ÿF9:9G49H<XÿC7HLÿR7CAÿ7SÿKACÿCA<Z9ÿK:ÿA89ÿUBRXÿA8B99ÿJ97JH9ÿTKA8
Z:7TH9LM9ÿ7SÿA89ÿR<AA9BÿC<KLP
V1:<CÿC<KLÿ7:ÿ[49CL<1ÿA8<AÿY\FQWÿT<Cÿ:7ÿH7:M9BÿKACÿR<]7BKA1ÿ7T:9Bÿ<SA9BÿC9HHK:Mÿ<ÿ>^_ÿCA<Z9
K:ÿA89ÿ57RJ<:1ÿA7ÿ<ÿQT9LKC8ÿS74:L<AK7:PÿV1:<CÿLKLÿ:7AÿLKC5H7C9ÿA89ÿA9BRCÿ7SÿA89ÿC<H9P
[89ÿAB<:C<5AK7:ÿJ<N9LÿA89ÿT<1ÿS7BÿA89ÿOPQPÿ[B9<C4B1ÿ\9J<BAR9:AXÿT8K58ÿC<:5AK7:9LÿY\FQWÿK:
`a=bÿ<CÿJ<BAÿ7SÿKACÿJH<:ÿA7ÿ74CAÿF9:9G49H<:ÿYB9CKL9:AÿVK57H<Cÿ;<L4B7XÿA7ÿ4:cH75ZÿV1:<CXÿT8K58
KCÿ:7TÿdbPbb_E7T:9Lÿc1ÿeK::KC8ÿcK7S49HÿJB7L459Bÿ<:Lÿ7KHÿB9U:9BÿV9CA9Xÿ=^_E7T:9Lÿc1ÿY\FQW
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[89ÿV<AK7:<HÿWCC9RcH1ICÿ9:9BM1ÿ57RRKAA99ÿ<MB99Lÿ7:ÿf9L:9CL<1ÿA7ÿJB9J<B9ÿ<ÿB9C7H4AK7:
L95H<BK:MÿA89ÿL9<Hÿ:4HHXÿ<CÿKAÿT<Cÿ:7Aÿ<JJB7N9Lÿc1ÿ57:MB9CCÿ<:LÿT<Cÿ:9M7AK<A9Lÿc1
B9JB9C9:A<AKN9Cÿ7Sÿ;<L4B7XÿT87ÿKCÿ57:CKL9B9Lÿ<ÿ4C4BJ9Bÿc1ÿA89ÿ7JJ7CKAK7:ÿ<:LÿL7G9:Cÿ7S
574:ABK9CXÿC<KLÿ57RRKAA99ÿ68<KBR<:ÿgHK<Cÿ;<AA<P
hf9ÿT<:AÿA7ÿ<H9BAÿ<HHÿ:<AK7:Cÿ<:LÿR<Z9ÿ5H9<BÿK:ÿA89ÿ<MB99R9:AÿA8<AÿT9ÿJB9C9:AÿA8<Aÿ:7ÿL9<H
CAB45ZÿTKA8ÿA89ÿ54BB9:AÿB9MKR9ÿTKHHÿc9ÿ<JJB7N9Lÿc1ÿ4CXiÿ;<AA<ÿC<KLÿK:ÿ<ÿA9H9J87:9ÿK:A9BNK9TP
  Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 126 of 302 PageID #: 188
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 Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 127 of 302 PageID #: 189
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 128 of 302 PageID #: 190




                       EXHIBIT 27
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 129 of 302 PageID #: 191
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 2Page
                                                                 of 581PageID
                                                                       of 57 #: 465
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 130 of 302 PageID #: 192
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 3Page
                                                                 of 582PageID
                                                                       of 57 #: 466




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 131 of 302 PageID #: 193
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 4Page
                                                                 of 583PageID
                                                                       of 57 #: 467
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 132 of 302 PageID #: 194
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
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                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 5Page
                                                                 of 584PageID
                                                                       of 57 #: 468




   Alfred Dunhill of London, Inc. v. Republic of Cuba


   Allied Bank International v. Banco Credito Agricola de Cartago


   Animal Sci. Prods., Inc. v. Hebei Welcome Pharm. Co.


   Argo Fund Ltd. v. Bd. of Dirs. of Telecom Arg., S.A. (In re Bd. of Dirs. of Telecom
      Arg., S.A.)


   Banco de Espana v. Fed. Reserve Bank of New York


   Banco Nacional de Cuba v. Sabbatino


   Estate of Leventhal ex rel. Bernstein v. Wells Fargo Bank, N.A.


   Braka v. Bancomer, S.N.C.


   Briarpatch Ltd., L.P. v. Phoenix. Pictures, Inc.


   Carmine v. Murphy


   City of Zanesville, Ohio v. Mohawk Data Scis. Corp.


   Cohen v. Krantz


   Cornea v. U.S. Attorney Gen.


   Defendants’ Answers and Counterclaims
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 133 of 302 PageID #: 195
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 6Page
                                                                 of 585PageID
                                                                       of 57 #: 469




   DoubleLine Capital LP v. Odebrecht Fin., Ltd.


   Draper v. Georgia Prop
                                                    aff’d

   Fabrizio & Martin, Inc. v. Bd. of Educ


   Faison v. Lewis


   Fed. Treasury Enter. Sojuzplodoimport v. Spirits Int’l B.V.


   First Nat. City Bank v. Banco Nacional de Cuba


   Hall & Co. v. Continental Cas. Co.
                                          aff’d

   Hausler v. JP Morgan Chase Bank, N.A.


   Highland Capital Mgmt. LP v. Schneider


   Impact Fluid Solutions et al v. Bariven S.A. et al


   Jimenez v. Palacios
                                                                         passim

   Kashef v. BNP Paribas S.A.


   Konowaloff v. Metro. Museum of Art


   Levison v. Illinois Surety Co.


   M+J Savitt, Inc. v. Savitt
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 134 of 302 PageID #: 196
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 7Page
                                                                 of 586PageID
                                                                       of 57 #: 470




   Michael R. Gianatasio, PE, P.C. v. City of New York
                                              aff’d sub nom.


   NML Capital, Ltd. v. Republic of Arg.


   Oetjen v. Central Leather Co.


   PDVSA U.S. Litig. Tr. v. Lukoil Pan Americas LLC


   PDVSA U.S. Litig. Tr. v. Lukoil Pan Americas LLC
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   PDVSA U.S. Litig. Tr. v. Lukoil Pan Americas LLC


   In re Republic Airways Holdings Inc.


   Republic of Benin v. Mezei


   Republic of Panama v. Air Panama Int’l, S.A.


   Roberts v. Criss


   Robertshaw v. Pudles


   Saratoga Cty Chamber of Commerce v. Pataki


   Sardanis v. Sumitomo Corp.


   Stone v. Freeman


   Strauss Linotyping Co. v. Schwalbe
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 135 of 302 PageID #: 197
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 8Page
                                                                 of 587PageID
                                                                       of 57 #: 471




   Tasini v. AOL, Inc.
                                      aff’d

   Themis Capital, LLC v. Democratic Republic of Congo


   U.S. v. Maikel Jose Moreno Perez


   Underhill v. Hernandez


   United States v. Belmont


   United States v. Pink


   W.S. Kirkpatrick & Co. v. Env’l Tectonics Corp


   Worthington v. JetSmarter, Inc.



   In re Zarro
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 136 of 302 PageID #: 198
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 9Page
                                                                 of 588PageID
                                                                       of 57 #: 472




                          The effects of constitutional sentences in Venezuela in


                         The Principle of Separation of Powers and Authoritarian
      Government in Venezuela in




                        Statute to Govern a Transition to Democracy to Reestablish
      the Validity of the Constitution of the Republic of Venezuela




               Venezuela’s PdVSA to Offer to Swap $7 Billion in Debt


   Debt Issue Under New Decree Will be Void


   Default. Few People Seem to Understand Why

                  U.S. recognizes Venezuela opposition leader Juan Guaidó as
      president; Russia backs Maduro

                     Freddy Guevara: Government has proven negligent and
      destructive of the economy El Cooperante
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 137 of 302 PageID #: 199
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                          Document
                                 Document
                                   27-16 Filed
                                          117 02/19/21
                                               Filed 06/15/20
                                                         Page 10
                                                               Page
                                                                 of 58
                                                                     9 of
                                                                       PageID
                                                                          57 #: 473




   Letter Dated June 9, 2020 to the Honorable Katherine Polk Failla, United States
       District Court Judge, from Carlos Vecchio, Ambassador of the Bolivarian
       Republic of Venezuela to the United States

   PDVSA Announces Expiration and Final Results for its Offers to Exchange its
     Outstanding 5.250% Senior Notes due 2017 and 8.50% Senior Notes due
     2017 for New 8.50% Senior Secured Notes due 2020




                                             Defending Democracy in Venezuela


   Third Quarter Assets Under Management Statement




                            U.S. Sanctions on Venezuelan Individuals and Entities



                                                                                     passim

                                                                                     passim


                                                                                     passim
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 138 of 302 PageID #: 200
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 11
                                                               Page
                                                                  of 58
                                                                     10PageID
                                                                        of 57 #: 474




                    Venezuela Refuses to Default. Few People Seem to Understand Why
         See also
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 139 of 302 PageID #: 201
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 12
                                                               Page
                                                                  of 58
                                                                     11PageID
                                                                        of 57 #: 475




    national public interest

    without the approval of the National Assembly



                                                      ab initio
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 140 of 302 PageID #: 202
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 13
                                                               Page
                                                                  of 58
                                                                     12PageID
                                                                        of 57 #: 476




              ab initio                           as they never came into valid legal existence




                Worthington v. JetSmarter, Inc.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 141 of 302 PageID #: 203
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 14
                                                               Page
                                                                  of 58
                                                                     13PageID
                                                                        of 57 #: 477




                          conclusive

                                                                                         Plaintiffs’




    See                               PDVSA U.S. Litig. Tr. v. Lukoil Pan Americas LLC

    PDVSA U.S. Litig. Tr. v. Lukoil Pan Americas LLC
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 142 of 302 PageID #: 204
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 15
                                                               Page
                                                                  of 58
                                                                     14PageID
                                                                        of 57 #: 478




   ad-hoc




    Id
    Id
     Id
                          Statute to Govern a Transition to Democracy to Reestablish the Validity of the Constitution
   of the Republic of Venezuela
     Jimenez v. Palacios

    See Jimenez
                                                                                           Impact Fluid Solutions et al
   v. Bariven S.A. et al
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 143 of 302 PageID #: 205
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 16
                                                               Page
                                                                  of 58
                                                                     15PageID
                                                                        of 57 #: 479




    See
    Defendants’ Answers and Counterclaims

    Id
    Id
    See id             Complaint for Declaratory and Injunctive Relief


                                                                                   See Third Quarter Assets
   Under Management Statement                                       available at




                                                                  See Form ADV
         Annual Report 2019            available at


    Id
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 144 of 302 PageID #: 206
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 17
                                                               Page
                                                                  of 58
                                                                     16PageID
                                                                        of 57 #: 480




    Id
    PDVSA Announces Expiration and Final Results for its Offers to Exchange its Outstanding 5.250% Senior Notes
   due 2017 and 8.50% Senior Notes due 2017 for New 8.50% Senior Secured Notes due 2020
             available at




    Id
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 145 of 302 PageID #: 207
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 18
                                                               Page
                                                                  of 58
                                                                     17PageID
                                                                        of 57 #: 481




                                                  more


    Id
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 146 of 302 PageID #: 208
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 19
                                                               Page
                                                                  of 58
                                                                     18PageID
                                                                        of 57 #: 482




                                                                 [n]o contract in the . . . national

   public interest shall be entered into with . . . companies not domiciled in Venezuela . . . without




    Id
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 147 of 302 PageID #: 209
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 20
                                                               Page
                                                                  of 58
                                                                     19PageID
                                                                        of 57 #: 483




   the approval of the National Assembly.




                                                                                    inter alia




                                                                                inter alia




                                     inter alia




                                                                                inter alia



    Resolution on the Respect of the Inherent and Nontransferable Powers of the National Assembly on Contracts of
   Public Interest Signed by and between the National Executive and Foreign States or Official Entities or with
   Companies Not Domiciled in Venezuela
    Resolutions on the Current Financial Situation of Petróleos de Venezuela S.A.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 148 of 302 PageID #: 210
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 21
                                                               Page
                                                                  of 58
                                                                     20PageID
                                                                        of 57 #: 484




          To reject categorically that, within the swap transaction, 50.1% of the shares
          comprising the capital stock of CITGO Holding, Inc. are offered as a guarantee
          with priority, or that a guarantee is constituted over any other property of the
          Nation . . . [and]




                                     [h]ere for the first time collateral is being put up, in the

   issuance of a PDVSA corporate bond, 50.1% of the shares of Citgo, that is questioned by the

   Venezuelan legal order




                    Regular Session of Tuesday, September 27, 2016. Discussions on the effects of PDVSA Bond
   Redemption
    Id
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 149 of 302 PageID #: 211
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 22
                                                               Page
                                                                  of 58
                                                                     21PageID
                                                                        of 57 #: 485




                                    inter alia




                               it was concluded that the 2020 Bond indenture is a national
           public contract that should have been authorized by the National Assembly, in
           accordance with Article 150 of the Constitution

                                                                       inter alia

                         the 2020 Bond indenture violated Article 150 of the Constitution
           of the Bolivarian Republic of Venezuela, since it concerned a national interest
           public contract, executed with foreign companies, which was not authorized by
           the National Assembly




    Resolutions that Reiterates the Invalidity of PDVSA’s 2020 Bonds

    See
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 150 of 302 PageID #: 212
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 23
                                                               Page
                                                                  of 58
                                                                     22PageID
                                                                        of 57 #: 486




                                   Venezuela’s constitution requires the National Assembly to
           approve any new indebtedness of the republic

                                                     El Nacional
                                                              the decree purportedly
           allowing PDVSA to use CITGO as collateral was unconstitutional         any
           contract [PDVSA] signs is invalid



           legal risks                                                         all [such]
           international transactions . . . would require legislative approval or otherwise risk
           illegality




                                                                                           Freddy

                 Venezuela’s PdVSA to Offer to Swap $7 Billion in Debt
          available at
    Debt Issue Under New Decree Will be Void


                     Nomura

                                                                                      Nomura

                                                               UBS
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 151 of 302 PageID #: 213
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 24
                                                               Page
                                                                  of 58
                                                                     23PageID
                                                                        of 57 #: 487




            Guevara: Government has proven negligent and destructive of the economy

                                will not recognize any public contract that is not considered or
            authorized by the Legislative Branch in accordance with the Constitution



                                                                             legal risks associated with the new
            bond

            concerns about the legality of the issuance


                              the National Assembly has questioned the legitimacy of offering a
            50% participation of CITGO as collateral           the deal could be ‘illegal’ and
            reneged upon by a future opposition government




                      Freddy Guevara: Government has proven negligent and destructive of the economy El
   Cooperante

               Not only do we not recognize these transactions, we will also investigate everyone involved in the sale
   because it would be implying an embezzlement of the Nation Freddy Guevara on PDVSA: We will not recognize
   any bond swap that has not been authorized by the NA

                                                                                              Torino Capital LLC




                                              J.P. Morgan
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 152 of 302 PageID #: 214
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 25
                                                               Page
                                                                  of 58
                                                                     24PageID
                                                                        of 57 #: 488




                                                                  The Principle of Separation of Powers and
   Authoritarian Government in Venezuela in

                                                Id


                           Election and Political Power. Challenges for the Opposition in


                                                                                                   La división de
   poderes debilita al estado. La presidenta del TSJ [Luisa Estela Morales] afirma que la Constitución hay que
   reformarla The division of power weakens state,President of TSJ [Luisa Estela Morales] states that the
   Constitution must be reformed
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 153 of 302 PageID #: 215
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 26
                                                               Page
                                                                  of 58
                                                                     25PageID
                                                                        of 57 #: 489




   Transition from Democracy to Tyranny through the Fraudulent Use of Democratic Institutions: The Case of
   Venezuela                  available at

    Id
                        Luis Almagro to Mr. Juan Jose Arcuri
   available at
                         Statute to Govern a Transition to Democracy to Reestablish the Validity of the Constitution of
   the Republic of Venezuela
     See Treasury Sanctions Eight Members of Venezuela’s Supreme Court of Justice
                    available at
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 154 of 302 PageID #: 216
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 27
                                                               Page
                                                                  of 58
                                                                     26PageID
                                                                        of 57 #: 490




    Id
                            U.S. Sanctions on Venezuelan Individuals and Entities
   available at                                                                       U.S. v. Maikel Jose
   Moreno Perez
                  U.S. recognizes Venezuela opposition leader Juan Guaidó as president; Russia backs Maduro


                                                        available at



                                                                               See


          See
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 155 of 302 PageID #: 217
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 28
                                                               Page
                                                                  of 58
                                                                     27PageID
                                                                        of 57 #: 491




                                         Fed. Treasury Enter. Sojuzplodoimport v. Spirits Int’l

   B.V.                                          First Nat. City Bank v. Banco Nacional de

   Cuba,

   Banco Nacional de Cuba v. Sabbatino




                                                                                     Konowaloff v.

   Metro. Museum of Art                                              Ricaud v. American Metal



                                                 Continuing U.S. Diplomatic Presence in Venezuela
           available at
                                     Assumption of Legislative Powers in Venezuela



              available at
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 156 of 302 PageID #: 218
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 29
                                                               Page
                                                                  of 58
                                                                     28PageID
                                                                        of 57 #: 492




   Co.                             see also W.S. Kirkpatrick & Co. v. Env’l Tectonics Corp




                                                                            See Jimenez




                                                                    Impact Fluid Solutions et al v.

   Bariven S.A. et al




      retroactive in effect and validates all the actions and conduct of the government so

   recognized from the commencement of its existence      i.e.

                                                                             Konowaloff

                   Oetjen v. Central Leather Co.,
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 157 of 302 PageID #: 219
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 30
                                                               Page
                                                                  of 58
                                                                     29PageID
                                                                        of 57 #: 493




              see also United States v. Belmont

                                             United States v. Pink,                                       Underhill

   v. Hernandez




                                                            before

                                                                                                            ab

   initio




                                                                           Petróleos de Venezuela, S.A. et al. v.
   MUFG Union Bank, N.A., et. al.

                 See, e.g., Underhill

                                         or resolution                                Kashef v. BNP Paribas S.A.
                                          Alfred Dunhill of London, Inc. v. Republic of Cuba



                          See, e.g , Alfred Dunhill

                                                                                           Banco de Espana v. Fed.
   Reserve Bank of New York
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 158 of 302 PageID #: 220
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 31
                                                               Page
                                                                  of 58
                                                                     30PageID
                                                                        of 57 #: 494




                               PDVSA U.S. Litigation Trust




                                                                    Id            Zivotofsky ex rel. Zivotofsky

   v. Kerry




                                           PDVSA U.S. Litigation. Trust




                  Id          Konowaloff




                                    PDVSA U.S. Litig. Tr.
                                 Resolution to Denounce the Unconstitutionality of the Constitution of the Trust
   ‘PDVSA US Litigation Trust’, by Sociedad Anonima Petroleos de Venezuela,
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 159 of 302 PageID #: 221
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 32
                                                               Page
                                                                  of 58
                                                                     31PageID
                                                                        of 57 #: 495




                                   Allied Bank International v. Banco Credito Agricola de

   Cartago




                  not




                                                             Braka v. Bancomer, S.N.C.




                                     PDVSA U.S. Litig. Tr. v. Lukoil Pan Americas LLC

                were                                                         Allied Bank
                                                                                          i.e.
                               See Allied Bank                see also Hausler v. JP Morgan Chase
   Bank, N.A.


                        e.g.                        See Republic of Panama v. Air Panama Int’l, S.A.

                                                                                            Jimenez
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 160 of 302 PageID #: 222
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 33
                                                               Page
                                                                  of 58
                                                                     32PageID
                                                                        of 57 #: 496




                           Oetjen




                                            PDVSA U.S. Litig. Tr.




               AB INITIO




                                ab initio
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 161 of 302 PageID #: 223
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 34
                                                               Page
                                                                  of 58
                                                                     33PageID
                                                                        of 57 #: 497




                     Worthington                                Schnabel v.

   Trilegiant Corp
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 162 of 302 PageID #: 224
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 35
                                                               Page
                                                                  of 58
                                                                     34PageID
                                                                        of 57 #: 498




                                       [i]f one of the following provisions of [this Act] specifies the

   applicable law, that provision governs and a contrary agreement is effective only to the extent

   permitted by the law [including the conflict of laws rules] so specified




        [t]he local law of the issuer’s jurisdiction . . . governs . . . the validity of a security




         other than validity                        cannot specify
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 163 of 302 PageID #: 225
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 36
                                                               Page
                                                                  of 58
                                                                     35PageID
                                                                        of 57 #: 499




    See


    See id
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 164 of 302 PageID #: 226
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 37
                                                               Page
                                                                  of 58
                                                                     36PageID
                                                                        of 57 #: 500




                  See Themis Capital, LLC v. Democratic Republic of Congo



                                   Republic of Benin v. Mezei




         Anglo– Iberia Under Writing Mgmt. Co. v. PT Jamsostek,

                                        aff’d in relevant part,




                                                   ab initio



             See Hall & Co. v. Continental Cas. Co.                         aff’d




                                  Levison v. Illinois Surety Co.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 165 of 302 PageID #: 227
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 38
                                                               Page
                                                                  of 58
                                                                     37PageID
                                                                        of 57 #: 501




                                     See In re Republic Airways Holdings Inc.




                                                                  see also




                                                     Argo Fund Ltd. v. Bd. of Dirs. of Telecom Arg.,

   S.A. (In re Bd. of Dirs. of Telecom Arg., S.A.)

   Hilton v. Guyot



                   Animal Sci. Prods., Inc. v. Hebei Welcome Pharm. Co.




                                         Pink,




                                                               supra
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 166 of 302 PageID #: 228
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 39
                                                               Page
                                                                  of 58
                                                                     38PageID
                                                                        of 57 #: 502




                                  Pink



                              Animal Sciences                       see also Spirits Int’l




   Cornea v. U.S. Attorney Gen.




                             ab initio




                                                                                        [n]o contract

   in the municipal, state or national public interest shall be entered into . . . with companies not

   domiciled in Venezuela, or transferred to any of the same, without the approval of the
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 167 of 302 PageID #: 229
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 40
                                                               Page
                                                                  of 58
                                                                     39PageID
                                                                        of 57 #: 503




   National Assembly

                                      [t]o authorize contracts of municipal, state and national

   public interest with States or official foreign entities or with companies not domiciled in

   Venezuela

                                                                prior




                                                              centralized
                                             decentralized

                                                                            Id.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 168 of 302 PageID #: 230
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 41
                                                               Page
                                                                  of 58
                                                                     40PageID
                                                                        of 57 #: 504




   before




                                                                    ab initio



    Id
                  Regular Session of Tuesday, September 27, 2016. Discussions on the effects of PDVSA Bond
   Redemption
                                           PDVSA Litigation Trust
                                                                                         conclusive   See
                           PDVSA U.S. Litig. Tr.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 169 of 302 PageID #: 231
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 42
                                                               Page
                                                                  of 58
                                                                     41PageID
                                                                        of 57 #: 505




                are a constitutive element and necessary for the ‘consent;’ consequently, the
           omission of the authorization does not vitiate the consent, but prevents it,
           impeding its legitimate manifestation; and being that consent is an essential
           element of the existence of the act, once it has been omitted, also the act, legally
           speaking, is inexistent




                                                               ab initio




                         PDVSA Litigation Trust




                                                          essence




    Report of the Office of the Attorney General to the National Congress 1959


    Id
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 170 of 302 PageID #: 232
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 43
                                                               Page
                                                                  of 58
                                                                     42PageID
                                                                        of 57 #: 506




         First




         Second




    Id
    Id
    Id


                     Jimenez
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 171 of 302 PageID #: 233
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 44
                                                               Page
                                                                  of 58
                                                                     43PageID
                                                                        of 57 #: 507




   Jimenez       Impact Fluid Sols.




                                                          Jimenez

             see generally Impact Fluid Solutions



                                                       Brigitte Acosta Isasis



          Third

         Andrés Velásquez



                                                       dicta




                                                only




                                                                  Andrés Velásquez

    See supra
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 172 of 302 PageID #: 234
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 45
                                                               Page
                                                                  of 58
                                                                     44PageID
                                                                        of 57 #: 508




                                                         Andrés Velásquez




                                                                                    Andrés Velásquez




                                            Andrés Velásquez




                                      a state corporation [EDELCA] entered into an agreement that the

   Court characterized as one of national interest


     Resolution rejecting the increase to forty percent in the equity stake of the Russian state-owned company Rosneft,
   partner of Petróleos de Venezuela S.A., in the mixed-ownership company Petromonagas, without approval of the
   modifications of the conditions governing the aforementioned resolution by the National Assembly pursuant to the
   constitutional and legal provisions governing the matter




                                                                                               Id



                                Id
                                                                 Id
     See, e.g.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 173 of 302 PageID #: 235
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 46
                                                               Page
                                                                  of 58
                                                                     45PageID
                                                                        of 57 #: 509




   Diques y Astilleros de Nacionales S.A. (DIANCA) Corporación Venezolana de Guayana (CVG)

          Compañía Anónima Venezolana de Televisión (VTV)




           Attorney General of the Republic II




                                Andrés Velásquez




                                                                                     Andrés

   Velásquez




                                        according to Professor Brewer’s own prior105 and




     Id
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 174 of 302 PageID #: 236
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 47
                                                               Page
                                                                  of 58
                                                                     46PageID
                                                                        of 57 #: 510




   subsequent106 writings on the concept of binding interpretation i.e.




                                                               Andres Valezquez                        not




                                                                                                     EDELCA
                         Attorney General of the Republic II


           Diques y Astilleros de Nacionales S.A. (DIANCA Corporación Venezolana de Guayana
           (CVG)      Compañía Anónima Venezolana de Televisión (VTV)


                             The effects of constitutional sentences in Venezuela in

                                     La Mutación de la Noción de Contratos de Interés Público Nacional Hecha Por
   la Sala Constitucional, para Cercenarle a la Asamblea Nacional sus Poderes de Control Político en Relación con la
   Actividad Contractual de la Administración Pública y sus Consecuencias in



     See generally                                 La Mutación de la Noción de Contratos de Interés Público
   Nacional Hecha Por la Sala Constitucional, para Cercenarle a la Asamblea Nacional sus Poderes de Control
   Político en Relación con la Actividad Contractual de la Administración Pública y sus Consecuencias in
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 175 of 302 PageID #: 237
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 48
                                                               Page
                                                                  of 58
                                                                     47PageID
                                                                        of 57 #: 511




           PDVSA Litigation Trust




                                                 no other Venezuelan public law scholar holds the opinion
   expressed by            in this case Id                                    Contracts of National Interest
   in

                  Id
     See                            PDVSA U.S. Litig. Tr.

                                                                  Id
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 176 of 302 PageID #: 238
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 49
                                                               Page
                                                                  of 58
                                                                     48PageID
                                                                        of 57 #: 512




                                                               See Sardanis v. Sumitomo

   Corp.                                     see also Draper v. Georgia Prop

                                  aff’d




                     Roberts v. Criss                               see also Stone v.

   Freeman



                Strauss Linotyping Co. v. Schwalbe
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 177 of 302 PageID #: 239
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 50
                                                               Page
                                                                  of 58
                                                                     49PageID
                                                                        of 57 #: 513




                      See, e.g., Highland Capital Mgmt. LP v. Schneider,




                                 See                                 supra




                                                                             In re Zarro




         See City of Zanesville, Ohio v. Mohawk Data Scis. Corp. ,

         DoubleLine Capital LP v. Odebrecht Fin., Ltd.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 178 of 302 PageID #: 240
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 51
                                                               Page
                                                                  of 58
                                                                     50PageID
                                                                        of 57 #: 514




                                    See Cohen v. Krantz

                                     NML Capital, Ltd. v. Republic of Arg.




                                                                                   Faison v.

   Lewis                           quoting Riverside Syndicate, Inc. v. Munroe



                                                                             Saratoga Cty

   Chamber of Commerce v. Pataki




   Underhill             Oetjen,
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 179 of 302 PageID #: 241
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 52
                                                               Page
                                                                  of 58
                                                                     51PageID
                                                                        of 57 #: 515




                           See, e.g., Carmine v. Murphy

                                                Estate of Leventhal ex rel. Bernstein v. Wells Fargo

   Bank, N.A.




                                                 quantum meruit



   See Fabrizio & Martin, Inc. v. Bd. of Educ

                         quantum meruit                                 Michael R. Gianatasio, PE,

   P.C. v. City of New York                                             aff’d sub nom.

                                                          quantum meruit




                      See Briarpatch Ltd., L.P. v. Phoenix. Pictures, Inc.

                                                            supra
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 180 of 302 PageID #: 242
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 53
                                                               Page
                                                                  of 58
                                                                     52PageID
                                                                        of 57 #: 516




                                                                       more debt




                                                                           See

   M+J Savitt, Inc. v. Savitt




                See
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 181 of 302 PageID #: 243
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 54
                                                               Page
                                                                  of 58
                                                                     53PageID
                                                                        of 57 #: 517




                                    See Tasini v. AOL, Inc.

             aff’d



                                                     Dragon Inv. Co. II LLC v. Shanahan




                                    see also



     See                 see also
             Jefferies




                                                      in pari delicto
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 182 of 302 PageID #: 244
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 55
                                                               Page
                                                                  of 58
                                                                     54PageID
                                                                        of 57 #: 518




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     Id
     Id
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 183 of 302 PageID #: 245
  Case 1:20-mc-00257-LPS
          Case 1:19-cv-10023-KPF
                           Document
                                 Document
                                    27-16 Filed
                                          117 02/19/21
                                                Filed 06/15/20
                                                          Page 56
                                                               Page
                                                                  of 58
                                                                     55PageID
                                                                        of 57 #: 519




                                       /s/ Kurt W. Hansson




                                       Attorneys for Plaintiffs and Counterclaim
                                       Defendants Petróleos de Venezuela, S.A. and
                                       PDVSA Petróleo, S.A.

                                       /s/ Jeffrey B. Korn




                                       Attorneys for Plaintiff and Counterclaim Defendant
                                       PDV Holding, Inc.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 184 of 302 PageID #: 246
  Case 1:20-mc-00257-LPS
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 185 of 302 PageID #: 247
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 186 of 302 PageID #: 248




                       EXHIBIT 28
 Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 187 of 302 PageID #: 249




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                         EXHIBIT 30
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 197 of 302 PageID #: 259




                                           July 1, 2019
  OFFICE OF THE SPECIAL ATTORNEY GENERAL OF THE BOLIVARIAN REPUBLIC OF
                               VENEZUELA
     GUIDELINES FOR THE RENEGOTIATION OF THE CHÁVEZ/MADURO ERA LEGACY
                           PUBLIC EXTERNAL DEBT.
                                                 *
         This memorandum describes the policies that will guide the Interim Government and the
 National Assembly of the Bolivarian Republic of Venezuela led by President Jan Guaidó (the
 “Authorities”) as they approach the imminent renegotiation of foreign currency-denominated
 private claims against the Republic and the Venezuelan public sector (that is, claims asserted by
 private sector parties, not claims of official sector entities). This memorandum has been prepared
 by the advisory commission designated by the Special Attorney General, José Ignacio Hernández
 G., integrated by Ricardo Hausmann and Alejandro Grisanti. Furthermore it benefited from the
 advice of Lee Buchheit, who is the Authorities’ strategic adviser in public debt matters.
                                                **
         This public external debt renegotiation cannot begin until the usurpation by regime of
 Nicolas Maduro has not ended and the economic sanctions imposed on said regime by the United
 States of America and other countries have not been lifted. Consequently, once these events have
 occurred, it shall be the policy of the Authorities to proceed with an orderly and consensual
 renegotiation of legacy private claims as soon as practicable thereafter, in accordance with the
 Special Law to be passed by the National Assembly.
 1.      Comprehensive Private Claims Renegotiation

         The Authorities anticipate that this will be a comprehensive renegotiation of claims
 against the Venezuelan State, including all the foreign currency-denominated claims against the
 Venezuelan public sector. A significant number of the outstanding claims against the Venezuelan
 public sector did not arise in the context of traditional debt instruments evidencing obligations
 contracted. These include, for example, claims related to unpaid supplier invoices and damage
 claims resulting from the expropriations and nationalizations carried out by the Chavez/Maduro
 regimes. The Authorities intend to use this opportunity to resolve as many outstanding private
 claims against the Venezuelan public sector as possible.
 2.      Claim Reconciliation

        Only reconciled foreign currency-denominated claims will be eligible to participate in the
 renegotiation. The Authorities expect to appoint a claims reconciliation agent, whose

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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 198 of 302 PageID #: 260




 responsibilities will include, among others, compiling a comprehensive list and inventory of the
 outstanding legacy claims, as well as determining the amounts of each one of these claims for
 purposes of renegotiation. In many cases (such as bonds or loans that were not issued with
 significant amounts of original discount) the Authorities expect the reconciliation process will be
 straightforward; the reconciled amount of such claims will represent unpaid principal and interest
 accrued according to original contractual terms.
         There may be other categories of foreign currency-denominated claims. However, that
 will require the claims reconciliation agent to undertake a factual investigation. Among these
 may be claims whose face amount was inflated at the time of issuance in expectation of a heavy
 market discount upon resale by the holder, debt instruments issued with significant amounts of
 original issue discount, claims (such as arbitration claims that have not yet resulted in a final
 arbitral award) whose quantification will require discussion by the Authorities and the holder of
 the claim, claims procured or tainted by demands of corruption allegedly committed by officials
 in the Chávez/Maduro regimes, and perhaps other categories of questionable claims.
         The Authorities will early in the process publish a memorandum describing the policies
 that will guide the claims reconciliation agent in carrying out its functions.
         The Authorities reserve the right to exercise all actions and potential legal defenses with
 respect to questionable claims until the point that such claim has been reconciled in order to
 participate in the renegotiation in accordance with the published guidelines and accepted by the
 Authorities.
 3.     Equal Treatment

         Once the amount of a claim has been reconciled and accepted to be renegotiated, the
 claim shall be eligible to participate in the renegotiation on equal terms with all other reconciled
 private claims (subject to the exceptions described in the next paragraph). Stated differently, no
 different treatment shall be accorded to eligible foreign currency-denominated claims as a result
 of their origin (for example, whether arising pursuant to a debt instrument, an unpaid invoice, an
 expropriation, etc.), the nature or domicile of the holder of the claim, and/or the identity of the
 public sector obligor (the Republic, PDVSA or another public sector entity, whether the claim
 has been reduced to a court judgment or otherwise.
        Claims that benefit from a valid first priority security interest in property of the
 Venezuelan state or its public sector entities may be given separate treatment in the
 renegotiation.
 4.     Financial Terms

         Promptly once the transition has taken place, the Authorities expect to request the
 assistance of the International Monetary Fund (IMF) and other multilateral agencies in

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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 199 of 302 PageID #: 261




 addressing the dire humanitarian crisis in Venezuela and in developing a longer-term program
 for the country’s economic recovery. The Authorities recognize that designing an economic
 recovery program for a country in the condition of Venezuela will be a challenging and time-
 consuming task. That program is expected to include a projection about the level of debt and
 associated debt service requirements that the country will be able to carry in future years.

         As a practical matter, a detailed discussion about the financial terms of the foreign
 currency-denominated claims renegotiation must await the conclusion of the IMF’s assessment
 of Venezuela’s condition and economic prospects. With that assessment in hand, however, and
 consistent with IMF policies, the Authorities will enter into discussions with representatives of
 the various claimant groups regarding both the proposed financial terms for the renegotiation of
 their claims and the nature of the new debt instruments that will be issued.

        It shall be the policy of the Authorities to ensure that settlements of both commercial and
 financial legacy claims, as well as bilateral claims, are consistent with the economic recovery
 program supported by the IMF and other official sector sponsors.

         The Authorities acknowledge and appreciate the forbearance from exercising legal
 remedies shown by most private creditors despite the behavior and the provocations of the
 Maduro regime. Few, if any, claims are in danger of becoming time-barred as a result of the
 running of a statute of limitations. To the extent that any claims are in danger of becoming time-
 barred, the Authorities will entertain proposals to extend the relevant limitations period to permit
 the debt renegotiation to proceed. Moreover, as noted above, no preferential treatment will be
 accorded in the debt renegotiation to claims that have been reduced to a court judgment. The
 Authorities therefore request all claimants to refrain from pursuing legal remedies (and suspend,
 without prejudice, any actions that have already been commenced) pending the coming end of
 usurpation and the commencement by the Authorities of an orderly, consensual resolution of
 those claims.




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 200 of 302 PageID #: 262




                         EXHIBIT 31
  Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 201 of 302 PageID #: 263




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 208 of 302 PageID #: 270
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 210 of 302 PageID #: 272




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   Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 211 of 302 PageID #: 273




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*16.(.+,)#14ÿ1)ÿ,$3$?$*Kÿ"#$>ÿ13.$3*ÿ53)566$))-500>ÿ.+ÿ45.ÿ.#$1,ÿ0++.13=ÿ.$3.(60$)ÿ+3ÿ:"@AKB
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 215 of 302 PageID #: 277




                         EXHIBIT 34
   Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 216 of 302 PageID #: 278




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   E7GB5G34Aÿ65>@7G5?G67ÿ6?ÿ?JJ7>ÿ4ÿ>3ÿ23>B7ÿRÿ?Gÿ>?EA?B7C
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 219 of 302 PageID #: 281
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 220 of 302 PageID #: 282




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 221 of 302 PageID #: 283




                         EXHIBIT 35
 Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 222 of 302 PageID #: 284




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                         EXHIBIT 36
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                         EXHIBIT 37
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 230 of 302 PageID #: 292
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                                    SOUTHERN DISTRICT OF NEW YORK

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    ACLI INVESTMENTS LTD., ACL2
    INVESTMENTS LTD., and LDO (CAYMAN)
    XVIII LTD.,
                                                                  No. 19-cv-09014-LLS
                                    Plaintiffs,

                               v.
    BOLIV ARIAN REPUBLIC OF VENEZUELA,

                                    Defendant.

   ------------------X
                               FINAL JUDGMENT AND PERMANENT INJUNCTION

               WHEREAS, this Court having subject matter jurisdiction over this case and personal

    jurisdiction over Defendant the Bolivarian Republic of Venezuela (the "Republic"), the Republic

    having appeared before the Court and not contesting the Court's jurisdiction;

               WHEREAS, the parties having conducted informal discovery in which plaintiffs

    provided evidence to the Republic of plaintiffs' standing to sue, identity, and continuing

     ownership interest in the debt securities placed in issue by the Amended Complaint; and

               WHEREAS, the parties having reached a stipulation for the entry of judgment for the

     reasons and on the terms set forth therein;

                IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

                Final Judgment is entered in favor of Plaintiffs ACLl Investments Ltd., ACL2

     Investments Ltd., and LDO (Cayman) XVIII Ltd. (the "Plaintiffs") against the Republic for

     breach of contract; and




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 231 of 302 PageID #: 293




           IT IS FURTHER ORDERED, ADJUDGED AND DECREED THAT:

           The Republic is liable to the Plaintiffs for damages in the following amounts:


      I.      To Plaintiff ACLl Investments Ltd. on account of 2004 Issuance of the 2034s

   (ISIN US922646BL 74):

              a. For non-payment of principal due on December 6, 2018 as a result of the

                  acceleration of the indebtedness: $57,215,000.

               b. Interest on $57,215,000 of principal at the rate of 9.375% per annum computed

                  starting July 13, 2020 through December 1, 2020, such interest being equal to

                  $2,056,164.06.

               c. For non-payment of six (6) due and unpaid biannual interest payments due on

                   each of January 13, 2018, July 13, 2018, January 13, 2019, July 13, 2019, January

                   13, 2020, and July 13, 2020:

                       i. For non-payment of an interest payment due on January 13, 2018,

                             $2,681,953.13, plus interest thereon at the rate of 9% per annum simple

                             interest starting from January 14, 2018, through December 1, 2020, such

                             interest being equal to $696,352.60;

                       11.   For non-payment of an interest payment due on July 13, 2018,

                             $2,681,953.13, plus interest thereon at the rate of 9% per annum simple

                             interest starting from July 14, 2018, through December 1, 2020, such

                             interest being equal to $576,656.66;

                      iii. For non-payment of an interest payment due on January 13, 2019,

                             $2,681,953.13, plus interest thereon at the rate of 9% per annum simple




                                                       7
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 232 of 302 PageID #: 294




                        interest starting from January 14, 2019, through December 1, 2020, such

                        interest being equal to $454,976.82;

                 iv. For non-payment of an interest payment due on July 13, 2019,

                        $2,681,953.13, plus interest thereon at the rate of9% per annum simple

                        interest starting from July 14, 2019, through December 1, 2020, such

                        interest being equal to $335,280.88;

                  v. For non-payment of an interest payment due on January 13, 2020,

                        $2,681,953.13, plus interest thereon at the rate of9% per annum simple

                        interest starting from January 14, 2020, through December I, 2020, such

                        interest being equal to $213,601.03; and

                  v1.   For non-payment of an interest payment due on July 13, 2020,

                        $2,681,953.13, plus interest thereon at the rate of 9% per annum simple

                        interest starting from July 14, 2020, through December 1, 2020, such

                        interest being equal to $93 ,243 .79.

            d. For coupon and prejudgment interest following December 1, 2020, $18,867.56

               per day until the date on which this judgment is entered on the docket of the

               Court.

      2.   To Plaintiff ACL2 Investments Ltd. on account of 2004 Issuance of the 2034s

   (ISIN US922646BL 74):

            a. For non-payment of principal due on December 6, 2018 as a result of the

               acceleration of the indebtedness: $20,288,000.




                                                    8
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 233 of 302 PageID #: 295




           b. Interest on $20,288,000 of principal at the rate of 9.375% per annum computed

              starting July 13, 2020 through December 1, 2020, such interest being equal to

              $729,100.00.

           c. For non-payment of six (6) due and unpaid biannual interest payments due on

              each of January 13, 2018, July 13, 2018, January 13, 2019, July 13, 2019, January

               13, 2020, and July 13, 2020:

                   1.   For non-payment of an interest payment due on January 13, 2018,

                        $951,000, plus interest thereon at the rate of 9% per annum simple interest

                        starting from January 14, 2018, through December 1, 2020, such interest

                        being equal to $246,921 .29;

                  ii. For non-payment ofan interest payment due on July 13, 2018, $951,000,

                        plus interest thereon at the rate of 9% per annum simple interest starting

                        from July 14, 2018, through December 1, 2020, such interest being equal

                        to $204,478.03;

                  m. For non-payment of an interest payment due on January 13, 2019,

                        $951,000, plus interest thereon at the rate of9% per annum simple interest

                        starting from January 14, 2019, through December 1, 2020, such interest

                        being equal to $161,331.29;

                  1v. For non-payment of an interest payment due on July 13, 2019, $951,000,

                        plus interest thereon at the rate of 9% per annum simple interest starting

                        from July 14, 2019, through December 1, 2020, such interest being equal

                        to $118,888.03;




                                                   9
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 234 of 302 PageID #: 296




                  v. For non-payment of an interest payment due on January 13, 2020,

                          $951,000, plus interest thereon at the rate of 9% per annum simple interest

                          starting from January 14, 2020, through December 1, 2020, such interest

                          being equal to $75,741.29; and

                  v1.     For non-payment of an interest payment due on July 13, 2020, $951,000,

                          plus interest thereon at the rate of 9% per annum simple interest starting

                          from July 14, 2020, through December I, 2020, such interest being equal

                          to $33,063.53.

            d. For coupon and prejudgment interest following December 1, 2020, $6,690.29 per

               day until the date on which this judgment is entered on the docket of the Court;

               and

      3.   To Plaintiff LDO (Cayman) XVIII Ltd. on account of 2004 Issuance of the 2034s

   (ISIN US922646BL 74):

            a. For non-payment of principal due on December 6, 2018 as a result of the

               acceleration of the indebtedness: $9,197,000.

            b. Interest on $9,197,000 of principal at the rate of 9.375% per annum computed

               starting July 13, 2020 through December 1, 2020, such interest being equal to

               $330,517.19.

            c. For non-payment of six (6) due and unpaid biannual interest payments due on

                each of January 13, 2018, July 13, 2018, January 13, 2019, July 13, 2019, January

                13, 2020, and July 13, 2020:

                     1.    For non-payment of an interest payment due on January 13, 2018,

                           $4 31, l 09 .38, plus interest thereon at the rate of 9% per annum simple




                                                     10
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 235 of 302 PageID #: 297




                    interest starting from January 14, 2018, through December 1, 2020, such

                    interest being equal to $111,934.89;

                ii. For non-payment of an interest payment due on July 13, 2018,

                    $431,109.38, plus interest thereon at the rate of9% per annum simple

                    interest starting from July 14, 2018, through December 1, 2020, such

                    interest being equal to $92,694.42;

                iii. For non-payment of an interest payment due on January 13, 2019,

                    $431,109.38, plus interest thereon at the rate of 9% per annum simple

                    interest starting from January 14, 2019, through December 1, 2020, such

                    interest being equal to $73,135.05;

                iv. For non-payment of an interest payment due on July 13, 2019,

                    $431,109.38, plus interest thereon at the rate of 9% per annum simple

                     interest starting from July 14, 2019, through December 1, 2020, such

                     interest being equal to $53,894.58;

                 v. For non-payment of an interest payment due on January 13, 2020,

                     $431,109.38, plus interest thereon at the rate of 9% per annum simple

                     interest starting from January 14, 2020, through December 1, 2020, such

                     interest being equal to $34,335.20; and

                 vi. For non-payment of an interest payment due on July 13, 2020,

                     $431,109.38, plus interest thereon at the rate of 9% per annum simple

                     interest starting from July 14, 2020, through December 1, 2020, such

                     interest being equal to $14,988.43; and




                                               11
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 236 of 302 PageID #: 298




              d. For coupon and prejudgment interest following December 1, 2020, $3,032.86 per

                   day until the date on which this judgment is entered on the docket of the Court;

                   and

      4.     To Plaintiffs jointly on account of out-of-pocket expenses due under Section 7 of

  the Terms and Conditions of the 2004 Issuance of the 2034s (ISIN US922646BL74) as of the

  date of the judgment: $220,000; and

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED THAT:

           Each Plaintiff and any of its successors or assigns; and anyone acting on its behalf,

  including its officers, agents, servants, employees, trustees, beneficial owners, and attorneys; and

  all persons and organizations acting in concert with any of them are hereby PERMANENTLY

   ENJOINED from selling or otherwise transferring in any manner the securities or security

   entitlements on which each Plaintiff has brought suit in this case identified as ISIN

   US922646BL 74, unless (i) such sale or transfer also includes the Plaintiffs corresponding

   interest in this judgment, and (ii) the Plaintiff provides to the Republic through counsel of record

   in this action three (3) calendar days' prior written notice of the settlement of any such sale or

   transfer; and

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED THAT:

           The Plaintiffs and any of their successors or assigns; and anyone acting on their behalf,

   including their officers, agents, servants, employees, trustees, beneficial owners, and attorneys;

   and all persons and organizations acting in concert with any of them, shall be bound by the terms

   of the parties' Stipulation for Entry of Final Judgment and Permanent Injunction dated December

   4,2020;and




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,   '   1   r
                Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 237 of 302 PageID #: 299




                         IT IS FURTHER ORDERED, ADJUDGED AND DECREED THAT:

                         This Court shall retain non-exclusive jurisdiction over matters related to the enforcement

                  of this judgment.

                  Dated: New York, New York
                          1J..u . Tl
                                  7     , 2020
                                                                        SO ORDERED:


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                                                                        LOUIS L. ST ANTON
                                                                        United States District Judge




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 238 of 302 PageID #: 300




                         EXHIBIT 38
                               -
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 239 of 302 PageID #: 301
                     I,_




                                    FISCAL AGENCY AGREEMENT


                                              Among


                                    THE REPUBLIC OF VENEZUELA


                                   BANCO CENTRAL DE VENEZUELA


                                                  and


                                   THE CHASE MANHA~~ ' BANK
                                           Fiscal A9,.enr~ \ ·

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                                                  .      V



                                              '
                                     Dated as of August 6, 1998




                                         DEBT SECURITIES




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 240 of 302 PageID #: 302
                               {
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                                                      !ABLE OF CONTENTS



        Parties    ...... -.... ...... ................. ...... ... ....... .... .                                                     1

        1.        Securities Issuable in Series . • • • • • • • • • • • • . • • • • • . . . • • • • • . • • • • . . .                  1
                  (a)      General . •. . ••. .. .. ... ... • •.. • .. , . . . . . . . . . . . ... . ... .                             1
                  (b)      Authorization . . . . . . . . . . . . . . • . . . . . . . • . . . . . . . . . ....•.. .                     1
                  Cc)      Forms of Securities ••..•• • •••••••••••.••.••• . •••••••.•.                                                4
                  Cd)      Temporary Securities •••••••••••••••••••••• • • • ••••••••••                                                4
                  Ce) (i) Originally Issued Bearer Securities ••..••••• • ••• • ••.•. • • • ••.•                                       5
                      (ii) Temporary Bearer Global Securities •.•• • • . • • •••.••••..• •. • • •                                      5
                  tf) (I} U.S. Book~Entry Provisions •••. • ••••••••• • ••• • •.••• • • .• •.•                                         7
                      (ii) Offshore Book~Entry Provisions • • • • • • • • • • • . • • . . . • • • . • . • • • • •                      8
                  {g)      Legends . • • .•••.•.....••• . •••...... . ... .. •... • . . •. • .                                         8

        2.        Fiscal Agent; Other Agents • . • . • . • . • • . • • • • • • • • • • • • • • . • • • • • • • • • •                   8

        3.        Authentication        •••••••••. . ••. •.•••••••••. •••. ••••.. ••. •••. •                                           9

        4.        Payment and Cancellation • • • • . . • • • • • • • • . •             ;;,n·\ . . . . . . . . . ..... .                10
                  !:! ~i;:~~in~;p~~,;.;~l-~,A~ditidnr                          -~; '\\' . \· ..... .... ... .                          10

                              Amounts • •• ••. .• •• . • @ ~0 .~ .. . . . . . . . ........... .                                        11
                  ( c)      Cancellation • . . ..• • • . •. -~        . • • • . . . . . . • • • • . • . • ••.•• , • .                  12
                  ldl       Instructions of the Republic to, Banco Central . • . • . . • • • . • • . • • • . •                         12
                  (el       References to Include Additional
                              Amounts . . . . . • . . . . • • • • • . . • . • • • . . . . . • • • . . . • . . • • • • . •              12

        5.        Exchange of Securities . . • . • . . • • • • . • • •         •. •. ••••. •••. ••••. ••••••                           13
                  (a)   General • •••••••.••.•. . •••• •                       • . • • . • •.• . ••• • . • • • _. • • • • •            13
                  (b)   Bearer and Registered Securities • •                   ••••.. ... •. .. •. . ••••••••                          13
                  (c)   Definitive Registered Global
                          Securities • • . . . • . • . • . . . . • • • •       •. •.. •. •... •. ••. ••. •••••                         13
                  ldl   Definitive Searer Global Securities • .                •. . . •••. . . . . . •. •••••••. •                     15

         6.       Register . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . • • • .           15

        7.        Sinking Fund and Optional Redemption . • . • . . • . • • . . • • • . . • • . • • • • • • . .                         16

         8.       Conditions of Fiscal Agent's Obligations • • • • •               .   ..   •. .. .. ••   •   •   .   . •.   •. • ••   17
                  fa)     Compensation and Indemnity • • • • . . .                 .   •.   .. .. ••••    .   .   .   .•.    .••••     17
                  (b)     Agency • • • . . • • • . . . . • . • . . • • . . •       .   ••   •. . ••. •.   .   •   .   •..    . •• ••   17
                  (c)"    Advice of Counsel • . . . . • . • • • . • • • •          •   •.   •• ••••••     .   .   .   ...    •••••     18
                  (dl     Rellanca . . . . . . . . . . . . . . . . . . . • . .     . •. . •.. . . •. . . •. . •. . . ••                18
                  Ce)     Interest in Securities, etc. • • . • • . • • •           ••••• ••••. . •••••• •••••                          18
                  (f)     Non-Liability for Interest • . • • • • • • • • •         •••. •.•••. . •••. •••••••                          18
                  Cg)     Certifications . • • • • . • • • • • . • • • • • •       ••. •••.. . •. . . •. •••••••                       18.



         OC_LAN0I: 91 101.4                                         • j.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 241 of 302 PageID #: 303
                                r, -                                                 (



                  (h)       No Implied Obligations • • • : • • • • • • • • • • • • • • • • • • • • • • • • • • • • • .          19


         9.       Resignation and Appointment of Successor • • • . • • • •                   •••••••••••••••••                  19
                  (a)    Fiscal Agent and Paying Agent • • • • • • • • • • •                 ••••••. •. •••.•••.                19
                  lb)    Resignation and Removal • • • • • • • • • • • • • • •               •••••••••••. •••••                 20
                  (c)    Successors • . . • . • . . . . . . . . . . . . • . • . • .          . . . . . . . •. . . . . . .. .    20
                  fd)    Acknowledgment • • • • • • • • • • • • • • • . • • • •              • • . • • • • • . • . •• • • • •   20
                  fe)    Merger, Consolidation, etc. • • • • • • • • • • • . .               ••••. . •. ••. ••. •••             20
                  Cf)    Separate Fiscal Agents • • • • • • • • • • • • • • • •              • •. • • •• •. • ••• •. ••         21

         1 O.     Payment of Taxes • • • • • . . . . . . . • . . • . • . . • • . • • . . • . . • . • . . . • . • • • .          21

         11 .     Meetings and Amendments • • • • • • • • • • • • • • • • • • • . • • • • • • . • • • • • • • • •               21
                  (al    Calling of Meeting. Notice and
                                Quorum • . . • • • . • • • . . . • • . • . . . . • . • . . . • . . • • . . . . . . . . . . .    21
                  (b)       Approval . . . . . • . . . . . . . . . . . . . . . • . . . . . .. . . . . . . • . . . . .. . . .    22
                  le)       Binding Nature ot Amendments, Notices,
                              Notations, etc. • • •••••••••• . ••••. -~                    •\ . •. . ••••. ••••.                23
                  (d)       •outstanding• Defined •••••• • .•• • • ~ ~ • ·) • . • • • • • • • • • • •                           24

         12.      Govermng Law ••••••.•.. • ••• •                      -©G-~....................                                25

         13.      Notices . . . . . . . . . . . . . . . . . . . . . ~ . . .. . . . . . . . . . . . . . . . . . . . . .. . . .   25

         14.      Waiver of Immunity; Consent to Jurisdiction; Consent to
                  Service; Proceedings in Venezuela • • . • • . • • • • • • • • • • • . • . • • • • . • . • • • •               26

         15.      Conversion of Currency . • • • • • • • • • • • • • • • • • • • • • • • • . • • • • • • • • • • • •            28

         16.      Headings . . . . . . . . . . . . . . . . . . . . . • • . • • . . . • • . . . • . . . . . . . • • • • . .      28

         17.      Counterparts ••• • •••••••••••.• •_• • • • • • • • • • • • • • • • • • • • . . • • • • • •                    28

         EXHIBIT A                      Form of Registered Security

         EXHIBIT B                      Form of Beerer Security

         EXHIBIT C                      Form of Temporary Bearer Global Security

         EXHIBIT D                      Form of Certificate of Beneficial Ownership

         EXHIBIT E                      Form of Certificate to be given by the EUROCLEAR Operator or
                                        CEOEL BANK. socieri anonyme

         EXHIBIT F                      Form of Banco Central Undertaking




         DC_LANO I: 91 1011.4                                         -ii-
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 242 of 302 PageID #: 304
                                (                                           (

               FISCAL AGENCY AGREEMENT. dated as of August 6, 1998, among THE REPUBLIC
          OF VENEZUELA (the •Issuer- or -Venezuela•), BANCO CENTRAL OE VENEZUELA, as official
          financial agent of Venezuela, (•Banco Centrar) and THE CHASE MANHATTAN BANK." a
          banking corporation duly organized and existing under the laws of New York, as Fiscal
          Agent.

               1.      securities lssuabJe io Series.
               (a} General. Venezuela may issue its notes, bonds, debentures and/or other unsecured
          evidences of indebtedness (the •securities•) in separate series from time to time (each such
          series of Securities being hereinafter referred to as a •Series• or the •securities of a Series•).
          All Securities will be unsecured (subject to the provisions In the Securities providing for the
          securing of such obligations in tha event certain other obligations of Venezuela are
          secured), direct, unconditional and general obligations of Venezuela for money borrowed
          and each Series will rank a.I!! J2AUll without any preference among themselves. The
          payment obligations under the Securities will at all times rank at least equally with all other
          payment obligations of Venezuela relating to External Public Debt (as defined in the
          Securities) of Venezuela. The full faIth and cntdit of Venezuela will be pledged for the due
          and punctual payment of an Securities and for the due and timely performance of all
          obligations of Venezuela in respect thereof. The aggregate principal amount of the
          Securities of all Series which may be authenticated and delivered under this Agreement and
          which may be outstanding at any time is not limited by this Agreement.

                                                                                 '
                (b) Authgrjzatjon. The Securities of a Series deli~ to the Fiscal Agent (as defined
           in Section 2 hereof) for authentication on original issuan~ pu~uant to Section 3 hereof
           shall be authorized by Venezuela in a certifj~te (~n :Authorization•) executed by the
           Minister of Finance, the Director General ~ Mfnistrv of Finance, the Director General of
           Pubflc Finance of the Ministry of Finance 0! another person duly authorized to deliver an
           Authorization by one of the foregoing and shall establish and, subject to Section 3 hereof,
           shall set forth or prescribe the manner for determining:

                     (iJ        Dosjgnatjon: the designation of the Securities of such Series (which shall
                                distinguish the Securities of such Series from all other Series);

                     (ii)       Aggregate Principal Amo1,1nt: any limit upon the aggregate principal amount
                                of the Securities of such Series which may be authenticated and delivered
                                under this Agreement (except for Securities authenticated and delivered upon
                                registration of transfer of, or in exchange for, or in lieu of, other Securities of
                                such Series pursuant to the provisions of this Agreement or the Securities of
                                such Series):

                    (iii)       Reqjstered!Bearer Form: whether the Securities of such Series shall be in
                                registered form without interest coupons or in bearer form with or without
                                interest coupons, or both, and the terms upon which Securities of such Series
                                in one form may be exchanged for Securities of such Series in another form, if
                            •   at all:

                     Hv)        Temporary Global Securities:   whether Securities of such Series in registered
                                form and/or bearer form shall initially be represented in whole or in part. by
                                one or more temporary global Securities, the date, or the manner of



           DC_LANOI: 9110&.4
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 243 of 302 PageID #: 305
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                              determination of such date, prior to which interests in any such temporary
                              global Security mav not be exchanged for definitive Securities of such Series
                              (each an •exchange Date•) and the extent to which and the manner in which
                              any interest on such temporary global Security may be paid:

                   (v)        Book Entry: whether the definitive Securities of such Series in registered form
                              and/or bearer form shall be represented by one or more definitive global
                              Securities to be deposited with a depositary, and the terms upon which such
                              definitive global Securities may be exchanged for Securities of such Series not
                              in global form, If at all;

                   (vii       fayment Oates. etc,:   the date or dates on which the principal of (and pre.
                              mium, if any, on) and the interest on (and Additional Amounts, if any) the
                              Securities of such Series Is payable and the record dates, if any, for the deter-
                              mination of holders of the Securities of such Series to whom such principal
                              Cand premium, if any) is payable;

                  (viii       Interest Rates, etc,:   the rate or rates at which the Securities of such Series
                              shall beer interest, if eny, or the manner in which such rate or rates will be
                              determined (including any provisions for the increase or decrease of such rate
                              or rates upon the occurrence of specified events), the date or dates from
                              which any such interest shall accrue, the inter,est payment dates on which
                              such interest shall be payable and the rec~ r dates, if any, for the
                              determination of holders of the Securi~            · uc~ Series to whom any auch
                              Interest Is payable:                   · ' .,....)

                 (viii)       Payment Places: the place 'o la ( ; ~ere the principal of (and premium, if
                              any) and any interest on t~e S      rities of such Serles is payable, where any
                              Securities of such Series in reg'lstered form may be surrendered for
                              registration of trensfer, where Securities of such Series may be surrendered
                              for exchange and where notices and demands to or upon the Issuer in respect
                              of the Securities of such Series may be served:

                   (ix)       Optjonal Redemptjon features: the price or prices at which, the. period or
                              periods within which and the terms ~nd conditions upon which Securities of
                              such Series may be redeemed. whether in whole or in part, at the option of
                              the Issuer or otherwise;

                   (xi        Special Redemotjon Features: the obligation (which may be fixed or con•
                              tingent upon events), If any, of the Issuer to redeem, purchase or repay
                              Securities of such Series pursuant to any sinking fund or analogous provisions
                              or at the option of the holder thereof and the price or prices at which and the
                              period or periods within which for the manner in which such price or prices or
                              period or periods will be determined) and the terms and conditions upon which
                              Securities of such Series shall be redeemed, purchased or repaid, in whole or
                          •   in part, pursuant to such obligation:

                   Cxil       Oenomjnation: the denomination or denominations in which Securities of
                              such Series shall be Issuable and transferable or exchangeable;




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 244 of 302 PageID #: 306
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                 (xii)   Covenants: if other than as set forth in the forms of Securities attached
                         hereto as Exhibits A, B and/or C, all covenants or agreements of the Issuer
                         and any events which give rise to the right of the holder of a Security of such
                         Series to accelerate the maturity of such Security;

                (xiii)   Special Pdm;jpa! Reoavment featuru: if other than all of the principal amount
                         thereof, the portion of the principal amount of Securities of such Series which
                         shall be payable upon acceleration of maturity, or otherwise, or the manner in
                         which such portion will be determined;

                 (xiv)   Foreign Currency Features:   the coin or currency or composite currency in
                         which principal of land premium, if any) and any interest are payable, or the
                         manner In which such coin, currency or compos.i te currency will be deter•
                         mined: and if the principal of (or premium, If any) or interest on the Securities
                         of such Series are to be payable, at the election of the Issuer or a holder
                         thereof, In a currency or currencies, Including composite currencies, other
                         than that or those in which the Securities are stated to be payable, the
                         currency or currencies in which payment of the principal of Cor premiumr if
                         any) or interest on Securities of such Series as to which such election is made

                         upon which such election Is to be       ma0 \
                         shall be payable, and the periods within whlcfi\,nd the terms and conditions
                                                                    ~
                  (xv)   Index Features: If the amqu~f    pay~nt1 of principal of (or premium, if any)
                         or interest on Securities of s h        ;Js
                                                              Is to be determined by reference to an
                         index, the manner in which       amounts shall be determined;
                                                       "
                 (xvi)   Specjal Payment Features:    the person to whom any interest on any registered
                         Security of such Series shall be payable if other than the person in whose
                         name such Security (or one or more predecessor Securities) is registered at
                         the close of business on the record date for such interest and the manner in
                         which, or the person to whom, any intetest on any bearer Security of such
                         Series shall be payable if otherwise than upon presentation and surrender of
                         the coupons appertaining thereto as they severally mature;

                (xvii)   Additional Amounts: if other than as set fonh in the forms of Securities
                         attached hereto as Exhibits A, Band/or C, the obligation, if any, of the Issuer
                         to pay additional amounts in respect of principal of (and premium, if any) and
                         any Interest on Securities of such Series, and the circumstances under which
                         any such obligation shall arise:

               (xviii)   Leqend11: whether any legends shall be stamped or imprinted on any
                         Securities of such Series, and the terms and conditions upon which any such
                         legends may be removed:

                 (xix)   S::eaificatjons:whether any cenifications by purchasers or holders of the
                     •   Securities of such Series should be required, and the form thereof if other
                         than in substantially the form of Exhibits D or E hereto;

                  (xx)   Other Teems: any other terms of the Securities of such Series: and




         OC_LANOI : 91108.4                                -3-
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 245 of 302 PageID #: 307
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             fxxi)   form pf Securitjc,s: the fo"" of the Securities of such Series if other than in
                     substantially the form of Exhibits A, B and/or C hereto.

      Each Authorization shall be delivered 10 the Fiscal Agent and copies thereof shall be held on
      file and available for inspection at the corporate trust office of the Fiscal Agent in The City
      of New York, and in the offices of any Paying Agents Cas referred to below) for the
      Securities of the Series to which the Authorization relates.

           (c) Forms of Securitjes. The Securities of a Series 10 be issued ln registered form
      without coupons (•registered Securities•> wlH be issuable in substantially the form of
      Exhibit A hereto or such other form as shall be established pursuant to an Authorization and
      in the denominations specified in such Authorization. The Securities of a Series, if any. to
      be issued in bearer form, with or without imerest coupons attached c·beerer Securities•),
      will be issuable in substantially the form of Exhibit B hereto (or, in the case of a temporary
      bearer global securjty. in substantially the form of Exhibit C hereto) or such other form as
      shall be established pursuant to such Authorization and in the denominations specified in
      such Authorization. In this Agreement. (i) Securities which are not in temporary form are
      referred to as •definitive Securities• and Securities which are in tempor.ary form are referred
      to as "temporary Securities•. (iii registered Securities which are not In temporary form are
      referred to as •definitive registered Securities• (unless such Securities are In global form, in
      which case they are referred to es •detiniti\/e registered global Securities•) and registered
      Securities which are in temporary form are referred to es ~emporary registered Securities•
      (unless such Securities are in global form, in which case they are referred to as "temporary
      registered global Securities•) and (iii) bearer Securities which are not in temporary fotm are
      referred to as •definitive bearer Securities• (unless such Securities are in global form, in
      which case they are referred to as •definitive bearer global Securities") and bearer Securities
      which are in temporary form are referred to as. 8temporal)'.__~er ~ecurities• (unless such
      Securities are ln global form, in which case they are efer~d'lg as>temporary bearer global
      Securities•).                                               0

           All Securities shall be executed manually  ~      f~ slmile on behalf of Venezuela by such
      official or officials of Venezuela as shall have b&en authorized by an Authorization (each, an
      • Authorized Official•). In case any person who shall have executed any Security shall
      thereafter cease to hold the office by virtue of which such person so executed such
      Security prior to the authentication and delivery thereof, such Securities may nevenheless
      be authenticated and delivered as though such person had not ceased to be an Authorized
      Official. The Securities of a Series (i) may have such additional provisions, omissions, varia-
      tions or substitutions as are not inconsistent with the provisions of this Agreement or of an
      Authorization, and (ii) may have such letters, numbers or other marks of identification and
      such legends or ehdorsements not referred to in an Authorization placed thereon as may be
      required to comply with this Agreement, any law or with any rules made pursuant thereto
      or with the rules of any securities exchange or governmental agency or as may, consistently
      herewith, be determined necessary or advisable by the Authorized Officials executing such
      Securities, in each case (ii and (ii) as conclusively evidenced by their execution of such
      Securities. All Securities of a particular Series shall be otherwise substantially identical
      except as tb denomination and as provided herein or In an Authorization.

           (d) Temporary Securities. Until definitive Securities of a Series are prepared, the
      Issuer may (and, if an Authorization so requires, the Issuer shall) execute, and there shall be
      authenticated and delivered in accordance with the provisions of Section 3 hereof (in.lieu of



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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 246 of 302 PageID #: 308
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      definitive printed Securities of such Series), temporary Securities of such Series. Such
      temporary Securities may be in global form: prgyided, however, that any temporary Security
      fn global form shell be in registered form unless delivered in compliance with the conditions
      set forth in Section 1 (e) hereof. Such temporary Securities of a Serles shall be subject to
      the same limitations and conditions and entitled to the same rights and benefits as definitive
      Securities of such Series, except as provided herein or therein. Unless otherwise provided
      herein or therein, temporary Securities of a Series shell be exchangeable for definitive
      Securities of such Series when such definitive Securitles are available for delivery; and upon
      the surrender for exchange of temporary Securities of a Series which are so exchangeable,
      the Issuer shall execute and there shall be authenticatnd and delivered, in accordance with
      the provisions of Sections 5 and 6 hereof, in exchange for such temporary Securities of a
      Serles, a like aggregate principal amount of definltlvn Securities (provided that such
      SecurttJes have not been previously redeemedl of such Series of like tenor. The Issuer shall
      pay all charges, including (without limitation) stamp and other taxes and governmental
      charges, incident to any exchange of temporary Securities fb( definitive Securities. All
      temporary Securities shull be Identified as such and sh~sc,tbe the right of the holder
      thereof to effect an exchange for definitive Securiti~~ manner in which such an·
      exchange may be effected.                         (f,,\>
                                                 · ~
           (e) (i) PtlQtoaUy Issued Beltlr Securit1
                                                    ~    Is Section 1 Cel(i) shall apply only to
      definitive bearer Securities, temporary bearet Securities and definitive bearer global
      Securities which are originally Issued at the time of sale thereof.

           The Issuer shall not deliver for original Issuance at the time of sale thereof any
      definitive bnarer Security, temporary bearer Security or definitive bearer global Security of
      any Series to the person entitled to physical delivery thereof (other than EUROCLEAR or
      CEDEL (eech as defined below)) except upon delivery by such person to the Issuer of a
      certificate in substantially the form set fonh In Exhibit O hereto and where the person
      entitled to physical delivery of such Securities is EUROCLEAR or CEDEL, only upon delivery
      to the Issuer of a certificate substantially in the Form set forth In Exhibit E hereto.
      Notwithstanding any other provision hereof or the Securities of a Series, no bearer Security
      of such Serles may be mailed to or otherwise delivered to any location within the United
      States In connection with their sale during the restricted period (as defined In United States
      Treasury Regulations Section 1.163-5(c)(2)(i}(0)(7U.

              (if) Temporary Bearer Global Sa,:uritl§S, This Section 1 (e)(li) shalf apply only to
      temporary bearer global Securities delivered to a common depositary or Its nominee (the
      •common Depositary") for the benefit of Morgan Guaranty Trust Company of New York,
      Brussels office, as operator of the EUROCLEAR system ("EUROCLEAR"l, or CEDEL BANK,
      societe snonyme rceoa•), except as otherwise may be provided in tha Authorization.

           If the Authorization reloting to the Securities of a Serles so provides, bearer Securities
      of such Series shall be issued initially in the form of a temporary bearer global Security In
      substantially the form of Exhibit C hereto or such other form as shall be established
      pursuant to such Authorization. The temporary bearer global Security of a Series will be
      exchangeable, as provided below. for definitive bearer or definitive registered Securities of
      such Series or. If such Authorization so provides, in the form of one or more definitive
      bearer global Securities or definitive registered global Securities, or any combination thereof
      specified or contemplated by such Authorization. The term •securities of a Series· as used
      herein includes any temporary bearer global Security of such Series•



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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 247 of 302 PageID #: 309
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             Any such temporary bearer global Security of a Series shall be executed by the Issuer
        and delivered to the Fiscal Agent, and the Fiscal Agent shall, upon the order of the Issuer.
        authenticate such temporary bearer global Security and deliver. such temporary bearer global
        Security to the Common Depositary for the benefit of EUROCLEAR and CEDEL for credit to
        the respective accounts of the beneficial owners of Securities of such Series on the records
        of EUROCLEAR and CEDEL (or to such other accounts as they may direct).

             Unless otherwise specified in an Authorization, the interest of a beneficial owner of
        Securities of a Series in the temporary bearer global Security of such Series shall be
        exchanged for an Interest in one er more definitive bearer global Securities of such Series,
        when the account holder instructs EUROCLEAR or CEOEL, es the case may be, to request
        such exchange on his behalf and delivers to EUROCLEAR or CEDEL. as the case may be, a
        certificate in substantially the form set fonh in Exhibit D hereto, copies of which certificates
        shall be available at tha offices of EUROCLEAR, CEDEL and the Fiscal Agent. If an
        Exchange Date is specified in an Authorization relating to the Securities of a Series to be
        applicable to the Securities of such Series, no definitive Securities of such Series shall be
        exchanged pursuant to this Section 1 (e)(il) prior to such Exchange Date. Any exchange
        pursuant to this Section 1 (e)(li) shell be made free of charge to the beneficial owners of the
        temporary bearer global Security, except that a person receiving definitive Securities must
        bear the cost payable in advance to the Fiscal Agent of insurance, postage, transportation
        and the like In the event that such person does not take delivery of such definitive
        Securities in person at the offices of EUROCLEAR or CEDR. Notwithstanding any other
        provision hereof or of the Securities·of a Series, no b..&r S~urity of such Series may be
        mailed to or otherwise delivered in connection wit~~letiuring the restricted period (as

        within the United States.                   '© . .)
        defined in United States Treasury Regulations ,tt:tios 1. 163-5(c)C2)(i)(0)(7)) to a location
                                                    ,

             On or after the applicable Exchange Da~e. or if no Exchange Date is specified in the
        Authorization relating to the Securities of a Series to be applicable to Securities of such
        Series, on or after the fortieth day following the date of original issuance of the Securities
        of such Series, the temporary bearer global Security of such Series shall be surrendered by
        the Common Depositary to the Fiscal Agent outside the United States, as the Issuer's
        agent, for purposes of the exchange of Securities described below. In the event the ·
        temporary bearer global Security of such Series is to be exchanged for one or more
        definitive bearer global Securities and/or definitive registered global Securities, following
        such surrender the Fiscal Agent shall authenticate and deliver such definitive Securities to
        the Common Depositary for the benefit of EUROCLEAR and CEDEL for credit to the
        respective accounts of the beneficial owners of Securities of such Series on the records of
        EUROCLEAR and CEDEL (or to such other accounts as they may direct), but only upon
        delivery by EUROCLEAR and CEOEL, as the case may be, to the Fiscal Agent of a certificate
        or certificates substantially in the form set forth in Exhibit E hereto. In the event the
        temporary bearer global Security of a Series is to be exchanged for one or more definitive
        bearer Securities and/or definitive registered Securities, following such surrender, upon the
        request of EUROCLEAR or CEOEL, acting on behalf of beneficial owners of Securities, the
        Fiscal Agent shall authenticate and deliver to EUROCLEAR or CEDEL. as the case may be,
        for the acC'Ount of such owners, definitive bearer Securities or definitive registered
        Securities, or any combination thereof, as shall be specified by such owners, in exchange
        for the aggregate principal amount of the temporary bearer global Security of such Series
        beneficially owned by such owners, but only upon delivery by EUROCLEAR and CEDEL, as




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 248 of 302 PageID #: 310
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      the case mav be, to the Fiscal Agent of a cenificate or certificates substantially in the form
      set forth in Exhibit E hereto.

            Upon any exchange of a ponion of the temporary bearer global Security of a Series for
      definitive Securities of such Series, the temporary bearer global Security of such Series shall
      be endorsed to reflect the reduction of the principal amount evidenced thereby, whereupon
      its remaining principal amount shall be reduced for all purposss by the amount $0
      exchanged. Until so exchanged in full, the temporary bearer global Security of a Series shall
      In all respects be entltled to the seme benefits under this Agreement as definitive Securities
      of such Series authenticated and delivered hereunder, except that neither EUROCLEAR nor
      CEDEL nor the beneficial owners of the temporary bearer global Security of such Series
      shall be entitled to receive payment of interest thereon: proyjdad that beneficial owners of
      the temporary bearer global Security of such Series, and EUROCLEAR or CEDEL on their
      behalf, shall be entitled to receive payment of interest In respect of the definitive global or
      bearer securities, as the case may be, in accordance with the terms of such Securities
      following delivery by the beneficial owners to EUROCLEAR or CEOEL. as the case may be,
      of a ceniflcate substantially in the form set forth in Exhibit D hereto and delivery by
      EUROCLEAR or CEDEL to the Fiscal Agent of a certificate substantially in the form set forth
      In Exhibit E thereto.                                     ,              ·

                 u.s,
            (f)liJ    Bqok-Emrv Provjsjons. This Seet1" ~ )fil ',hall apply only to definitive
      registered global Securities of a Series depo~e~l~r on behalf of a depositary located in
      the United States (a •u.s. Depositary").   cept may otherwise be provided in an Author-
      ization.                               •     __,,

              If the Issuer shall establish in an Authorization that the registered Securities of a Series
      are to be lss~ed in whole or in part in the form of one or more definitive registered global
      Securities deposited with or on behalf of a U.S. Depositary, then the Issuer shall execute
      and the Fiscal Agent shall, in accordance with this Section 1 (fl(i) and the Authorization with
      respect to such Series, authenticate and deliver one or rnore definitive registered global
      Securities that (i) shall be registered in the name of the U.S. Depositary for such global
      Security or Securities or the nominee of such U.S. Depositary, (II) shall be delivered by the
      Fiscal Agent to such U.S. Depositary or pursuant to such U.S. Depositary's instruction and
      (iii I except as otherwise provided in such Authorization, shall bear a legend .substantially to
      the following effect: •unless this certificate is presented by an authorized representative of
      (insert name and address of the U.S. Depositary) to the Republic of Venezuela or its agent
      for registration of transfer, exchange or payment, and any certificate Issued Is registered In
      the·narne of (insert name of nominee of the U.S. Oepositaryl or such other name as r~-
      quested by an authorized representative of (insen name of the U.S. Depositary) land any
      payment is made to {insert name of nominee of the U.S. Depositary) or -to such other entity
      as is requested by an authorized representative of (insert name of U.S. OepositaryU, ANY
      TRANSFER, PLEDGE OR OTHER USE HEREOF FOR VALUE OR OTHERWISE BY OR TO ANY
      PERSON IS WRONGFUL inasmuch the registered owner hereof, linsen name of nominee of
      the U.S. Depositaryl, has an interest herein•.

           Mem~rs of, or participants in, a U.S. Oepositary ("Agent Members") shall have no
      rights under this Agreement with respect to any definitive registered global Security held on
      their behalf by a U.S. Depositary or under the global Security, and such U.S. Depositary
      may be treated by the Issuer, the Fiscal Agent, and any agent of the Issuer or the Fiscal
      Agent as the sole owner of such definitive registered global Security for all purposes



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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 249 of 302 PageID #: 311
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      whatsoever. Notwithstanding the foregoing, nothing herein shall prevent the Issuer, the
      Rscel Agent, or any agent of the Issuer or the Fiscal Agent, from giving effect to any
      written certification, proxy or other authorization fumiahed by I U.S. Depositary or impair,
      as between a U.S. Depositary and its Agent Member1, the operation of customary practices
      governing the exercise of the rfghu of a holder of any Security.

          fii) Offshore Bppk-Ent,y Ptgyiston1- Thia Section 1CflCii) shall apply only to definitive
      bearer global Securities of a Series delivered to the Common Depositary for the benefit of
      EUROCLEAR and CEDEL, except as otherwiae may be provided In an Authorization.

           The provisions of the •operating Procedures of the EUROCLEAR System· and the
      -rarms and Conditions Governing Use of EUROCLEAR• and the •Management Regulations•
      and •1nstntct1ons to Participants• of CEOEL, respectively, shan be applicable to definitive
      bearer global Securities of a Series delivered to the Common Depositary for the benefit of
      EUROCLEAR and CEOEL. Account holders or participants in EUROCLEAR and CEDa shall
      have no rights under this Agreement with respect to any such definitive bearer global
      Securities delivered to the Common Depositary for the beneflt of EUROCLEAR and CEDEL
      for credit to the respective accounts of such account holders or participants, and such
      Common Depositary may be treated by the Issuer, the Fiscal Agent, and any agent of the
      Issuer or the Fiscal Agent as the owner of any such definitive bearer global Securities for all

      Issuer, the Fiscal Agent, or any agent of the Issuer or theical
      purposes whatsoever. Notwithstanding the foregoing, nothin~ herein shall prevent the

      any written certification, proxy or other authoritatlon fur
                                                                        Agent, frorn giving effect to
                                                                    ed by the Common Depositary
      or impair, as between the Common Depositary and ltzacco t ~lders or participants, the
      operation of customary practices governing the ~!~e ~f the rights of a holder of any
                                                                0
      Security.                                    , (P    }di
          (g) Legends. Securities of a Series shall Wstamped or otherwise be Imprinted with
      such legends, If any, as are provided In an Authorization or pursuant to Section 1 Cc) hereof.
      Any legends so provided may be removed u provided In an Authorization or pursuant to
      Section 1 Ic) hereof.

            2.   Bscat Agent; Other Agents.
            The Issuer hereby appoints The Chase Manhattan Bank, having a corporate trust office
       at 450 West 33rd Street, 15th Floor and a payment office at 450 West 33rd Street, 15th
       Floor (for payments, exchanges and transfers), each in The City of New York (together, the
       •corporate Trust Office•), as fiscal agent of the Issuer in respect of the Securities upon the
       terms and subject to ·the conditions herein set forth, and The Chase Manhattan Bank hereby
       accepts such appointment. The Chase Manhattan Bank and any successor or successors as
       such fiscal agent qualified and appointed in accordance with Section 9 hereof, are herein
       called the •Fiscal Agent•. The Fiscal Agent shall have the powers and authority granted to
       and conferred upon it in the Securities and hereby and such further powers and authority to
       act on behalf of the Issuer as may be mutually agreed upon by the Issuer and the Fiscal
       Agent. All of the terms and provisions with respect to such powers and authority contained
       In the Securities are subject to and governed by the terms and provisions hereof. The Fiscal
       Agent shall keep a copy of this Agreement available for inspection during normal business
       hours at its Corporate Trust Office.




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 250 of 302 PageID #: 312
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          The Issuer may. in its discretion, app0int one or more agents (a •Paying AgenC- or
     "Paying Agents") for the payment (subject to applicable laws and regulatlons) or the
     principal of land premium, If any) and anv interes~ an the Securities of a Series. and one or
     more agents (a "Transfer Agent• or -Transfer Agents•) for the transfer and exchange of
     Securities of a Series, at such place or places as the Issuer may determine: proylded. tmw:
     Jra!, that for so long as 11ny Securities of such Series are listed on the Luxembourg Stock
     Exchange or the stock exchange of Hong Kong Umited, and such Exchange shall so require,
     the Issuer shall maintain a Paying Agent in Luxembourg or Hong Kong, as the case may be:
     and provided. funher. that. in the event Securities are issued in registered form, the Issuer
     shall at all times maintain a Paying Agent, Registrar and Transfer Agent in The City of New
     York (which Paying Agent and Transfer Agent may be, and initially shall be, the Fiscal
     Agent), The Issuer shall promptly notify the Fiscal Agent of the name and address of each
     Paying Agent and Transfer Agent appointed by it and of the CQuntrv or countries in which a
     Paying Agent or Transfer Agent may act in that capacity. and will notify the Fiscal Agent of
     the resignation or termination of any Paying Agent or Transfer Agent. Subject to the
     provisions of Section 9(c) hereof, the Issuer may vary or termlnate the appointment of anv
     such Paying Agent or Transfer Agent at any time and from time to time upon giving not less
     than ninety days' notice to such Paying Agent or Transfer Agent, as the case may be, and
     to the Fiscal Agent. Notwithstanding the foregoing, if the Issuer issues bearer Securities of
     a Series. to the extent provided in the Securities of such Series, the Issuer shall maintain
     under appointment a Paying Agent or Paying Agents with respect to such Series outside the
     United States of America (Including the States and the District of Columbia), its territories.
     its possessions and other areas subject to its jurisdiction lthe "United States•) for the
     payment of principal of (and premium. if any) and any Interest on bearer Securities of such
     Series.

           In respect of the Securities of a Series. the Issuer shall 'bause notice of any resignation.
      termination or appointment of any Paying Agent or Tran~~ A9l!nt or of the Fiscal Agent
      and of any change in the office through which any sf,.,c~nt .tvm act to be given as
      provided in the text of the Securities of such Ser~ · • /
                                                             Ci\)
           3.   Authentication.                    '   ©
            The Fiscal Agent Is authorized, upon receipt of Securities of a Series duly executed on
      behalf of the Issuer for the purposes of the original issuance of Securities of such Series,
      Ii) to authenticate the said Securities in an aggregate principal amount not in excess of the
      aggregate principal amount specified in the text of the Securities of such Series in accor-
      dance with an Authorization and to deliver the said Securities in accordance with the
      written order or orders of the Issuer signed on Its behalf by any person authorized by or
      pursuant to an Authorization and (ii) thereafter to authenticate and deliver Securities of
      such Series in accordance with the provisions therein or hereinafter set fonh. Each
      registered Security shall be dated the date of its authentication.

           Notwithstanding the provisions of Section 1 (b) and of the preceding paragraph, if all
      Securities of a Series are not to be originally issued at one time, it shall not be necessary to
      deliver an Authorization otherwise required pursuant to Section 1 (bl or the order or orders
      otherwise required pursuant to such preceding paragraph at or prior to the time of
      authentication of each Security of such Series If such documems are delivered at or prior to
      the time of authentication upon original issuance of the first Security of such Series to be
      issued.



      DC_LANOI : 91108.4                               -9-
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 251 of 302 PageID #: 313
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           No Security shall be entitled to any benefit under this Agreement or be valid or
      obligatory for any purpose unless there appears on such Security a certificate of
      authentication executed by the Fiscal Agent or any authenticating agent by manual
      signature. and such certificate upon any Security shall be conclusive evidence. and the only
      evidence. that such Security has been duly authenticated and delivered hereunder and is
      entitled to the benefit of this Agreement.

           The Aseal Agent may, with the written consent of the Issuer. appoint by an instrument
      or instruments in writing one or more agents (which may include itself) for the authen•
      ticatlon of Securities of a Series and. with such consent. vary or terminate any such
      appointment upon ,written notice and approve any change in the office through which any
      authenticating agent acts. The Issuer (by written notice to the Fiscal Agent and the
      authenticating agent whose appointment is to be terminated) may also terminate any such
      appointment at any time. The Fiscal Agent hereby agrees to solicit written acceptances
      from the entities concerned (in form and substance satisfactory to the Issuer) of such
      appointments. In its acceptance of such appointment, each st,ch authenticating agent shall
      agree to act as an authenticating agent pursuant to the ~ il{'d conditions of this Agree-
      ment.                                                0~ )
           4.   Pava,ent and cancelluJon.        . (F'~ 0
           lal Payment. Unless otherwise agreed, ~ act to the following provisions, the Issuer
      shall provide to the.fiscal Agent, no later than 10:00 a.m. (New York City timel, in
      immediately available funds on the business day in New York prior to each date on which a
      payment of principal of (or premium, if any> or any interest on the Securities of a Series
      shall become due, as set forth in the text of the Securities of such Series, such amount, in
      such coin or currency, as is necessary to make such payment, and the Issuer hereby
      authorizes and directs the Fiscal Agent from funds so provided to it to make or cause to be
      made payment of the principal of (and premium, if any) and any interest on, as the case
      may be, the Securities of such Series as set forth herein and in the text of such Securities.
      The Fiscal Agent shall arrange directly with any Paying Agent who may have been
      appointed by the Issuer pursuant to the provisions of Section 2 hereof for the payment from
      funds SQ paid by the Issuer of the principal of (and premium, if anv• and any interest on the
      Securities of such Series as set forth herein and in the text of such Securities. Notwith-
      standing the foregoing, where an Authorization expressly so provides, the Issuer may
      provide directly to a Paying Agent funds for the payment of the principal thereof and
      premium and interest, if 11ny, payable thereon under an agreement with respect to such
      funds containing substantially the same terms and conditions set forth in this Section 41a)
      and in Section Bib) hereof and shall so advise the Fiscal Agent in writing; and the Fiscal
      Agent shall have no responsibility with respect to anv funds so provided by the Issuer to
      any such Paying Agent.

          The Issuer will deliver to the Fiscal Agent by 10:00 a.m. (New York City time). two
      business days prior to each payment date an irrevocable confirmation (by tested telex or
      authenticated SWIFT MT 100 Message} of its intention to make such payment.

          Any interest on registered Securities of a Series shall be paid, unless otherwise
      provided in the te><t of the Securities of such Series, to the persons (the •registered
      holders") in whose names such Securities are registered on the register maintained pursuant
      to Section 6 hereof at the close of business on the record dates de:.ignated in the text of



       DC_LANOl: 91108,4                           -10-
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 252 of 302 PageID #: 314
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      the Securities of such Series. Principal of land premium, If anv, on) registered Securities of
      a Series shall be payable egainst surrender thereof at the corporate trust office of the Fiscal
      Agent and at the offices of such other Paying Agents as the Issuer shall have appointed
      pursuant to Section 2 hereof, and payments of any interest on registered Securities of a
      Serles shall be made, in accordance with the foregoing and subject to applicable laws and
      regulations, by check mailed on or before the due date for such payment to the person
      entitled thereto at such person's address appearing on the register of the Securities of such
      Serles maintained pursuant to Section 6 hereof, or, in the case of payments of principal
      (and premium, if any), to such other address as the registered holder shall provide in writing
      at the time of such surrender: proyjded. however. that, if provided in the Authorization
      relating to the Securities of such Series, such payments may be made, in the case of a
      registered holder of greater than the aggregate principal amount of Securities of such Serles
      specified in such Authorization, by transfer to an account denominated in the currency In
      which such payments are to be made maintained by the payej with a bank as specified in
      such Authorization if such registered holder so elects by iiv'•g'wrltten notice to the Fiscal
      Agent, not less than 15 days (or such fewer days as the         al Agent may accept at its
      discretion) prior to the date of the payments to be obtaiil'ed, f sGch election and of the
      account to which payment is to be made. .           ~    0
           Any interest on bearer Securities of a Se~hall be payable by check or wire transfer
      upon surrender of any applicable coupon, and principal of {and premium, If any; on) bearer
      Securities of such Series shall be payable by check 0r wire transfer upon surrender of such
      Securities, at such offices or agencies of the Rscal Agent or any Paying Agent outside the
      United States as the Issuer may from time to time designate, unless the Issuer shall have
      otherwise instructed the Fiscal Agent in writing, or additionally or alternatively, In such
      other manner as may be set forth or provided for In the Securities of such Series. No such
      check which is mailed shall be malled to an address in the United States. nor shall any
      transfer made in lieu of payment by check be made to an account maintained by the payee
      with a bank in the United States. Neither the Fiscal Agent nor any Paying Agent shall. and
      the Issuer shall not instruct the Fiscal Agent or any Paying Agent to, make such payments
      on bearer Securities of a Series at an office or agency located in the United States unless
      such payments are to be made in U.S. dollars and payment of the full amount so payable at
      each office of the Fiscal Agent and of each Paying Agent outside the United States
      appointed and maintained by the Issuer in accordance with Section 2 hereof is Illegal or
      effectively precluded by reason of the imposition of exchange controls or other similar
      restrictions on the full payment or receipt of such amount in U.S. dollars.

           If the Fiscal Agent pays out any amount due under the terms of the Securities on or
      after the due date thereof on the assumption that the corresponding payment for such
      amount has been or will be made by the Issuer and such payment has in fact not been so
      made by the Issuer prior to the time the Fiscal Agent makes such payment, then the Issuer
      shall on demand reimburse the Fiscal Agent for the relevant amount, and pay interest to the
      Fiscal Agent on such amount from the date on which such amount is paid out to the date of
      reimbursement at a rate per annum equal to the cost (to the Fiscal Agent) of funding the
      amount paid out, as certified by the Fiscal Agent and expressed as a rate per annum.

           Interest on Securities of a Series in which the rate of interest is a fixed rate will be
      computed on a basis of a 360-day year of twelve 30-day months unless otherwise provided
      in the Authorization relating to Securities of such Series.




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 253 of 302 PageID #: 315
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            (bl Wjthbolding; Payment of Addjtjonol Amounts. In respect of the Securities of each
      Series issued hereunder. at least 10 days prior to the first date of payment of interest
      (which, for purposes of this subsection tb), shall include accrued original Issue discount) on
      the Securities of such Series and at least 10 days prior to each date, if any, of payment of
      principal (and premium, if any) or interest or other amount thereafter if there has been any
      change with respect to the matters set forth in the below-mentioned certificate, the Issuer
      will furnish the Fiscal Agent and each other Paying Agent with a certificate of an Authorized
      Official instructing the Fiscal Agent and each other Paying Agent whether such payment of
      principal of land premium, if any) or any interest on such Securities shall be made without
      deduction or withholding for or on account of any tax, duty, assessment or other
      governmental charge. If any such deduction or withholding shall be required, then such cer-
      tificate shall specify, by country, the amount, if. any, required to be withheld or deducted on
      such payment to holders of such Securities or any coupon appenaining thereto, and the
      Issuer will pay to the Fisc~I Agent (or, if applicable, directly to a Paying Agent or Agents)
      additional amounts, If any, required by the terms of such Secu~ties to be paid. The Issuer
      agrees to indemnify the Fiscal Agent and each other Payin~ge~t for, and to hold them
      harmless against, any loss, liability or expense reason~~          rre~ without negligence or
      bad faith on their part arising out of or in connaeA•Wltti a ons taken or omitted by them
      in reliance on any cenificate furnished purJuat
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           Cc) CanceHation. All Securities, together       ~all coupons appertaining thereto.
      delivered to the Flscal Agent (or any other Agent appointed by the Issuer pursuant to
      Section 2 hereof) for payment, redemption, registration of transfer or exchange or for credit
      against any sinking fund payment as provided herein or in the Securities and all coupons
      peld through the application of interest Installments (other then Securities and coupons
      delivered to the Fiscal Agent}, shall be marked •cancelled• and, in the case of any other
      such Agent, forwarded to the Fiscal Agent by the Paying or Transfer Agent to which they
      are delivered. If any Security shall have been authenticated and delivered hereunder but
      never issued or sold by the Issuer thereof. the Issuer may deliver such Security to the Fiscal
      Agent for cancellation together with a written statement stating that such Security has
      never been issued and sold by the Issuer. All such Securities and coupons shall be cancelled
      and destroyed by the Fiscal Agent or such other person as may be jointly designated by the
      Issuer and the Fiscal Agent, and the Rscal Agent or such other person shall thereupon
      furnish certificates of such destruction to the Issuer.

           (d) lostryctjons of the Republic to Banco Central-       The Issuer hereby irrevocably
      and unconditionally agrees that each payment to be made by the Issuer under this
      Agreement and the Securities shall be effected through Banco Central, and to that eft_ect in
      connection with the issuance of each Series of Securities it shall instruct Banco Central to
      remit (as and to the extent provided in Section 2(a) of the form Banco Central Undertaking
      to be delivered in connection with each issuance of Securities, the form of which is
      attached hereto as Exhibit F) an amount equal to each payment of principal, interest
      (including Additional Amounts), or other amounts required to be paid by the Issuer for the
      benefit of the holders and the Paying Agents to the person, at the time and place. and in
      tha manner provided In this Agreement and the Securities. In this regard, the Issuer
      irrevocably-and unconditionallv agrees to deposit, from time to time, at Banco Central, in
      the accounts specially established for this purpose, the Bolivars required for each payment
      prior to the date such payment is required to be made and to deliver, in a timely manner, to
      Banco Central the authorizations (the ·orders·) necessary for it to effect the required
      conversion of Bolivars into the currencv in which the Securities are denominated. The



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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 254 of 302 PageID #: 316
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     Issuer agrees that no such deposit of funds with Banco Central shall be deemed to
     constitute payment to any holder or any Paying Agent of any amount payable to such
     holder or Paying Agent end funher agrees that nothing in this Section or in the Banco
     Central Undertaking shall excuse any failure by the Issuer to pay any amount on the date
     such payment is required to be made by the Issuer by the terms of this Agreement and the
     Securities or otherwise affect an any way any of the rights of any holders or any Paying
     Agent. The Issuer agrees that, In the event that any payment required to be made by the
     Issuer hereunder or under any Security is not effected through Banco Central et or prior to
     the time such payment is required to be made by the terms of this Agreement and the
     Securities, it will effect such payment In accordance with the terms of this Section or the
     relevant provisions of such Security.

          (e) References to Include Additional Amounts. All references in this Agreement to
     principal, premium and Interest and other amounts payable in respect of Securities of a
     Series shall, unless the context otherwise requires, be deemed lo mean and Include all
     additional amounts, if any.. payable in respect thereof as ~tjfprtn_ herein or in the text of
     the Securities of such Series.                      ~~ ~ )
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          6. Exchange pt sopurjties.                    V:::::!) \....,'
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         (al General- The Fiscal Agent, or its duly authorized agent, is hereby authorized from
     time to time· in accordance with and subject to the provisions of the Securities and of this
     Agreement !including Section 3 hereof and this Section 5) to authenticate and deliver:

             (I)      Securities of a Series in exchange for or in lieu of Securities of such Series of
                      like tenor and form which become mutilated, defaced, destroyed, stolen or
                      lost;

             (ii)     registered Securities of a Series of authorized denominations in exchange for a
                      like aggregate principal amount of registered Securities of such Series of like
                      tenor and form;

              Uiil    if bearer Securities of a Series are authorized to be issued, registered
                      Securities of such Series in exchange for a like aggregate principal amount of
                      bearer Securities of such Series of like tenor and form;

              (Iv)    if Securities of a Series are subject to panlal redemption, Securities of a
                      Series of authorized denominations in exchange for the unredeemed portion of
                      any Securities of such Series redeemed in part only; and

              ('11)   if specifically so provided by the provisions of the Securities of a Series,
                      Securities of such Series in exchange for Securities of another Serles:

      provided. however. that any definitive registered global Security shall be exchangeable only
      as provided in Sections Sfa)(i), 5(a)(ivl and Sfcl and any definitive bearer global Securities
      delivered to a Common Depositary shall be exchangeable only as provided in Sections
      5(a)(i), 5fa)fiv} and 51d).

           lbl Bearer and Registered Securjtjes. Bearer Securities may not be issued in exchange
      for registered Securities. All bearer Securities of a Serles surrendere~ for exchange for other



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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 255 of 302 PageID #: 317
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   Securities of such Series shall have attached thereto all unmatured coupons appenaining
   thereto. Unless otherwise provided in the applicable Authorization, bearer Securities shall be
   dated the date from which any interest on the Securities of such Series first begins to
   accrue. Registered Securities shall be dated the date of their authentication by the Fiscal
   Agent. Notwithstanding anything to the contrary herein contained, such Security
   authenticated and delivered upon any transfer or exchange for or in lieu of the whole or any
   pan of any Security shall carry all the rights if any, to interest accrued and unpaid and to
   accrue which were carried by the whole or such part of such Security. Each new Security,
   If a registered Security, shall be so dated, and, if a bearer Security, shall have attached
   thereto such coupons, that neither gain nor loss in Interest shall result from such transfer or
   exchange.

        (c, Definitive Registered Global Securjtjes. This Section 5(c) shall apply only to
   definitive registered global Securities deposited with a U.S. Depositary pursuant to
   Section 1(f)(l). unless othBJWise provided In the Authorization.

        A definitive registered global Security shall be exchangeable for definitive registered
   Securities of such Series if (x• the U.S. Depositary with respect to such definitive registered
   global Security notifies the Issuer that lt Is unwilling or unable to continue as U.S. Deposi-
   tary for all global Securities or if at any time such U.S. Depositary ceases to be u clearing
   agency registered under the U.S. Securities Exchange Act of 1934, as amended, and a
   successor U.S. Depositary is not appointed by the lssuer w~n ninety days, (y} the Issuer
   delivers to the Fiscal Agent a written notice executed b~uttiqrized Officials that all
   definitive registered 'global Securities shall be excha~ol~or l'tl an Event of Default (as
   defined in the terrns and conditions of such Sec~ tiesl has occurred and is continuing with
   respect to suehsecuntIes.
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         Unless the definitive registered global Se.curitY is presented by an authorized
    representative of the U.S. Depositary to the lssuer or its agent for registration of transfer,
    exchange or payment, and any certificate Issued is registered in the name of a nominee of
    the U.S. Depositary and any payment is made to such nominee, any transfer, pledge or
    other use of the definitive registered global Security for value or otherwise shall be wrongful
    since the registered owner of the definitive registered global Security, the nomi!'ee ot the
    U.S. Depositary. has an interest In the definitive registered global Security.

         If the beneficial owners of interests in a definitive registered global Security are entitled
    to exchange Interests for definitive registered Securities of such Series of another
    authorized form, as provided in the second preceding paragraph, then without unnecessary
    delay but in any event not later than the earliest date on which such interests may be so
    exchanged the Issuer shall deliver to the Fiscal Agent definitive registered Securities in
    aggregate principal or face amount equal to the principal or face amount of such definitive
    registered global Security executed by the Issuer. On or after the earliest date on which
    such interests may be so exchanged, such definitive registered global Security shall be
    surrendered by the U.S. Depositary to the Fiscal Agent, as the Issuer's agent for such
    purpose, to be exchanged, in whole or from time to time In part, for definitive registered
    Securities without charge and the Fiscal Agent shall authenticate and deliver. in exchange
    for each portion of such definitive registered global Security. an equal aggregate principal
    amount of definitive registered Securities of the sarne Series ot authorized denominations
    and of like tenor as the portion of such definitive registered global Security to be
    exchanged; groyided. however, that no such exchanges may occur during a period



    OC_LAN0I: 91108.4                               -14•
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 256 of 302 PageID #: 318
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     beginning at the opening of business 15 days before any selection of Securities of such
     Series and like tenor to be redeemed and ending on the relevant date of redemption. Any
     definitive registered global Security that is exchangeable pursuant to this Section 5(c) shall
     be exchangeable for definitive registered Securities issuable in the denominations specified
     in the applicable Authorization and registered in such names as the U.S. Depositary that ls
     the holder of such definitive registered global Security shalt direct. If a definitive registered
     SectJritY is issued in exchange for any portion of a definitive registered global Securitv after
     the close of business at the office or agency where such exchange occurs on any record
     date and before the opening of business at such office or agency on the relevant interest
     payment date, interest will not be payable on such interesijpy~nt date in respect of such
     definitive registered Security, but will be payable on s~~· res\ payment date only to the
     person to whom interest in respect of such portiop-ot ·su.¢' finiiive registered global
     Security is payable,                           (r,, ~ 0           .

          The U.S. Depositary may grant proxies e~      therwise authorize any person, including
     Agent Members and persons that may hold interests through Agent Members. to take any
     action which a holder is entitled to take under this· Fiscal Agency Agreement or the
     Securities.

         (d) Definjtjye Baarer Global securities. This Section S(cJ shall apply only to definitive
     bearer global Securities delivered to a Common Depositary for EUROCLEAR or CEDEL
     pursuant to Section 1 (f)(ii), unless otherwise provided in an Authorization.

           If the beneficial owners of interests in a definitive bearer global Security are entitled to
     exchange such interests for definitive bearer Securities or definitive registered Securities of
     such Series, as provided in the Authorization, then without unnecessary delay but In any
     event not later· than the fifteenth day prior to the earliest date on which such interests may
     be so exchanged the Issuer shall deliver to the Fiscal Agent definitive bearer Securities
     and/or definitive registered Securities in aggregate principal amouni equal to the principal
     amount of such definitive bearer global Security. On or after the earliest date (If anvl on
     which such Interests may be so exchanged, such definitive bearer global Security shall be
     surrendered by the Common Depositary to the Fiscal Agent outside the United States, as
     the Issuer's agent for such purpose, to be exchanged, in whole or from time to time In part,
     for definitive bearer Securities and/or definitive registered Securities without charge and the
     Fiscal Agent shall authenticate and deliver, in exchange for each portion of such definitive
     bearer global Securitv, an equal aggregate principal amount of definitive bearer Securities
     and/or definitive registered Securities of the same Series of authorized denominations and of
     like tenor as the portion of such definitive bearer global Security In such combination
     thereof as shall be specified by the beneficial owner thereof and communicated to the Fiscal
     Agent through EUROCLEAR or CEDEL, and, if in registered form, registered in such name as
     may be specified by the beneficial owner thereof and so communicated to the Fiscal Agent;
     provided. however, that no such exchanges may occur during a period beginning at the
     opening of business 15 days before any selection of Securities of that Series and like tenor
     to be redeemed and ending on the relevant date of redemption; and provided. funhec. that
     no definitive bearer Security delivered in exchange for a portion of a definitive bearer global
     Security shall be mailed or otherwise delivered to any location in the United States. If a
     definitive registered Security is issued in exchange for any portion of a definitive bearer
     global Security after the close of business at the office or agency where such exchange
     occurs on any record date and before the opening of business at such office or agency on
     the relevant interest payment date, interest will not be payable on such Interest payment



      OC_LAN0I : 91108.4                            - l 5•
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 257 of 302 PageID #: 319
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       date in respect of such registered Security, but will be payable on such Interest payment
       date only to the person to whom interest in respect of such portion of such definitive bearer
       global Security is payable.

            So long as the Common Depositary is the registered owner of a definitive bearer global
       Security, such Common Depositary, as the case may be, will be considered the sole owner
       or holder of the Securities represented by such definitive bearer global Security for the
       purposes of receiving paymerit on the Securities, receiving notices and for all other
       purposes under thl s Agreement and the definitive bearer global Security. The Common
       Depositary may grant proxies and otherwise authorize any person, including EUROCLEAR
       and CEoa and beneficial owners of the Securities, to take any action which a holder is
       entitled to take under this Fiscal Agency Agreement or the 'Securities. Beneficial Interests in
       a definitive bearer global Security will be evidenced o~~. &{'d transfers thereof will be
       effected only through, records maintained by EUROC"~and>CEOEL.

            6.   Beaium:.                           ©<CJ\)
             The Fiscal Agent, as agent of the Issuer for this purpose, shalt maintain at its corporate
        trust office In The City of New York, a register for each Series of Securities issued In whole
        or in pan In registered form for the registration of Securities of such Series and the
        registration of transfers and .exchanges thereof. Upon presentation for the purpose of
        registration or transfer or exchange at the said office of the Fiscal Agent of any registered
        Security of such Series, accompanied by a written instrument of transfer or exchange in the
        form approved by the Issuer and the Fiscal Agent flt being understood that, until notice to
        the contrary is given to holders of Securities of a Series, the Issuer and the Fiscal Agent
        shall each be deemed to have approved the form of Instrument of transfer, if any, printed
        on any definitive registered Security of such Series). executed by the registered holder, in
        person or by such holder's attorney thereunto duly authorized in writing, such Security shall
        be transferred upon the register for the Securities of such Series, and a new registered
        Security of such Series and of like tenor shall be authenticated and issued in the name of
        the transferee; provided, however, that registered Securities may be delivered for the
      · purpose of registration of transfer by mail at the risk and expense of the transferor.
        Transfers and exchanges of Securities of a Series shall be subject to such restrictions as
        shall be set forth in the text of the Securities of suc:h Series and such reasonable regulations
        as may be prescribed by the Issuer. Successive registrations and registrations of transfers
        as aforesaid may be made from time to time as desired, and each such registration shall be
        noted on the Se~urity register. No service charge shall be made for any registration, regis-
        tration of transfer or exchange of the Securities of a Series unless otherwise provided by
        the provisions of the Securities of such Series, but, except as otherwise provided herein
        with respect ~o the exchange of temporary securities for definitive securities, the Fiscal
        Agent (and any Transfer Agent or authenticating agent appointed pursuant to Section 2 or
        3 hereof. respectively) may require payment of a sum sufficient to cover any stamp or other
        tax or governmental charge In connection therewith and any other amounts required to be
        paid by the provisions of the Securities of such Series. ·

            Any Transfer Agent appointed pursuant to Section 2 hereof shall provide to the Fiscal
       Agent such information as the Fiscal Agent may reasonably require in connection with the
       delivery by such Transfer Agent of Securities in exchange for other Securities.




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 258 of 302 PageID #: 320
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           Neither the Fiscal Agent nor any Transfer Agent shall be required to make registrations
      of transfer or exchange of Securities of a Series during any periods set forth in the text of
      the Securities of such Series in which such transfer or exchange is prohibited.

           7.   s;nkjnq Fund ood Oot;onaf Redemption.
           The Issuer hereby authorizes and directs the Fiscal Agent to administer the sinking fund
      with respect to the Securities of any Series having a mandatory sinking fund or similar
      provision in accordance with the provisions set forth in the text of the Securities of such
      Series. In the event that the provisions of the Securities of a Series permit the Issuer to
      redeam Securities of such Series at its option, the Issuer shall, unless otherwise provided in
      the text of the Securities of such Series. give written notice to the Fiscal Agent of the
      principal amount of Securities of such Series to be so redeemed not less than 60 days prior
      to the optional redemption date and, if earlier, no later than 15 days prior to the date on
      which notice is required to be given to holders of the Securities of such Series pursuant to
      the following sentence (or such shorter period as may be acceptable to the Fiscal Agent).
      All notices of redemption of the Securities of a Series shall be made In the name and at the
      expense of the Issuer and shall be given in accordance with the provisions applicable
      thereto set forth in the Authorization relating to or the text of the Securities of such Series.
      In the event that the provisions set forth in the Authorization or in the text of the Securities
      of a Series permit the Issuer to redeem Securities of such Series only upon the occurrence
      or satisfaction of a condition or conditions precedent thereto, prior to the giving of notice of
      redemption of the Securities of such Serles, the Issuer shall deliver to the Fiscal Agent a
      certificate of an Authorized Official stating that the Issuer is entitled tp effect such redemp-
      tion and setting forth in reasonable detail a statement of facts showing that auch condition
      or conditions precedent have occurred or been satisfied. In the event that the provisions of
      the Securities of a Series permit the holders thereof, at their option, to cause the Issuer to
      redeem such Securities, the Issuer shall, as contemplated by Section 4 hereof, arrange with
      the Fiscal Agent (and each Paying Agent for the purp'bse. if applicable) for the provision of
      funds sufficient to make payments to such holde          'r pect of such redemptions. and the
      Fiscal Agent shall provide to the Issuer from  ~         i~reasonably detailed information as
      to such redemptions.                        ~
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           Whenever less than all the Secur~       o a Series at any time outstanding are to be
      redeemed at the option of the Issuer, tJie particular Securities of such Series to be
      redeemed shall be selected not more than 60 days prior to the redemption date by the
      Fiscal Agent from the Outstanding Securities of such Series not previously called for
      redemption, in the case of bearer Securities of such Series, individually by lot (unless all
      bearer Securities are subject to such redemption) and. in the case of registered Securities of
      such Series. by such usual method as the Fiscal Agent shall deem fair and appropriate,
      which method may provide for the selection for redemption of portions of the principal
      amount of registered Securities of such Series the minimum denominations of which, if any.
      will be specified in the text of the Securities of such Series. Upon any partial redemption of
      a registered Security of a Series, the Fiscal Agent shall authenticate and deliver in exchange
      therefor one or more registered Securities of such Series, of any authorized denomination
      and like tenor as requested by the holder thereof, in aggregate principal amount equal to the
      unredeemed portion of the principal of such Security.




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 259 of 302 PageID #: 321
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         a. conditions of fiscal Agant's ObHgstjons.
         The Fiscal Agent accepts its obligations set forth in this Agreement upon the terms and
     conditions hereof, including the following, to all of which the Issuer agrees and to all of
     which the rights of holders from time to time of Securities a,e subject:

         (al Comoensatjon and Indemnltv. The Fiscal Agent shall be entitled to compensation
             as agreed In writing with the Issuer for alt services rendered by it, and the Issuer
                egrees promptly to pay such compensation and to reimburse the Fiscal Agent for
                the out-of-pocket expenses (Including counsel fees) reasonably incurred by It in
                connection with its services hereunder after receipt of an itemized statement
                detailing such expenses. The Issuer also agrees to indemnify the Fiscal Agent for.
                and to hold it harmless against. any loss, damage, claim, liability or expense.
                including the reasonable and documented fees and expenses of counsel. incurred
                without gross negligence or bad faith, arising OUN>f or In connection with its
                acting as Fiscal Agent hereunder. as well as ~hreasonable and documented costs
                and eXl)enses of defending against anv cfaim        iab~ty in the premises. The
                obligations of the Issuer under this Section 8(a) hall survive payment of all the
                Securities or the resignation or. r   J.i1 of the Fiscal Agent.
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         (bl    Agency.    In acting under this Agr~ement and in connection with the Securities. the
                Fiscal Agent is acting solely as agent of the Issuer and does not assume any
                responsibility for the correctness of the recitals in the Securities {except for the
                correctness of the statement in Its certificate of authentication thereon) or any
                obligation or relationship of agency or trust, for or with any of the owners or
                holders of the Securities or coupons, except that all funds held by the Fiscal Agent
                for the payment of principal of (and p·r emium, if any) and any interest on the
                Securities shall be held in trust for such owners or holders, as the case may be. es
                set forth herein and in the Securities; provided. however. thet monies held in
                respect of the Securities of a Series remaining unclaimed at the end of two years
                after the principal of all the Securities of such Series (and premium. If any) or such
                interest. as the case may be, shall have become due and payable !whether at
                maturiry or otherwise) end monies sufficient therefor shall have been duly made
                evallable for payment shall, together with any interes, made available for payment
                thereon, be repaid to the Issuer, as provided and in the manner set forth in the
                Securities of such Series. Upon such repayment. the aforesaid trust with respect
                to the Securities of such Series shall terminate and all liability of the Fiscal Agent
                and Paying Agents with respect to such funds shall thereupon cease.

          fc)   Advice of Counsel. The Fiscal Agent and any Paying Agent or. Transfer Agent
                appointed by the Issuer pursuant to Section 2 hereof may consult with their
                respective counsel or other counsel satisfactory to them. and the written opinion
                of such counsel shall be full and complete authorization and protection in respect
                of anv action taken or suffered by them hereunder in good faith and without gross
                negligence and in accordance with such opinion.

          Id,   Reliance.    The Fiscal Agent and any Paying Agent or Transfer Agent appointed by
                the Issuer pursuant to Section 2 hereof each shall be protected and shall incur no
                liability for or in respect of any action taken or thing suffered by it In reliance upon
                any Security or coupon, Authorization, notice, direction, consent, certificate,



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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 260 of 302 PageID #: 322
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               affidavit, statement, or other paper or document believed by it. in good faith and
               without negligence, to be genuine and to have been passed or signed by the
               proper parties.

         (e)   lnten,u in Securities, etc,The Rscal Agent. any Paying Agent or Transfer Agent
               appointed by the Issuer pursuant to Section 2 hereof and their respective officers,
               directors and employees may become the owners of, or acquire any interest In,
               any Securities or coupons, with the same rights that they would have if they were
               not the Fiscal Agent, such Paying Agent or Transfer Agent or such other person,
               and may engage or b9 imerested in any financial or other transaction with the
               Issuer, and may act as depositary, trustee or agent for, holders of Securities or
               coupons or other obligations of the Issuer, as freely as if they were not the Fiscal
               Agent, such Paying Agent or Transfer Agent or such qther person.

         (f)   fipn-Uabjffty for Interest. Except as expressly provided for in this Agreement, and
               subject to env agreement between the Issuer and the Fiscal Agent to the contrary,
               the Fiscal Agent shall not be under any liability for ipt•t .on monies at any time
               received by it pursuant to any of the provisions oflhl~gr~ent or of the
               Securities.                                  ~ .,

         (g)   Certifications. Whenever in the admlni~t'i'on of this Agreement the Fiscal Agent
               shaN deem it necessary or desirable that,a matter of fact be proved or established
               prior to taking, suffering or omitting any action hereunder, the Fiscal Agent (unless
               other evidence be herein specifically prescribed) may, in the absence of bad faith
               or gross negligence on its pert, rely upon a certificate signed by any person
               authorized by or pursuant to an Authorization and delivered to the Fiscal Agent as
               to such matter of fact.

         (h)   No lrnPlied ObHgatjgns. The duties and obligations of the Fiscal Agent shell be
               determined sotely by the express provisions of this Agreement, and the Fiscal
               Agent shall not be liable except for the performance of such duties and obligations
               as are specifically set forth in this Agreement, and no implied covenants or
               obligations shall be read into this Agreement against the Fiscal Agent: Nothing in
               this Agreement shall be construed to require the Fiscal Agent to advance or
               expend its own funds; Q[Ovjded. howevec, that the Fiscal Agent may not refuse or
               fail to perform any of its duties hereunder solely as a result of nonpayment by the
               Issuer of the Fiscal Agent's fees.

         s. Resjgnetjon and Appointment of successor.
         (a) Fi~cal Agent and Paying Agent. The Issuer agrees, for the benefit of the holders
    from time to time of the Securities of a Series, that there shall at all times be a Fi,cal Agent
    hereunder which shall be a bank or trust company organized and doing business under the
    laws of the United States of America or the State of New York, in good standing and
    having an established place of business In The City of New York, and authorized under such
    laws to exercise corporate trust powers, and, to the extent required by the provisions of
    bearer Securities of such Series, if any, unless payments are permitted by the provisions of
    the fourth paragraph of Section 4(a) hereof to be made in the United States, a Paying Agent
    outside the United States for payment of principal of (and premium, if any) and any interest
    on such bearer Securities, until all the Securities of such Series authenticated and delivered



     OC_LAN0I: 91101.4
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 261 of 302 PageID #: 323
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      hereunder (I) shall have been delivered to the Fiscal Agent for cancellation or (ii) become
      due and payable and monies sufficient to pay the principal of (and premium, if any) and any
      interest on the Securities of such Series shall have been made available for payment and
      either paid or returned to the Issuer as provided herein and in such Securities.

           (bt Bosjqnatjon and BemovaJ. The Fiscal Agent may at any time resign by giving
      written notice to the Issuer of such intention on its part, specifying the date on which its
      dssired resignation shall become effective, provided that such date shall not be less than
      60 days from the date on which such notice is given, unless the Issuer agrees to accept
      shorter notice. The Fiscal Agent hereunder may be removed at any time by the filing with it
      of en instrument in writing signed on behalf of the Issuer and specifying such removal and
      the date when It shall become effective. Notwithstanding the dates of effectiveness of
      resignation or remo\fal, as the case may be, to be specified in accordance with the
      preceding sentences, such resignation or removal shall take effect only upon the appoint-
      ment by the Issuer, as hereinafter provided. of a successor Fiscal Agent (which, to qualify
      as such, shall for all purposes hereunder be a bank or trust company organized and doing
      business under the laws of the United States of America or of the State of New York, in
      good standing and having and acting through an established place of business in The City
      of New York, and authorized under such laws to exercise corporate trust powerst and the
      acceptance of such appointment by such successor Fiscal Agent. Upon its resignation or
      removal, the Fiscal Agent shall be entitled to payment by the Issuer pursuant to Section 8
      hereof of compensation for services rendered and reimbursement of out-of-pocket expenses
      incurred hereunder after receipt of an itemized statemeit     ~iling such expenses. If no
      successor Fiscal Agent is appointed and has accepted           ~ointment within 90 days of
      such resignation or removal. the Fiscal Agent may peffi·       ~Jurt of proper jurisdiction to
      appoint a successor Fiscal Agent.                 r ,  0
                                                 . r?.~
          Cc)   Successors.     In case at any time th@.:f,scal Agent or any Paying Agent in respect
      of the Securities of a Series (if such Paying Agent is the only Paying Agent located in a
      place where, by the terms of the Securities of such Series or this Agreement. the Issuer is
      required to maintain a Paying Agent) shall resign, or shall be removed, or shall become
      incapable of acting, or shall be adjudged bankrupt or insolvent, or shall file a voluntary
      petition in bankruptcy or make an assignment for the benefit of its creditors or consent to
      the appointment of a receiver of all or any substantial part of its property, or shall admit in
      writing its inability to pay or meet its debts as they severally mature, or if a receiver of It or
      of all or any substantial part of its property shall be appointed, or if an order of any court
      shall be entered approving any petition filed by or against it under the provisions of
      applicable receivership, bankruptcy, insolvency,.reorganization or other similar legislation, or
      If a receiver of it or its property shall be appointed, or If any public officer shall take charge
      or control of it or of its property or affairs. tor the purpose of rehabilitation, conservation or
      liquidation, a successor Fiscal Agent or Paying Agent, as the case may be, qualified as
      aforesaid, shall be appointed by the Issuer by an instrument in writing, filed with the
      successor Fiscal Agent or Paying Agent, as the case may be, and the predecessor Fiscal
      Agent or Paying Agent, as the case may be. Upon the.appointment as aforesaid of a
      successor Fiscal Agent or Paying Agent, as the case may be, end acceptance by such
      successor t>f such app0intment, the Fiscal Agent or Paying Agent, as the case may be, so
      succeeded shall cease to be Fiscal Agent or Paving Agent, as the case may be, hereunder.
      If no successor Fiscal Agent or other Paying Agent, as the case may be, shall have been so
      appointed by the Issuer and shall have accepted appointment as hereinafter provided, and,
      in the case of such other Paying Agent, if such other Paying Agent is the only Paying Agent



      OC_LAN0I; 91108 4                              -20·
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 262 of 302 PageID #: 324
                           (                                          (

     located In a place where, by the terms of the Securities of a Series or this Agreement, the
     Issuer is required to maintain a Paying Agent, then any holder of a Security who has been a
     bona fide holder of a Security for at least six months Cwhich Security, in the case of such
     other Paying Agent. is of the Series referred to in this sentence), on behalf of himself and all
     others similarly situated, or the Fiscal Agent mav petition any court of competent
     jurisdiction for the appointment of a successor agent; prpvided that the Issuer may, but
     shall not be required to, appear in any proceeding with respect to such petition: and
     proyjded. further, that (I) If the Issuer elects not to appear in such proceeding, such election
     shall constitute an irrevocable waiver of its right to contest in any forum by any means the
     determinations made in such proceeding and (ii) if the Issuer etects to appear in any such
     proceeding, such appearance shall not constitute a waiver of immunitv the Issuer may have
     or a submission to jurisdiction for purposes of any cross-claim, counterclaim. action, lawsuit
     or process. The Issuer shell give prompt written notice to each other Paying Agent of the
     appointment of a successor Fiscal Agent.                           ·

          (d) Acknowledgment. Any successor Fiscal Agent appointed hereunder shall execute.
     acknowledge and deliver to its predecessor and to the Issuer an instrument accepting such
     appointment hereunder, and thereupon such successor Fiscal Agent, without any further
     act, deed or conveyance, shall become vested with all the authority, rights, powers, trusts,
     Immunities, duties and obligations of such predecessor with like effect as if originally named
     as Fiscal Agent hereunder, and such predecessor, upon payment of its compensation and
     reimbursement of its disbursements then unpaid, shall there~f    pn' become obligated to
     transfer, deliver and pay over, and such successor Fisc~&::-A 'ii'~ sh~II be entitled to receive,

     predecessor as Fiscal Agent hereunder.        ·  ©V
     all monies, securities, books, records or other property on deposit with or held by such


          (et Merger. ConsoHdetjon. etc. Anv corpQ.ration into which the Fiscal Agent hereunder
     may be merged, or any corporation resulting from any merger or consolidation to which the
     Fiscal Agent shall be a party, or anv corporation to which the Fiscal Agent shall sell or
     otherwise transfer all or substantially all the assets and business of the Fiscal Agent,
     provided that it shall be qualified as aforesaid, shall be the successor Fiscal Agent under this
     Agreement without the execution or filing of any paper or any funher act on the pan of any
     of the parties hereto.

          ffl Separate Fiscal Agents. The Issuer may appoint a separate fiscal agent for the
     Securities of any Series in addition to or In lieu of the Fiscal Agent or any other fiscal agent
     which is acting as such agent for the Securities of any other Series. Any such separate
     fiscal agent shall be a bank or trust company organized and doing business under the laws
     o1 the United States of America or of the State of New York, in good standing and having
     and acting through an established piece of business in The City of New-. York, and
     authorized under such laws to exercise corporate trust powers. Any separate fiscal agent
     shall enter into an agreement with the Issuer under which such fiscal agent shall agree to
     act on substantially the terms applicable to the Fiscal Agent hereunder.

          1o. PaymenLQf Taxes.

          The Issuer will pay all stamp taxes and other duties, if any, which may be imposed by
     the Republic of Venezuela, the United States of America or anv political subdivision thereof
     or taxing authority of or In the foregoing with respect to this Agreement or the issuance of
     the Securities.



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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 263 of 302 PageID #: 325
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           11.   Meetings and Amendments.
            la) Calljng of Meetjoa, Notice and Quorum. A meeting of holders of Securities of a
      Series may be called at any time and from time to time to make. give or take any request,
      demand, authorization, direction, notice, consent, waiver or other action provided by this
      Agreement or the Securities of such Series to be made, given or taken by holders of Securi·
      ties of such Series or to modify, amend or supplement the terms of the Securities of such
      Series or this Agreement as hereinafter provided. The Issuer may at any time call a meeting
      of holders of Securities of any Series for any such purpose to be held at such time and at
      such place as the Issuer shall determine. Notice of every meeting of holders of Securities of
      any Series. saning forth the time and the place of such meeting and In general terms the
      action proposed to be taken at such meeting, shall be given as provided in the terms of the
      Securities of such Series, not less than 30 nor more than 60 days prior to the date fixed for
      the meeting (provided that, In the case of any meeting to be reconvened after adjournment
      for lack of a quorum, such notice shall be so given not less than 10 nor more than 60 days
      prior to the date fixed for such meeting). In case at any time the Issuer or the holders of at
      least 10% in aggregate principal amount of the Outstanding Securities (as defined in
      subsection (d) of this Section 11) of a Series shall, after the occurrence and during the
      continuance of any default under the Securities of such Series, hcl'(_e requested the Fiscal
      Agent to call a meeting of the holders of Securities of such  Sai
      in the first sentence of this Section 11 (a), by written request)
                                                                            fQ[ any purpose specified
                                                                          ing';forth in reasonable
      detail the action proposed to be taken at such meeting-;-the .Fisca Agent shall call such
      meeting for such purposes by giving notice there© ~           '--'

           To be entitled to vote at any meeting of holders of Securities of any Series, a person
      shall be a holder of Outstanding Securities of such Series or a person duly appointed by an
      instrument in writing as proxy for such a holder. The persons entitled to vote a majority in
      principal amount of the Outstanding Securities of such Series shall constitute a quorum. In
      the absence of a quorum within 30 minutes of the time appointed tor any such meeting, the
      meeting shall, If convened at the request of the holders, be dissolved. In any other case, the
      meeting may be adjourned for a period of not less than 10 days as determined by the
      chairman of the meeting prior to the adjournment of such meeting. tn the absence of a
      quorum at any such adjourned meeting, such adjourned meeting may be further adjourned
      for a period of not less than 10 days as determined by the chairman of the meeting prior to
      the adjournment of such adjourned meeting. Notice of the reconvening of any adjourned
      meeting shall be given as provided in the preceding paragraph of this subsection (al, except
      that such notice need be given only once. Notice of reconvening of an adjourned meeting
      shall state expressly the percentage of the principal amount of the Outstanding Securities
      which shall constitute a quorum. Subject to the foregoing, at the reconvening of any
      meeting adjourned for a lack of a quorum, the persons entitled to vote 25% in principal
      amount of the Outstandir,g Securities of any Series shall constitute a quorum for the taking
      of any action set forth in the notice of the original meeting. Any meeting of holders of
      Securities of such Series at which a quorum is present may be adjourned from time to time
       by vote of a majority in principal amount of the Outstanding Securities represented at the
      meeting, and the meeting may be held as so adjourned without further notice.

          The Fiscal Agent may make such reasonable and customary regulations consistent
      herewith as it shall deem advisable for any meeting of holders of Securities of such Series
      with respect to the proof of the holding of Securities, the adjournment and chairmanship of
      such meeting. the appointment of proxies in respect of holders of Securities of such Serias,



      OC_LAN0I: 91 108.4
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 264 of 302 PageID #: 326
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      the record date for determining the registered holders of Securities of such Series who are
      entitled to vote at such meeting (which date shall be designated by the Rscal Agent and set
      forth in the nodce calling such meeting hereinabove referred to and which shall be not le$S
      than 15 nor more than 60 days prior to such meeting (provided that nothing in this
      paragraph shall be conStrued to render ineffective any action taken by holders of the
      requisite principal amount of Outstanding Securities of such Series on the dote such action
      is taken), the appointment and duties of inspectors of votes, the submission and examina-
      tion of proxies, C9rtificates and other evidence of the right to vote, and such other matters
      concerning the conduct of the meeting as it shall deem appropriate. The Fiscal Agent shall,
      bv an instrument in writing, appoint a temporary chairman of the meeting, unless the
      meeting shall have been called bv the Issuer or the holders of Securities of such Series as
      provided above, in which case the Issuer or the holders of Securities of such Series calling
      the meeting, as the case may be, shall in like manner appoint a temporary chairman. A
      permanent chairman and a permanent secretary of the meeting shall be elected by vote of
      the persons entitled to vote a majority In principal amount of the Outstanding Securities
      represented and voting at the meeting. The chairr,ian of the meeti~g shaH have no right to
      vote, except as holder of Securities of such Series or proxv-Mcord, at least in duplicate,
      of the proceeding of each meeting of holders shall be,,,Rreparyt~and~ne such copy shall be

                                                      (( nv·.,t
      delivered to the Issuer and another to the Fiscal ~ent to be preserved by the· Fiscal Agent.

           (b) Approval- (i1 At anv meeting of holders~ .-securities of anv Series duly called and
      held as specified above, upon the affirmative vote, in person or by proxy thereunto duly
      authorized in writing, of the lesser of (X) a majority in principal amount of the Outstanding
      Securities of such Series or (Y) the holders of not less than 66 2/3% in aggregate principal
      amount of the Securities of such Series then Outstanding represented at such meeting (or
      of such other percentage as may be set forth in the text of the Securities of such Series
      with respect to the action being takent, or (ii) with the written consent of the owners of not
      less than a majority in aggregate principal amount of the Securities of any Series then Out-
      standing tor of such other percentage as may be set forth in the text of the Securities of
      such Series with respect to the action being taken), the Issuer and the Fiscal Agent {and, in
      the case of the Banco Central Undertaking, with the agreement of Banco Central), upon
      agreement between themselves, may modify, amend or supplement the terms of the
      Securities of such Series or, insofar as respects the Securities of such Series, this
      Agreement or the Banco Central Undertaking, in any way, and the holders of Securities of
      such Series may make, take or give any request, demand, authorization, direction, notice,
      consent, waiver or other action provided by this Agreement or the Securities of such Series
      to be made, given or taken by holders of Securities of such Series; provided, however, that
      no such action may, without the consent or affirmative vote of the holder of each Security
      of such Series affected thereby, fA) change the due date for the payment of the principal of
      (or premium, if any) or any installment of interest on any Security of such Series, (B) reduce
      the principal amount of anv Security of such Series, the portion of such principal amount
      which is payable upon acceleration of the maturity of such Security, the interest rate
      thereon· or the premium payable upon redemption thereof, (C) change the coin or currency
      In which payment with respect to interest, premium or principal in respect of Securities of
      such Series is payable, (DI reduce the proportion of the principal amount of Securities of
      such Series the vote or consent of the holders of which is necessary to modify, amend or
      supplement this Agreement, the Banco Central Undertaking or the terms and conditions of
      the Securities of such Series or to make, take or give any request, demand, authorization,
      direction, notice, consent, waiver or other action provided hereby or thereby to be made,
      taken or given, or (El change the obligation of the Issuer to pay Additional Amounts, if any,



      OC_LAN0I : 91108.4                           -23·
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 265 of 302 PageID #: 327
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      pursuant to the Securities of suc:h Series. Any suc:h modification, amendment or supplement
      shall be binding on the holders of Securities of such Series. The Issuer and the Fiscal Agent
      (and. in the case of the Banco Central Undertaking, with the agreement of Banco Central),
      upon agreement between themselves, without the vote or consent of any holder of
      Securities, may modify, amend or supplement this Agreement or the Securities of a Series
      for the purpose of CA) adding to the covenants of the Issuer for the benefit of the holders of
      the Securities of such Serles, (B) surrendering any right or power conferred upon the Issuer,
      (C) securing the Securities of such Series pursuant to the requirements of such Securities or
      otherwise, (DI curing any ambiguity, or curing, correcting or supplementing any defective
      provision thereof or IE) amending this Ag(eement, the B~n     0lentral Undenaking or the
      Securities of such Series In any manner which the lssu        d t Fiscal Agent may
      determine and shall not adversely affect the interest<bf)n     olr of Securities of such
      Series in any material respect.                   (     0
                                                     (?_>0
           It shall not be necessary for the vote· or \huJ1ent of the holders of Securities of a Series
      to approve the particular form of any proposed modification, amendment, supplement,
      request, demand, authorization, direction, notice, consent. waiver or other action, but it
      shall be sufficient if such vote or consent shall approve the substance thereof.

           (cl Binding Nature of Amendments. Notices, Notatjons, etc, Any Instrument given by
      or on behalf of any holder of a Security of a Series in connection with any consent to or
      vote for any such modification, amendment, supplement, request, demand, authorization,
      direction, notice, consent, waiver or other action will be irrevocable once given and will be
      conclusive and binding on all subsequent holders of such Security or any SecuritY Issued
      directly or Indirectly in exchange or substitution therefor or in lieu thereof. Any such
      modification. amendment, supplement, request, demand, authorization, direction, noti~e,
      coi,sent, waiver or other action will be conclusive and binding on all holders of Securities of
      such Series. whether or not they have given such consent or cast such vote or were
      present at any meeting, and whether or not notation of such modification. amendment,
      supplement, request, demand, authorization, direction, notice, consent, waiver or other
      action is made upon the Securities of such Series. Notice of any modification or amendment
      of, supplement to, or request, demand, authorization, direction, notice, consent, waiver or
      other action with respect to the Securities of a Series or this Agreement (other than for
      purposes of curing any ambiguity or of curing, correcting or supplementing any' defective
      provision hereof or thereof) shatl be given to each holder of Securities affected thereby and
      then Outstanding, in all cases as provided In Securities of such Series.

           Securities of a Series authenticated and delivered after the effectiveness of any such
      modification, amendment, supplement, request, demand, authorization, direction, notice,
      consent, waiver or other action may bear a notation in the form approved by the Fiscal
      Agent and the Issuer as to any matter provided for in such modification, amendment.
      supplement, request, demand, authorization, direction, notice, consent. waiver or other
      action taken, mede or given in accordance with Section 11 (b) hereof. New Securities of
      such Series modified to conform, in the opinion of the Fiscal Agent and the Issuer, to any
      such modification, amendment, supplement, request, demand, authorization, direction,
      notice, consent, waiver or other action may be prepared by the Issuer, authenticated by the
      Fiscal Agent (or any authenticating agent appointed pursuant to Section 3 hereof) and
      delivered in exchange for Outstanding Securities of such Series.




      DC_LANOI; 91108.4                              -24-
            Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 266 of 302 PageID #: 328


r.c:   -=                  I
                   fd) •Outstanding• Defined. For purposes of this Agreement and the Securities, any
               Securl authenticated and delivered pursuant to this Agreement shall, as of any date of
               dett~(nation, be deemed to be •Outstanding", except:

                      (i)   Securities theretofore cancelled by the Fisc:al Agent or delivered to the F1SC81
                   Agent for cancellation and not reissued by the Fiscal Agent:

                      (ii)  Sec:urities which have bean caned for redemption in accordance with their
                   terms or which have become due and payable at maturity or otherwise and with
                   respect to which monies sufficient to pay the principal thereof land premium, if anyt
                   and any interest thereon shalt have been paid or duly provided for; or

                     fiii)  Securities of e Series In lieu of or in substitution for which other Securities of
                   such Series shall have been authenticated and delivered pursuant to this Agreement:

              proyided, boweyec, that in detennining whether the holders of the requisite principal amount
              of Outstanding Securities of a Series are present at a meeting of holders of Securities of
              such Series for quorum purposes or have consented to or voted in favor of any request,
              demand, authorization. direction, notice, consent, waiver, amendment. modification or
              supplement hereunder, Ii) the principal amount of a Security which by its terms provides for
              an amount other than the stated face amount to be due and payable upon a declaration of
              acceleration of the maturity thereof or at stated maturity Ca •variable Principal Security")
              that shall be deemed to be Outstanding shall be either (Al the amount of the principal
              thereof that would be due and payable as of the date of such determination upon
              acceleration of the maturity thereof or 18) such other amount not in excess of the stated
              face amount, as may be specified in such Security. (ii) the principal amount of a Security
              denominated in a foreign currency or currencies shall be the U.S. doll1,1r equivalent,
              determined on the date of original issuance of such Security, of the principal amount (or, in
              the case of a Variable Principal Security, the U.S. dollar equivalent, determined on the date
              of original issuance of such Security, of the amo~t determined as provided in (f) above} of
              such Security, and (iii) Securities of such Ser~iwned directly or indirectly by the Issuer
              shell be disregarded and deemed not to be,,Q        nd~g.
                                                          \ r"   I


                   12.   Goyerninq Law.        , (r   CJ     0

                 THIS AGREEMENT SHALL          ae'iIBvERNED av.
                                                      AND INTERPRETED IN ACCORDANCE
              WITH, THE LAWS OF THE STATE OF NEW YORK WITHOUT REGARD TO PRINCIPLES OF
              CONFLICTS OF LAWS. AUTHORIZATION ANO EXECUTION OF THIS AGREEMENT BY THE
              ISSUER, HOWEVER, SHALL BE GOVERNED BY THE LAWS OF THE REPUBLIC OF
               VENEZUELA.

                   13. Ngtig§S.

                   AU notices or communications hereunder, except as herein otherwise specifically
              provided, shall be in writing, shall specify this Agreement by name and date and shall
              identify the Securities to which such notices or communications relate, and if sent to the
              Fiscal Agent shall be delivered, or transmitted by facsimile or registered mail, first class
              postage prepaid, to it et 450 West 33rd Street. 15th Floor, New York, New York 10001 ,
              Facsimile No. (212) 946-8177 or {212) 946-8178, Attention: Global Trust Services,




              DC_LANOI ; 91101.4
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 267 of 302 PageID #: 329
                                                                      (

       International, or if sent to the Issuer shall be delivered or transmitted by hand, facsimile or
       reputable international courier, postage prepaid to it at:

           Ministerio de Hacienda de la Republica de Venezuela
           Oireccion General Sectorial de Finanzar. Publicas
           Esquina de Carmelitas
           Avenida Urdaneta
           Edifido del Ministerio de Hacienda
           Caracas, Venezuela
           Anention: Director de Credito Publlco
           Telecopier: f582) 802·1893
           Telephone: (5821 802-1887

       with   a copy to
           Banco Central de Venezuela
           Esquina de Carmelitas
           Avenida Urdaneta
           Caracas 1010
           Venezuela
           Attention: Vice President of International Operations
           Telecopier: (582) 837-373
           Telephone: (5821 801 -5352/801 -5347/801-6088


      The foregoing addresses for notices or communications may be changed by written notice
      given by the addressee ~o each party hereto, and the addressee's address shall be deemed
      changed for all purposes from and after the giving of such notice.

          If the Fiscal Agent shall receive any notice or demand addressed to the Issuer by the
      holder of a Security, the Fiscal Agent shall promptly forward such notice or demand to the
      Issuer.

           Notice to holders of Securities of a Series shall be given as provided in the terms of the
      Securities of such Series, proyjded. however, If the Fiscal Agent is requested to give notice
      in the name and at the expense of Venezuela it shall receive notice from Venezuela at least
      15 days prior to the last date for notice to the holders.

           14. Waiver of Immunity; Consent to Jurisdiction; Consent to Service;
                 Proceedings in Venezuela,

            (al The Issuer agrees that any suit, action or proceeding against it or its propenies.
      assets or revenues with respect to this Agreement, any Security or a coupon appertaining
      thereto (a ·Related Proceeding•) shall be brought exclusively in the Supreme Court of the
      State of New York, County of New York; in the United States District Court for the
      Southern District of New York; in the courts of England that sit in London; or in the courts
      of Venezuela that sit in Caracas, as the person bringing such Related Proceeding may elect
      in its sole discretion. provided that if none of the courts specified above located in the
      country in which such person has elected to bring such Related Proceeding is a coun that
      has jurisdiction of the subject matter or is otherwise competent under applicable law to hear



      DC_LANOI: 91108.4                              -26-
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 268 of 302 PageID #: 330
                           (                                       (

       and determine such proceeding, such Related Proceeding may be brought in such other
       court located in such country as shall have jurisdiction of the subject maner or be otherwise
       competent under applicable law to hear and determine such Related Proceeding, or if such
       Related Proceeding seeks relief or II judgment that is enforceable only against any of Its
       properties, assets or revenues that are subject to the jurisdiction of any other court located
       In the countries listed above and is limited to the value of such properties, assets or
       revenues, such Related Proceeding may be brought in any such court (all such courts
       described in this sentence being called herein "Specified Courts•). The Issuer also agrees
       that any judgment obtained in any of the Specified Courts arising out of any Related
       Proceeding may be enforced or executed in any Specified Court or any other coun of
       competent jurisdiction whatsoever, and any judgment obtained in any such other court as a
       result of such enforcement or execution may be enforced or executed in any such other
       court of competent ju,isdlction Call courts other than Specified Courts being herein called
       ·Other Courts'"), by means of a suit on the judgment or in any other manner provided by
       law. The Issuer hereby irrevocably submits to the exclusive jurisdiction of each of the
       Specified Courts for the purpose of any Related Proceeding and, solely for the purpose of
       enforcing or executing any Judgment referred to in the preceding sentence la •Related
       Judgment•), of each Specified Court and each Other Court. The Agreement made by the
       Issuer with respect to jurisdiction is made solely with respect to Related Proceedings and
       the enforcement or execution of Related Judgments and un~o cJ[cumSlances shall it be
       interpreted as a general agreement by the Issuer with respa~)iproceedings unrelated to
       this Agreement, any Security or a coupon appertainingthereto.
                                                        rr.:0 -
                  lb) The Issuer agrees that service of el ~ts, process and summonses in any
        Related Proceeding or any suit, action or proceeding to enforce or execute any Related
        Judgment brought against it in the State of New York may be made upon the Consul
        General of the Republic of Venezuela or. in his or her absence or incapacity. any official of
        the Consulate of Venezuela, presently located at 7 East 51 st Street, New York, New Vork
        10022, U.S.A. ffhe •New York Process Agent•), end service of all writs. process and
        summonses in any Related Proceeding or any suit, action or proceeding to enforce or
        execute any Related Judgment brought against it in England may be made upon the person
        in charge of consular affairs at the Embassy of the Republic of Venezuela, presently located
        at One Cromwell Road, London SW7 2HW, England (the •London Process Agent• and,
        together with the New York Process Agent, the ·Process Agents•), and the Issuer
        irrevocably appoints each Process Agent as its agent to receive such service of any and all
        such writs, process and summonses, and agrees that the failure of any of the Process
        Agents to give any notice to It of any such service of process shall not impair or attect the
       .validity of such service or of any judgment based thereon. The Issuer agrees to maintain at
        all times an agent with offices in New York to act as its New York Process Agent, and an
        agent with offices in London to act as its London Process Agent as aforesaid (each such
        agent to be appointed by an irrevocable power of attorney hereto granted before a
        Venezuelan notary public). Nothing herein shaJI in any way be deemed to limit the ability to
        serve any such writs, process or summonses in any other manner permitted by applicable
        law.

                 (c) The Issuer Irrevocably consents to and waives any objection which it may
       now or hereafter have to the laying of venue of any Related Proceeding brought in any of
       the Specified Courts or to the faying of venue of any suit, action or proceeding brought
       solely for the purpose of enforcing or executing any Related Judgment in any of the
       Specified Courts or Other Couns, and further irrevocably waives, to the fullest extent it may



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Case 1:21-mc-00046-UNA
                     ( Document 4-1 Filed 11/22/21 (Page 269 of 302 PageID #: 331
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       effectively do so, the defense of an inconvenient forum to the maintenance of any Related
       Proceeding or any such suit, action or proceeding in any such court.

                  (d) To the extent that the Issuer or any of its revenues, assets or properties shall
       be entitled, with respect to any Related Proceeding at any time brought against the Issuer
       or any of Its revenues, assets or properties in any jurisdiction in which any Specified Court
       Is located, or with respect to any suit, action or proceeding at any time brought solely tor
       the purpose of enforcing or executing any Related Judgment in any jurisdiction in which any
       Specified Court or Other Court is located, to any immunity from suit, from the jurisdiction of
       any such coun, from anachment prior to judgment, from attachment in aid of execution of
       judgment, from execution of a judgment or from any other legal or judicial process or
       remedy. and to the extent that in any such jurisdiction there shall be attributed such an
       immunity, the Issuer Irrevocably agrees not to claim and irrevocably waives such immunity
       to the fullest extent permitted by the laws of such jurisdiction (including, without limitation,
       the Foreign Sovereign Immunities Act of 1976 of the United States) and consents generally
       for the purposes of the State Immunity Act of 1978 ot the United Kingdom to the giving of
       any relief or the Issue of any process in connection with any Related Proceeding or Related
       Judgment, provided that such agreement and waiver, insofar as it relates to any jurisdiction
       other than a jurisdiction in which a Specified Court is located, Is given solely for the purpose
       of enabling the Fiscal Agent, any Paying Agent or any holder to enforce or execute a
        Related Judgment. In addition, to the extent that the Issuer or any of its revenues, assets
       or properties shall be entitled, in any jurisdiction, to any immunity from set-off, banker's lien
        or any similar right or remedy, and to the extent that there shall be attributed, in any
        jurisdietion, such an immunity, the Issuer hereby irrevocablfl\grees not to claim and
        irrevocably waives such Immunity to the fullest extent p~'ff itted by the laws of such
        jurisdiction with respect to any claim, suit, action, pro~~ g, ~ht or remedy arising out of
        or in connection with this Agreement, any Secu?tY or a·coupon appertaining thereto.
                                                     (? \-:)    .>
            15. conyersjon of Currencx.              ~f) -..

            The Issuer agrees that, if a judgment or order given or made by any Specified Court or
       Other Court for the payment of any amount in respect of any Security is expressed in a
       currency lthe "judgment currency"I other than the currency in which such Security is
       denominated (the "denomination currency"), the Issuer will pay any deficiency arising or
       resulting from any variation in rates of exchange between the date as of which the amount
       in the denomination currency Is notionally converted into the amount in the judgment
       currency for the purposes of such judgment or order end the date of actual payment
       thereof. This obligation will constitute a separate and independent obligation from the other
       obligations under the Securities, will give rise to a separate and independent cause of
       action, will apply irrespective of any waiver or extension granted from time to time and will
       continue in full force and effect notwithstanding any judgment or order for a liquidated sum
       or sums in respect of amounts due in respect of the relevant Security or under any such
       judgment or order. The term •rates of exchange• shall include any premiums and costs of
       exchange payable in connection with the purchase of or conversion into the denomination
       currency.

             1 s.   Headjnas.
            The section headings herein are for convenience only and shall not affect the
        construction hereof.                                 ·



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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 270 of 302 PageID #: 332
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          17. countemuu11.
          This Agreement may be executed in any number of counterparts, each of which, when
      so executed shall be deemed to be an original but all such counterparts shall together
      constitute but one and the same instrument.




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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 271 of 302 PageID #: 333
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         IN WITNESS WHEREOF~ the panies hereto ha,,e executed this Flscal Agency
     Agreement as of the date first above written.




                                                     BANCO CENTRAL DE VENEZUELA,
                                                     as Official Financial Age t ofi
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                                                       p ublic of   Ven~~:• . -
                                                     By --11,==-~~ -
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 272 of 302 PageID #: 334
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                                                  EXHIBIT o•

                               (FORM OF CERTIFICATE OF BENEFICIAL OWNERSHIPJ

                                                 CERTIFICATE

                                          REPUBLIC OF VENEZUELA

                                            (TITLE OF SECURITIES)

            This is to cenify that as of the date hereof, [and except as set fonh below.) .. the
      above-captioned Securities (held by you tor our account)•• Ito be acquired from your••
      (i) are owned by person(s) that are not citizens or residents of the United States. domestic
      partnerships, domestic corporations or any estate or trust the income of which is subject to
      United States Federal income taxation regardless of its source (•United States personls)•),
      (fi) are owned by United States person(s) that Ca) are foreign branches of United States
      financial institutions (as defined in U.S. Treasury Regulations Section
      1.165• 121c)(1 )(vi) (•financial Institutions•) purchasing for their own account or for resale. or
      (bl acquired the Securities through foreign branches of United States financial instjtutions
      and who hold the Securities through such Unhed States financial· Institutions on the date
      hereof Cand in either case la) or (b). each such United States financial institution hereby
      agrees. on its own behaif or through its agent. that you may advise the Issuer that it will
      comply with the requirements of Section 165(j){3)(A), (Bl or (Cl of the Internal Revenue
      Code of 1986, as amended, and the regulations thereunder). or (iii) are owned by United
      States or foreign financial institutions for purposes of resale during the restricted period (as
      defined in U.S. Treasury Regulations Section 1 .163-5(cl(2)11)(0l(7)l and. in addition, if the
      owner of the Securities is a United States or foreign financial institution described in
      clause tiiit above (whether· or not also described in clause (i) Ol\(ii)) this is to further certify
      that such financial Institution has not acquired the Securitie~1for purposes of resale directly
      or indirectly to a United States person or to a person withi'rtlhe U,Jlited States or its
                .
      possessions.                                            r r       ~
                                                                               ·
                                                             (      \.)


           As used herein, •United States· means the~ itecf' States of America (including tha
      States and the District of Columbia); and hs "pi>ssessicns• include Puerto Rico, the U.S.
      Virgin Islands. Guam, American Samoa, Wake Island and the Northern Mariana Islands.

           {We undertake to advise you by tested telex if the above statement is not correct on
      the date on which you intend to submit your certificate relating to such Securities to the




       •     For use in those Instances where a definitive bearer Security, a temporary bearer
             Security. a temporary bearer global Security or a definitive bearer global Security is
             delivered in an Offshore Offering to non-U.S. persons at the time of sale thereof.

       ••    To be included if the Certificate is being provided to EUROCLEAR or CEOEL BANK,
             societe anonyme.

       •••       To be included if the Certificate is being provided directly to the Issuer.


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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 273 of 302 PageID #: 335
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       Fiscal Agent, and in the absence of any such notification it may be assumed that this
       cenificate applies as of such date.)•

           This certificate excepts and does not relate to $_ _ _of such interest in the above
       Securities in respect of which we are not able to certify and as to which we understand
       exchange and delivery of definitive Securities cannot be made until we do 10 ce"ify.

           We understand that this certificate is required in connection with certain tax laws of
      ~the United States. In connection therewith, if administrative or legal proceedings are
       commenced or threatened in connection with whlc:h thi~ cenificate is or would be relevant.
       we Irrevocably authorize you to produce this certiflc    to any interested pany in such
       proceedings.                                    ~          \

       Dated: _ _ _ _ _,. 199_                 ~{'0       v

       By:
             As, or aa agent tor, the
             beneficial ownerts) of the
             Notes to which this
             certificate relates.




        •    To be included if the Certificate is being provided to Euroclear or CEDEL BANK. socit!Jtt!J
             anonyme.


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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 274 of 302 PageID #: 336
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                                                 EXHIBIT E

                                  (FORM OF CERTIFICATE TO BE GIVEN
                                   BY THE EUROCLEAR OPERATOR OR
                                     CEDEL BANK, socilri enonyme)

                                               CERTIFICATE

                                         REPUBLIC OF VENEZUEl:A

                                          ITITLE OF SECUJi~             \
                                                       (     ,.,
           This is to certify that, based solely on<rer;tjti~ tions we h~e recei"ed in writing, by
      tested telex or by electronic transmission f~      member organizations appearing in our
      records as persons being entitled to a ponlon of the principal amount set forth below (our
      •Member Organizations•) substantially to the effect set forth in the Fiscal Agency
      Agreement. as of the date hereof, _ _ _ _ principal amount of the above-captioned
      Securities (it Is owned by persons that are not citizens or residents of the United States,
      domestic partnerships, domestic corporations or any estate or trust the income of which is
      subject to United States Federaf income taxation regardless of its source r•United States
      persons•), (ii) is owned by United States persons that (al are foreign branches of United
      States financial Institutions (as defined in U.S. Treasury Regulations
      Section 1.165-12(c)(1 )(v) t•financlal institutions•)) purchasing for their own account or tor
      resale, or (b) acquired the Securities through foreign branches of United States financial
      institutions and who hold the Securities through such United States financial institutions on
      the date hereof (and in either case (a) or (bl, each such United States financial Institution
      has agreed, on its own behalf or through its agent, that we may advise the Issuer that It
      will comply with the requirements of Section 165(jH3)(A), (B) or (Cl of the lntemal Revenue
      Code of 1986, as am~nded, and the regulations thereunder), or (iii) is owned by United
      States or foreign financial institutions for purposes of resale during the restricted period las
      defined in U.S•. Treasury Regulations Section 1.163-5(c)(2)(1)(0)(7)), and to the further
       effect that United States or foreign financial institutions described in clause (iii) above
       (whether or not also described in clause (I) or {ii)) have certified that thev have not acquired
      the Securities for purposes of resale directly or Indirectly to a United States person or to a
       person within the United States or its possessions.

           As used herein, •United States• means the United States of America !Including the
      States and the District of Columbia); and its •possessions• include Puerto Rico, the U.S.
      Virgin Islands, Guam, American Samoa, Wake Island and the Nonharn Mariana Islands.

           We further cenify U) that we are not making available herewith for exchange (or, if
      relevant, exercise of any rights or collection of any interest) any portion of the temporary
      global Security excepted in such certifications and (ii) that as of the date hereof we have
      not received any notification from any of our Member Organizations to the effect that the
      statements-made by such Member Organizations with respect to any ponion of the part
      submitted herewith for exchange (or, if rele"ant, exercise of any rights or collection of any
      interest) are no longer true and cannot be relied upon as of the date hereof.
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 275 of 302 PageID #: 337



         We understand that this cenification is required in connection with certain tax laws
    and, if applicable. certain securities laws of the United States. In connection therewith, if
    administrative or legal proceedings are commenced or threatened In connection with which
    this certification is or would be ralavant, we Irrevocably authorize you 10 produce this
    certification to any interested pany in such proceedings.

    Dated: _ _ _ _ _., 199_

                                Yours faithfully,

                                MORGAN GUARANTY TRUST COMPANY OF NEW YORK,
                                Brussels office, as operator ofthe EUROCLEAR System

                                          or        ~~ }             ·
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 276 of 302 PageID #: 338




                         EXHIBIT 39
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 277 of 302 PageID #: 339




                                    Certificate of Accuracy


     Original File Name(s)                              Translated File Name(s)
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   November 17, 2021


   We, Trustpoint.One, hereby certify that to the best of our knowledge and belief the documents
   attached to this letter is are true and accurate translations of the original documents.

   For all certified translations, Trustpoint.One follows an ISO 9001:2015 certified process. A fully
   vetted professional translator who is a native speaker of the target language and expert in the
   subject matter translates the documents. Thereafter, an equally qualified linguist edits the
   translations, which are then sent back to the lead translator for finalization. As a final step, the
   project manager and quality control specialist reviews the final translation for completeness.




   _____________________
   Elizabeth Wozniak
   Project Manager
   Trustpoint.One




                                     Trustpoint Translations, LLC
                                       Three Gateway Center
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                                        Pittsburgh, PA 15219
                                            412.261.1101
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Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 278 of 302 PageID #: 340




                         EXHIBIT 40
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 279 of 302 PageID #: 341
Case 1:21-mc-00046-UNA Document 4-1 Filed 11/22/21 Page 280 of 302 PageID #: 342




                         EXHIBIT 41
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